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DASHAUN MCCRAY

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

DASHAUN MCCRAY,
Plaintiff,

VS. Case No. 2:22-cv-02154-DDC-ADM

DENIS MCDONOUGH, in his
Capacity as Secretary of the
Department of Veterans Affairs,

Defendant.

VIDEOTAPED DEPOSITION OF
DASHAUN MCCRAY,

taken on behalf of the Defendant pursuant to the
Kansas Code of Civil Procedure before Rachelle
Smith, a Certified Shorthand Reporter of Kansas,
at U.S. Attorneys Office, 301 North Main, Suite
1200, Wichita, Sedgwick County, Kansas, on March
24, 2023 beginning at 9:37 a.m.

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DASHAUN MCCRAY

APPEARANCES

ON BEHALF OF THE PLAINTIFF:

Mr. Daniel A. Thomas

Humphrey, Farrington & McClain
221 West Lexington Avenue
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816-836-5050

dat@hfmlegal.com

Ms. Rebecca M. Randles (via Zoom)
Randles Mata, LLC

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Suite 310

Kansas City, Missouri 64116
816-931-9901

rebecca@randlesmatalaw.com

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1 ON BEHALF OF THE DEFENDANT:

2

3 Mr. Brian E. Vanorsby

4 United States Attorney's Office

5 301 North Main, Suite 1200

6 Wichita, Kansas 67202

7 316-269-6481

8 brian.vanorsby@usdoj.com

9

10 Ms. Kathleen M. Hunter (via Zoom)
11 Department of Veterans Affairs

12 Office of Chief Counsel, Midwest Division
13 1010 Walnut Street, Suite 210

14 Kansas City, Missouri 64106

15 816-572-8699

16 kathleen.hunter@va.gov

17

18

19 ALSO PRESENT:
20 Mr. Brett Knapp, videographer
21 Ms. Phyllis Creed

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Certificate

DASHAUN MCCRAY

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WITNESS

ON BEHALF OF THE DEFENDANT:

DASHAUN MCCRAY

DIRECT EXAMINATION BY MR. VANORSBY

CROSS EXAMINATION BY MR. THOMAS

REDIRECT EXAMINATION BY MR. VANORSBY

EXHIBITS

MCCRAY DEPOSITION EXHIBIT NO.:

No
No
No
No
No
No
No
No
No

1 Plaintiff's Rule 26 Disclosures
Scheduling Order

Appointment Affidavits

Board Action 1-7-2016

Board Action 2-16-2017

Board Action 1-18-2018

Board Action 2-15-2018

Memorandum

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Proposed Reprimand

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DASHAUN MCCRAY

10 Reprimand Decision

11 Complaint of Employment
Discrimination

12 Notice of Acceptance of
EEO Complaint

13 Written Affidavit

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15 Talent Management System

16 Deposition of DaShaun McCray

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20 Additional Information

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22 Executive Career Field Performance
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23 Table of Penalties for Title 5 and
Title 38 Employees

24 Follow up to Meeting

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27 Interrogatories to Plaintiff

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Affidavit of Custodian of

Medical Records

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DASHAUN MCCRAY

THE VIDEOGRAPHER: Today is the 24th day
of March, 2023, and the time is approximately 9:37
a.m. We are here at the U.S. Attorney's office in
Wichita, Kansas to take the deposition of DaShaun
McCray in the matter of DaShaun McCray versus
Denis McDonough, et al, Case Number 2:22-CV-02154-
DDC-ADM.
Would counsel please state your appearance
for the record.
MR. THOMAS: Danny Thomas for plaintiff.
MR. VANORSBY: Brian Vanorsby on behalf
of defendant. I also have Kathleen Hunter who
appears personally by Webex. And Phyllis Creed is
to my right.
DASHAUN MCCRAY,
was thereupon called as a witness herein, and
after having first been duly sworn to testify to
the truth, the whole truth and nothing but the
truth, was examined and testified as follows:
DIRECT EXAMINATION
BY MR. VANORSBY:

Q. Good morning.
A. Good morning.
Q. My name is Brian Vanorsby, I represent

the defendant in this case. Can you start by

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giving your name for the record.

A. My name is DaShaun McCray.

Q. Can you spell that as well.

A. D-A-S-H-A-U-N, M-C-C-R-A-Y.

Q. Okay. And I've seen your name
capitalized in various different ways.

A. Capital S in my first name and a capital
C for the second C.

Q. Okay. And we're going to get to some
ground rules here in just a second, but what I
want to mention is that in order to get a clear
record we can't be talking over each other. So,
one thing I'll try to do, is I will try not to
interrupt you when you are talking, and for me,
just allow me to finish the question before we
talk. I am not being rude, it's just for we got
a court reporter here who is going to make sure we
get a clear record. Okay?

A. Understood.

Q. Okay. Great. Have you ever taken a
deposition before?

A. Yes.

Q. Okay. And when did you take that
deposition, or how many?

A. One.

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DASHAUN MCCRAY
1 Q. One. Okay. When did you take that
2 deposition?
3 A. I can't recall the date, but it was

4 within the last year.

5 Q. Okay. And what case was that regarding?
6 A. Elizabeth Dial versus Denis McDonough.
7 Q. I will make an assumption, based off of

8 what I know, but were you testifying as a witness
9 on behalf of Miss Dial?

10 A. Yes.

11 Q. Okay. So I'll just go through the ground
12 rules pretty quickly since you had your deposition
13. taken before, it's been pretty recently, but I'll
14 say upfront that, you know, this is a deposition,
15 this is my one time to speak with you before we

16 get to Summary Judgment or to trial. Do you

17 understand that?

18 A. Yes.

19 Q. Okay. So it's critically important that
20 we get a clear record and that we have open and

21 honest answers and we get all the information that
22 needs to come out today, okay?

23 A. Yes.

24 Q. Okay. One of the ground rules I like to

25 cover kind of starting out is that it is important

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that you speak audibly, so yeses and nos, no huh-
uhs or uh-huhs or nodding, shaking your head. We
do have a camera here today so that's going to
come out, but it won't be on the actual written
record, so it's important that we always speak
audibly, okay?

A. Yes.

10

Q. And there may be a time where you give me

an uh-huh or huh-uh or you shake your head or say
no or shake up and down or left to right and I
might ask is that a yes or is that ano. Again,
I'm not being rude I just want to make sure that
we get a clear record, okay?

A. Understood.

Q. All right. This is not the inquisition,
if you need a break let me know. We'll make sure
to get you a break whenever you need it. If
there's a question pending, I may ask you to go
ahead and answer the question and we can take a
break, okay?

A. Understood.

Q. Okay. Great. There may be a time during

this discussion that I ask a horrible question,
happens all the time, something you may not

understand, like, what is this guy talking about,

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let me know, okay, if you are confused about a
question, okay?

A. Yes.

Q. Okay. And if you don't let me know I'm
going to assume that you understood the question
that I asked, is that fair?

A. Yes.

Q. Okay. There is also going to be times
where your counsel is going to object toa
question. Unless you're specifically told not to
answer you can go ahead and answer the question,
okay?

A. Yes.

Q. All right. Are you under the influence
of any medications or drugs that might influence
your ability to tell the truth today?

A. No.

Q. Okay. Same question with regard to your
ability to recall?

A. No.

Q. I want to make sure I am getting that
correctly. So you are not under the influence of
any drugs or medications that would influence your
ability to recall; is that correct?

A. Yes.

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Q. Okay. See, that was an example of a bad
question. So I will work on that.

Is there any reason at all that you would not
be able to give a truthful answer to the question
that I ask today?

A. No.

Q. Okay. Do you understand that you are
under oath today?

A. Yes.

Q. Okay. Do you understand that's the same
oath that you might take in a court of law if
this case went to trial?

A. Yes.

Q. What did you do to prepare for this
deposition today?

MR. THOMAS: I will object to the extent
it calls for attorney/client privilege. You are
not to disclose anything that you discussed with
me or that you did at my direction.

BY MR. VANORSBY:

Q. What did you do to prepare for this

deposition today?

A. Traveled to Kansas.
Q. Okay. Did you review any documents?
A. No.

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DASHAUN MCCRAY

Did you review any documents at the

of your counsel?

No.

Okay. Did you speak to anybody, other
counsel?

No.

Okay. Have you spoken to anyone at all

about this deposition?

with Miss
A.
Q.
A.
Q.

this case

A.
Q.

No.

Okay. Did you speak with Miss Dial?
No.

Okay. When was the last time you spoke
Dial?

A month ago.
Okay. What did you talk about?

My mom's eye surgery.

Okay. Have you talked to Miss Dial about
at all?

No.

Okay. So it is your testimony today

under oath that you haven't had any

communications, whether written or oral, with Miss

Dial about this case?

A.
Q.

No.

Okay. So that would be a yes, that it

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DASHAUN MCCRAY

is your testimony under oath that you haven't had
any --

A. Oh, I haven't, yes.

Q. Okay. Do you know an individual by the
name a Sheneda Mirador?

A. No.

Q. Okay. In fact, I'll just do it this way.

MS. CREED: Will this be one?

MR. VANORSBY: What did I just give you?
Could you make an extra copy of that? Yeah, make
two copies.

BY MR. VANORSBY:

Q. So it is your testimony today that you do
not know an individual named Sheneda Mirador?

A. No.

Q. Okay. Have you talked to Susan Phillips
or when is the last time you talked to Susan
Phillips?

A. I have not talked to Susan Phillips in
over three years.

Q. Okay.

A. And she's deceased.

Q. Thank you for letting me know that. When
was the last time you spoke with Janet Gunter?

A. I haven't spoke to Janet Gunter in over

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three years.

Q. Okay. And there's a reason why I'm
asking these questions, and it will become
apparent in just a moment. When was the last time
you spoke with Tenesha Burks?

A. I haven't talked to Tenesha Burks in
probably four months.

Q. Have you talked to Tenesha Burks, Miss
Burks about this case at all?

A. No.

(THEREUPON, Deposition Exhibit No 1 was
marked for identification. )

MR. VANORSBY: Let the record reflect
we've marked a document, McCray Exhibit Number 1.

BY MR. VANORSBY:

Q. I will hand that to you. Have you ever
seen that document before?

A. No.

Q. Okay. I will represent to you that these
are your initial disclosures in this case, and
what that means as part of this case you were
supposed to identify people who have likely, or
likely to have discoverable information that you
will use to support your claims. And this is the

list that I am going through with you right now,

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the people, have you talked to them and what you
talked to them about, okay?

A. Uh-huh.

Q. Do you see an individual on this, on
Exhibit 1 named Sheneda Mirador?

A. I do.

Q. Okay. And it's your testimony today you
don't even know who that is?

A. I do not.

Q. Okay. Do you also see Susan Phillips
that's listed on Page 1 of Exhibit 1?

A. I do.

Q. Okay. And it is your testimony today
she's deceased?

A. Yes.

Q. So she wouldn't be testifying in support
of your case, correct?

A. No.

Q. Okay. Would you flip to Page 2 of
Exhibit 1, please.

A. (Witness complies).

Q. When was the last time you spoke with
Marcia Dickinson?

A. Four years.

Q. And what information does Marcia

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Dickinson have that would support your case?

MR. THOMAS: Objection, foundation.
Objection, foundation. This is a document
prepared by lawyers, not by Miss McCray.

MR. VANORSBY: Well, it's object to form,
but I note your objection.

MR. THOMAS: You haven't laid the
foundation.

MR. VANORSBY: That's fine, you can
object to form.

BY MR. VANORSBY:

Q. Miss McCray, what information would Miss
Dickinson have regarding the case and to support
your case?

MR. THOMAS: Objection, vague and
ambiguous.

MR. VANORSBY: It's object to form.

(THEREUPON, Deposition Exhibit No 2 was
marked for identification.)

BY MR. VANORSBY:

Q. Before we get to you, I'm going to get
you another document and we'll continue off that
document. Okay?

MS. CREED: Do you want copies?

MR. VANORSBY: No, I have copies.

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1 BY MR. VANORSBY:
2 Q. I'm going to hand you what's been marked
3. as Exhibit 2. Have you ever seen that document

24

25

before? It's okay if you haven't.

A. I have not.

Q. Okay. I'11 represent to you that this is
the Scheduling Order in this case. It's part of
what sets out the deadlines, some of the
agreements, stipulations between the parties to
govern this case, okay? And part of the reason
why I want to talk to you about this is because
of the objections, I just want to make sure to
note for the record that the objections that are
being made aren't proper.

MR. THOMAS: We are not going to do that.
MR. VANORSBY: We are going to do this.

BY MR. VANORSBY:

Q. Turn to Page 6.

MR. THOMAS: You can ask questions that
you believe will lead to discoverable information.

BY MR. VANORSBY:

Q. Turn to Page 6, please.

MR. THOMAS: Get up. Let me know when
you are ready to ask questions that you are here

to discover.

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MR. VANORSBY: I'm going to ask a
question --

MR. THOMAS: You can ask guestions about
the case, not to ask her questions about whether
Or not --

MR. VANORSBY: If you want to walk out,
do you need to call the Judge, you can do whatever
you want to do.

MR. THOMAS: You are going to ask
questions --

MR. VANORSBY: You can do whatever you
want to, Mr. Thomas. We are going to go to Page
6.

MR. THOMAS: Stop it. You are not going
to sit here and try to woodshed me about whether,
through her --

MR. VANORSBY: Have you looked at Page 6.
Do you know what it says?

MR. THOMAS: You are not going to do it.
All right. Let's go.

MR. VANORSBY: Okay.

MR. THOMAS: Tell me when you are ready
to ask questions.

MR. VANORSBY: If you want to walk out,

that's what you want to do. But we're going to

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talk about. We're going to get into this case.

MR. THOMAS: Tell me when you are ready
to ask questions.

MR. VANORSBY: I am ready to ask
questions, but you are making improper objections,
so I'm going to make sure we get this on the
record.

MR. THOMAS: You need to ask questions
about the case.

MR. VANORSBY: Scheduling orders are
about the case.

MR. THOMAS: No, you are going to ask
questions about her case, not the Scheduling
Order.

MR. VANORSBY: Okay.

BY MR. VANORSBY:

20

Q. Miss McCray, we are looking at subsection

MR. THOMAS: No. Let's go. Get up.
BY MR. VANORSBY:
Q. It says: The parties will not state

objections during the deposition other to, than to

assert a privilege or to the form of an objection.

MR. THOMAS: Come on. Tell me when you

are ready to ask questions about the case.

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MR. VANORSBY: We're talking about the
case. If you want to call the judge, we can do
that.

MR. THOMAS: I'm not calling the judge.

MR. VANORSBY: Yeah, I know you don't
want to call the judge.

MR. THOMAS: I'm not going to bother the
judge. That's what I'm not going to do.

MR. VANORSBY: Well, we'll wait for you
guys to come back.

MR. THOMAS: We will wait until you ask
questions about the case. That's fine.

MR. VANORSBY: We will wait for you to
come back.

MR. THOMAS: So, tell me when you are
ready.

MR. VANORSBY: You can go out to the
waiting room. You can't just walk around
unattended. Let's go off the record.

THE VIDEOGRAPHER: The time is
approximately 9:51 a.m. We are going off the
record.

(THEREUPON, at 9:51 a.m., a recess was
taken, after which, 9:57 a.m., the following

proceedings were held:)

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THE VIDEOGRAPHER: Time is approximately
9:57 a.m., we are back on the record.
BY MR. VANORSBY:
Q. Miss McCray, do you understand you're
still under oath?
A. Yes.
Q. Okay. So can you turn to Page 6 for me.
I'm going to read something --
MR. THOMAS: I just told you we weren't
doing that.
BY MR. VANORSBY:
Q. I'm going to read something, I'm going to

ask you if I read it correctly? Okay?

MR. THOMAS: What does this have to do
with her case?

MR. VANORSBY: This has to do with the
orderly administration of this deposition, so I'm
going to read this.

MR. THOMAS: You tell me, is this
reasonably calculated to lead to the discovery of
admissible evidence.

MR. VANORSBY: You can object to
relevance, but the witness still has to answer.

MR. THOMAS: No, no, it's badgering.

MR. VANORSBY: Do you want to call the

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magistrate?

MR. THOMAS: I won't call the magistrate
Over something so silly. I can instruct her not
to answer if it's badgering.

MR. VANORSBY: If you want to do that,
that's your prerogative.

BY MR. VANORSBY:

Q. So on Page 6 at the bottom it says: To
encourage the cooperation, efficiency and economy
in discovery, to also limit discovery disputes,
the court adopts as its order upon procedures
agreed to by the parties. The parties will not
State objections during depositions other than to
assert a privilege or to the form of the question.
The basis for an objection to the form of the
question should not be stated, going on to Page 7,
except to the request of an examining attorney.

Did I read that correctly?

23

MR. THOMAS: You don't have to answer it.

BY MR. VANORSBY:
Q. Are you refusing to answer the question,
Miss McCray?
MR. THOMAS: Don't answer it, he's
badgering you.
MR. VANORSBY: No, I am making a record.

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BY MR. VANORSBY:
Q. Are you refusing to answer the question,
Miss McCray?
MR. THOMAS: Is it reasonably calculated
to lead to discovery of admissible evidence?
MR. VANORSBY: I note your relevance
objection.
BY MR. VANORSBY:
Q. Are you refusing to answer the question,
Miss McCray?
A. Yes.
Q. Okay. Thank you.
MR. THOMAS: And if you are going to keep
trying to trick her --
MR. VANORSBY: Danny, I don't need to

hear it.

MR. THOMAS: I am going to make a record,
Brian.

MR. VANORSBY: That's fine. You can do
that --

MR. THOMAS: No, no, no, I am going to
make my record.

MR. VANORSBY: Okay. Go ahead and make
your record.

MR. THOMAS: If you are going to keep

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1 trying to trick her, like you were just doing with
2 these Rule 26 Disclosures, I am going to make an
3. objection that goes beyond form, I'm sorry.

4 MR. VANORSBY: No, you are not. You're
5 going to object to form as we agreed in the

6 Scheduling Order as the deposition guidelines

7 require.

8 MR. THOMAS: When I agreed to that I

9 didn't know that you were going to try to be

10 tricky.

11 MR. VANORSBY: No matter the agreement,
12 the deposition guidelines require that you only
13 object to form, and so do the rules of civil

14 procedure.

15 MR. THOMAS: I believe there's

1¢ exceptions.

17 MR. VANORSBY: All right. If you can
18 point them to me that would be okay.

19 MS. RANDLES: The exception is found in
20 Cincinnati --

21 MR. THOMAS: You are not counsel of

22 record.

23 MS. RANDLES: (Inaudible) I am counsel
24 of record.

25 MR. THOMAS: You are not for this depo.

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MR. VANORSBY: Kat, is that Kat?

MS. CREED: Uh-huh.

THE VIDEOGRAPHER: That's on my end.

THE REPORTER: What?

MR. VANORSBY: I am very confused.

MR. THOMAS: You don't have to write what
she said. She is not counsel of record.

THE VIDEOGRAPHER: That is Rebecca
Randles.

MR. THOMAS: Oh, I thought it was Kat.

MR. VANORSBY: Well, there you go. But
she's not defending this deposition, it appears
so.

BY MR. VANORSBY:

Q. What information does Marcia Dickinson
have regarding your case that's your reason to
support?

A. Hostile work environment.

Q. And what else?

A. Retaliation.

Q. All right. Miss McCray, did you have a
discussion with your attorney after you walked out
about how to answer these questions?

No.

Q. Okay. What information does Miss

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Dickinson have about the hostile work environment?

MR. THOMAS: Vague and ambiguous.

MR. VANORSBY: That would be form.

BY MR. VANORSBY:
Q. But go ahead and answer.
MR. THOMAS: And foundation.
MR. VANORSBY: Again, form.
BY MR. VANORSBY:

Q. Go ahead and answer.

A. Personal experience.

Q. Okay. Can you be more specific about
that?

A Targeted behavior.
Q. By who?
A Ruth Duda.

Q. Okay. And what was the targeted behavior

that Miss Dickinson would have knowledge about?

A. Personal experience. Targeted behavior

towards her.

Q. Okay. I am getting you. So Miss Duda

had personally targeted Miss Dickinson?
A. Yes.
Q. Okay. Janelle Adams is listed.
the last time you spoke with Miss Adams?

A. Three years.

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Q.

DASHAUN MCCRAY

Okay. What information might Miss Adams

have to support your claims in this case?

MR. THOMAS: Foundation. Vague.
MR. VANORSBY: That would be form.

BY MR. VANORSBY:

Q.
A.
created a
Q.
A.
Q.
A.

Q.

Go ahead and answer.

Janelle Adams was approached to state I
hostile work environment.

Approached by whom?

Ruth Duda.

And when did she approach Miss Adams?
March 10, 2020.

Okay. And we'll come back to that.

Cynthia Finley, when's the last time you spoke

with Cynthia Finley?

A.
Q.

Over three years.

Okay. When was the last time you spoke

with Heather Schopf, did I say that correctly?

A.
Q.

Heather Schopf.
Schopf?
She's my former employee, so we talk

Okay. When was the last time, do you

Last week.

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Q. Okay. Have you talked to Miss Schopf
about this case at all?

A. No.

Q. Okay. When was the last time you spoke
with Miss Schopf about Ruth Duda?

A. Over three years.

Q. Okay. So you consider Heather Schopf a
friend; is that right?

A. She's a former staff member of mine.

Q. And I take it to understand you guys

speak outside of work?

A. We speak outside of work.
Q. Would you consider her a friend?
A. Yes.

Q. Okay. When was the last time you spoke
with Lori Lewis?

A. Two months.

Q. Okay. Have you talked to Miss Lewis
about this case at all?

No.

Q. Okay. What information does Miss Lewis
have, let me use the terminology that she listed
here. Miss Lewis is listed as a person likely to
have discoverable information that you would use

to support your case. What information does Miss

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Lewis have that you would use to support your

case?

MR. THOMAS:
MR. VANORSBY:

Vague foundation.

So it would be form. I

ask you again to make the proper objection as we

agreed to in the Scheduling Order.

MR. THOMAS:

of Kansas law.

MR. VANORSBY:
MR. THOMAS:

It's what?

It is proper

of Kansas law.

you to know I am making a record so that,

know,

judge,

later,

okay?

MR. VANORSBY: It is not,

we're going to discuss

Okay.

BY MR. VANORSBY:

Q

It's proper under district

under district

and I just want
you

it with the

All right So what information does Miss

Lewis have?

A
Q
A
Q
A
Q
A

Hostile work environment.
Can you be more specific?
Personal experience.

What personal experience?

Targeted by Ruth Duda.

Miss Lewis was targeted by Ruth Duda?

Yes.

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Q.

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Okay. And are you saying that created a

hostile work environment for Miss Lewis?

A.
Q.

Yes.

Okay. I just want to make sure I'm

understanding you what you're telling me, okay?

A.
Q.

Uh-huh.

Toya Butler, when was the last time you

spoke with Toya Butler?

A.
Q.
this case
A.
Q.
that is?
A.
assistant
Q.
with Mr.

Q.

just speed this up just a little bit.

Williams,

Rowana Gulley,

Over a year.
Have you talked with Miss Butler about
at all?

No.

David Crombie,

Okay. do you know who

He is a, he was then a medical support

in my unit.

Okay. When was the last time you spoke

Crombie?

Over three years.

Three years, okay. Okay. I'm going to
Alicia

Jacqueline Murphy, Crystal Profit,

Katie Smith, have you talked to any

of those individuals within the last two years?

A.

Alicia Williams.

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Q. Okay. When was the last time you spoke
with Alicia Williams?

A. Three weeks ago.

Q. Okay. Have you talked with Miss Williams
about this case at all?

A. Not at all.

Q. Okay. Did Miss Williams work in the, and
I am going to call it the OCC, you know what that

means, right? Okay.

A. She was my direct staff, I was her
supervisor.

Q. Okay. So she was a registered nurse?

A. Yes.

Q. All right. We kind of touched on this
earlier whether or not you've reviewed any
documents and we talked about specifically in
preparation for this deposition, but have you
reviewed the complaint in this matter?

A. My personal complaint?

Q. Your complaint, yes, the complaint you
filed with the district court.

A. No.

Q. Okay. Did you review any of your
discovery responses prior to this deposition?

A. No.

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Q. Okay. At any point have you reviewed
your discovery responses?

A. In 2021. I am trying to think. I need
to clarify.

Q. So you recently served some discovery
responses, I am going to ask bad questions, so I'm
just going to move on, okay?

Have you reviewed any other deposition
transcripts other than your own?

A. No.

Q. Okay. Okay. Now I want to take a step
back and talk a little bit about your background,
okay?

A. Okay.

Q. These should be the easy questions, all
right? So at the beginning of this deposition I
asked you to state your name for the record, but I

want to know, have you ever gone by any other

names?
A. DaShaun McCray Swai.
Q. Can you spell Swai for me?
A. S-W-A-I.
Q. Okay. Anything else?
A. No.
Q. Okay. What's your date of birth?

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A. 3-14 of 1974.
Q. Oh, happy belated birthday. Did you do

anything fun?

A. No.
Q. What's your current address?
A. 7575 South Quatar, Q-U-A-T-A-R, Way,

Aurora, Colorado 80016.

Q. Okay. How long have you lived there?

A 2021.

Q. Do you know the approximate month?

A I signed my documents on June 4th of
2021.

Q. Okay. And by documents do you mean is it

a home that you own?

A. My mortgage.

Q. Okay. What was your address before you
lived at 2525 South Quatar Way?

A. It's 7575.

Q. Oh, I'm sorry. I can't read my own
handwriting. 7575 South Quatar Way, what was your
address prior to that?

A. 16336 East Fremont Avenue, Apartment
1317, Aurora, Colorado 80016.

Q. How long did you live at that location?

A. From June 2nd of 2020 to July 12th, 2021.

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Q. Okay. So approximately a year. Okay.
What was your address prior to the East Fremont
location?

A. 2205 South Linden Street, Wichita,
Kansas, 67207.

Q. Did you own that home?

A. No.

Q. Did you rent it?

A. I cohabitated.

Q. Okay. What do you mean by that?

A. I lived there with my significant other.

Q. Okay. Do you know whether or not he
rented that home?

A. He owned.

Q. Okay. He owned that home. How long did
you live at that location?

A. May of 2018 to June of 2020.

Q. Okay. And where did you live prior to
the South Linden Street?

A. 1626 North Ash, Wichita, Kansas 67214.

Q. Okay. There's been an allegation in this

case that you have continued to maintain two
homes, one in Kansas and one in Colorado. I want
to ask you about the Kansas address that you

allegedly continue to maintain. What is that

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address?

A. 2205 South Linden Street.

Q. Okay. So that's the same address that
you cohabitated with your significant other?

A. Yes.

Q. Are you still dating that person?

A. Yes.

Q. Okay. And what's his name? Or her name,

I don't mean to assume.

A. Barshey, B-A-R-S-H-E-Y, Bryant, B-R-Y-A-

Q. Is that where you stayed, let me back up.
It's my understanding that this week you have been
on spring break; right?

A. That's correct.

Q. Okay. So you have been here in Wichita
for this week?

A. No.

Q. Okay. Did you just come for the
deposition?

A. Yes, my son had knee surgery.

Q. Okay. We'll get to that, but is your son
in Colorado?

A. Yes.

Q. So that kind of ruined your plans for

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spring break I am guessing?

A. Yes.

Q. All right. Did you stay at this 2205
South Linden Street address since you've been here
in Wichita for this deposition?

A. No.

Q. Okay. And why is that?

37

A. Because there is someone staying there to

maintain the house. He had to go to New Jersey
for an emergency so I stayed at my brother's.

Q. Okay. I just, I need to unpack that.
You said someone is staying there to maintain the
house.

A. There is multiple pets in the home and
pets that weren't there when I left and so I ama
little scared of bull dogs.

Q. Okay. Fair enough. Especially if you
don't know them.

A. But they are maintained when he's there.

Q. Yeah, okay. When is the last time you
stayed at the 2205 South Linden Street address?

A. January 15th of this year.

Q. Okay. I think I know the answer to this
question, but are you married?

A. No.

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Okay. Have you ever been married?
Yes.

Who is your husband?

Gilbert Swai.

I assume that that marriage was ended in

Yes.

Okay. Approximately when did that occur?
My divorce or?

Your divorce, yes.

November of 2006.

Are you currently dating anyone?

Mr. Bryant.

Have you dated anyone other than Mr.

Bryant since you have been in Colorado?

A.

Q.

No.

And that's your testimony under oath

Yes.
Okay. Do you have any children?
Two. **

Can you give me their names starting with

the oldest.

A.
Q.

Marquis, M-A-R-Q-U-I-S, McCray.

Okay. And your other one?

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ere,

DASHAUN MCCRAY

KeSaun, K-E-S, capital S, A-U-N, McCray.
How old is Marquis?

Twenty-five.

How old is KeSaun?

Fifteen.

MR. THOMAS: How do you spell Marquis'

name again?

A.

M-A-R-Q-U-I-S.

BY MR. VANORSBY:

Q
A
Q.
A
Q
A

Q.
good as I
What does

A.

Is KeSaun the one with the knee surgery?
Yes.

What happened?

Loose bodies behind his patella.

Shew. Okay. Patella?

Loose bodies behind his knee.
Patella I think is knee.
can get with the medical terminology.
Marquis do for work?

Personal trainer, graduate assistant

basketball coach.

Q.

> OO

Where does he coach?
Emporia State University.
Okay. Does he reside in Emporia?
Yes.

And does KeSaun reside with you in

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Colorado?

A. Yes.

Q. Have you ever been convicted of a crime?

A. No.

Q. Have you ever been arrested?

A. No.

. Other than this lawsuit have you ever

sued anyone?

A. No.

Q. Have you ever been sued by anyone?

A. No.

Q. Have you ever filed for bankruptcy?

A. Yes.

Q. Okay. When did that occur?

A. 2010.

Q. Was it here in the district of Kansas?

A. Yes. No. That was in Missouri.

Q. Where were you living at the time you
filed for bankruptcy?

A. St. Louis, Missouri.

Q. Has anyone ever filed a complaint of
discrimination against you?

A. No.

Q. And other than this case, have you ever

filed a complaint of discrimination against anyone

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else?
A No.
Q. Ever testified in court before?
A. No.
Q. I am sorry, I didn't get that?
A Is my previous deposition testifying?

Q. Not in court, that would be a little bit
different.

A. Okay. No.

Q. Okay. For purposes of getting a clear
record many people in this country would refer to
people like you and me as either black or African
American. I want to know what your preference is,
how you would prefer to be identified?

A. African American.

Q. Okay. Thank you. I want to shift to
your educational history. Did you go to high
school?

A. Yes.

Q. Where did you go to high school?

A. Wichita Southeast High School.

Q. Where was that at when you went there?
The Southeast High School, was it still out there
off of Pawnee?

A. On Edgemoor and Lincoln.

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Q. Okay. Am I right then that Southeast is
out there on Pawnee? There is a high school to
the south of me, I think it's Southeast.

A. They moved it, so I don't know exactly
where it is now.

Q. Yeah, okay. It's out in the middle of a
field now.

MR. THOMAS: Come on. Come on.
MR. VANORSBY: Danny, just calm down,
okay?

BY MR. VANORSBY:

Q. All right. All right. So when did you
graduate from Southeast?

A. May 22nd, 1992.

Q. Okay. Did you complete any secondary
schooling?

A. Yes.

Q. Where did you go to college? Right after
high school, wherever you went.

I worked right after high school.
: Okay. Where did you work?

Home health.

How long did you work there?

1992 to 1995.

0 fF Oo PrP OO P

. What did you do after you left, well,

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DASHAUN MCCRAY

tell me first, what were the circumstances that
you left home health?

A. The circumstances that I left home health
I was a home aide, I went to school for my LPN.

Q. So you left because you were wanting to
go to school?
Yes.

Okay. Where did you go to school?

Wichita Area Technical College.
And that would have been '95.
'95, graduated in '96.

What was your degree?

Licensed practical nurse.

0 Fr oO PO PO Pp

And if I referred to that as an LPN would

that be correct?

A. That's correct.

Q. All right. Okay. You graduated with
your LPN in '96, what did you do after that?

A. October 15th of 1996 I went to the United
States Air Force.

Q. October of -- I am sorry, you said that
really fast.

A. October 15th, 1996, I went to the United
States Air Force.

Q. And when you say you went to the air

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force that means you enlisted?
A. Yes.
Q. Okay. All right. What was your job in

the air force?

A. Dental assistant.

Q Did you go to basic training?

A. Yes.

Q Okay. How long were you in the airforce?
A 1996 to 2000.

Q. And those four years did you ever have

any other duty station other than dental

assistant?
A. No other job other than dental assistant.
Q. Okay. Where were you stationed?
A. Tinker Airforce Base, Oklahoma.

Q. Is that the same place that you did basic
training?

A. San Antonio, Texas is where I did to
basic training.

Q. Okay. What's the base there?

Lackland Air Force Base.

Q. Okay. When you say you were there until
2000 --
Yes.
Q. Okay. I assume you were discharged in

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DASHAUN MCCRAY

A. Honorable discharge in 2000.

Q. Okay. What did you do after you left the
air force in 2000?

A. Returned to Kansas and went to Wichita
State University.

Q. What, were you pursuing a degree?

A. I was pursuing a degree in social work.

Q. Okay. Did you finish that degree?

A. I changed my major to nursing, I received
a Bachelor of Science in nursing from Newman
University.

Q. Okay. So I am just going to unpack that
a little bit. You go to Wichita State for your
social work degree, did you start there in 2000?

A. I started there in fall of 2000, yes.

Q. Okay. And when was your last date of
attendance at WSU?

A. May 2001.

Q. And why did you decide to leave WSU?

A. At that time I was being a mother and a
student and it was just compromised.

Q. Gotcha. It was just tough kind of
dealing with all of that stuff?

A. Uh-huh.

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1 Q.

2 Newman.

3 A.

4

5

6 Q.

7

8 2001? Or
9 way?

10 lL.
11 Q.
12 at Butler
13 A.
14 Q.
15 County?
16 lL.
17 Q.
18 A.
19 Q.
20 A.
21 Home Care.
22 Q.
23. health?
24 A.
25 Q.

46
DASHAUN MCCRAY

Okay. And then you mentioned you went to

Did you go directly from WSU to Newman?

I went to Butler County for summer

courses then I finished out my associates at

Cowley County Community College.

I'm going to slow you down. So you leave

WSU, you say you go to Butler County, was that in

what year was that, let me ask it that
It was summer of 2001.

Okay. What coursework were you pursuing
County?

General education.

Okay. For how long did you attend Butler
Just summer class.

Okay. Were you working at the time?
Yes.

Where were you working?

At that time I was working at Proactive

Okay. So you went back in to home
Yes, as an LPN.
Okay. So Butler County and what was the

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DASHAUN MCCRAY
1 next college?
2 A. 2003 I started full-time school at Cowley
3 County Community College.
4 Q. What was the coursework you were pursuing
5 there?
6 A. General education.
7 Q. Okay. Did you receive a degree from
8 Cowley County?
9 A. No.
10 Q. Okay. How long did you attend Cowley
11 =County?
12 A. I completed Cowley County general
13. education requirements December of 2003.
14 Q. All right. December of 2003. Are you
15 still working?
16 A. Yes.
17 Q. Are you still in home health?
18 A. Yes.
19 Q. All right. What's the next college you
20 went to?
21 A. Newman University.
22 Q. Okay. What year did you start at Newman?
23 A. August of 2004.
24 Q. And what degree were you pursuing at
25. Newman?

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A. Bachelor of Science in nursing.
Q. Did you graduate?
A. Yes.
Q. Okay. What year did you graduate from
Newman?
A. I graduated on May 12th of 2006.

Q. All right. Did you complete any other
schooling after you graduated from Newman
University?

A. I began schooling in 2012 for master of
science of nursing and nurse executive.

Q. And where did you attend, where did you
go for that degree?

A. Barnes-Jewish College of Nursing in St.
Louis Missouri.

Q. Okay. Did you say Barnes-Jewish?

Barnes-Jewish.

Q. Okay.

MR. THOMAS: B-A-R-N-E-S.

BY MR. VANORSBY:

Q. Okay. I am sorry, I didn't catch it, but
can you tell me what the degree was you were
pursuing?

A. Master of science nursing, nurse

executive concentration.

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DASHAUN MCCRAY

Q. What type of coursework is involved in

pursuing that type of degree?

A. Masters prepared nursing coursework.
Q. Okay. Is it more medical focused or is
it --
A. It is medical and business focused.
Q. Okay. Tell me about the business side of

it, what are you learning in that program?

A. Nurse management. So nurse management in
regards to being a nurse executive. There's
understanding population health, understanding the
economy, economic value.

Q. Uh-huh. Okay. Did you have to complete

a thesis of any kind?

A. I actually had to withdraw in May of
2013.

Q. For what reason did you need to withdraw?

A. I returned to Kansas.

Q. Okay. Is there any particular reason why

you returned to Kansas?

A. I just came back to Kansas because I
chose to.

Q. Okay. Did you do any other schooling
after you withdrew from Barnes-Jewish?

A. Yes.

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DASHAUN MCCRAY
Q. Okay. What year?
A. January 25th of 2017.
Q. What coursework were you pursuing?
A. Columbia Southern University, masters

business administration healthcare management.

Q. Where is Columbia Southern? If you know.
Well, let me ask you this. Was it online
schooling?

A. It was online schooling.

Q. Okay. Did you complete that coursework?

A Yes.

Q. Okay. When did you graduate?

A February 20th, 2020.

Q. Okay. Did you complete any other
secondary education after Columbia Southern?

A. No.

Q. Okay. Do you have any other technical
degrees or certificates that would be relevant to

your job field?

A. No. I need to go back.
Q. Okay.
A. I am a CCMC certified, board certified

case manager.
Q. CCMC board -- can you tell me what CCMC

Stands for?

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DASHAUN MCCRAY

A. I know it's a care coordination
something, I can't remember exactly.

Q. Fair enough.

A. So I am a board certified case manager
since August of 2015.

Q. What did you have to do to become board
certified in CCMC?

A. Take a, basically another licensure exam.

Q. I am going to take a step back here for a
second. Were you in any other branch of the
military?

A. Army reserves.

Q. Okay. I think we might have skipped over

that. When were you in the army reserves?

A. September of '20, no, excuse me, yes,
September of 2021 to June of 2022 because it just
did not work with life for me.

Q. Okay. I think you, I am not trying to
trick you, I think you might have the years wrong.
Are you trying to say 2011 of 2012 or are you

saying just within this last year?

A. Oh, I'm sorry, yes. I'm so sorry. 2001.
Q. Okay. 2001 to 2002?

A. Yes, 2002.

Q. All right.

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1 MR. THOMAS: I am sorry, you went Army
2 reserve when?
3 A. September of 2001.
4 MR. THOMAS: And when did you get out?
5 A. I viewed out in June of 2022.
6 BY MR. VANORSBY:
7 Q. You said viewed out?
8 A. That means you had the opportunity to

9 just be released.

10 Q. Okay. So you asked to be released and
11 you were released?

12 A. Yes.

13 Q. Okay. And for what reason were you

14 asking to be released?

15 A. It just wasn't conducive to my, just how
16 life was going, you know, being a parent, and so I
17 just decided to say that that wasn't for me.

18 Q. Okay. We touched on this a little bit,
19 but now I want to talk about your employment

20 history, okay?

21 A. Okay.

22 Q. Are you currently employed?

23 A. Yes.

24 Q. Okay. Who are you employed with?
25 A. Department of Veteran Affairs.

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DASHAUN MCCRAY

Q. What's your job title?

A. Nurse program manager, office of
integrative veteran care, VA central office.

Q. That was a mouthful. I tried to write
that, I couldn't, that's okay. What date did you
start that position?

A. May 23rd of 2020.

Q. Prior to that where were you employed?

A. Robert J. Dole VA Medical Center.

Q. I'm sorry, I want to take a step back to

your current position, is that full-time?

A. Yes.
Q. Who is your supervisor?
A. Kerry, K-E-R-R-Y, Inhofe, I-N-H-O-F-E.

Q. Okay. You say that you were employed at
the Wichita VA, I am sorry, the Robert J. Dole?
A. VMAC.

53

Q. VMAC. What was your position, is it okay

if I call it the Wichita VA?

A. That's fine.

Q. Okay. Robert J. Dole, trying to say all
that, it's just, okay, Wichita VA, what was your

position at the Wichita VA?

A. My most recent position at the Wichita VA

was nurse manager office community care.

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DASHAUN MCCRAY

Q. Okay. What years did you occupy that
position?

A. February of 2019 to May 22nd of 2020.

MR. THOMAS: Can you give those dates

again?

A. February the 10th of 2019 to May 22nd of
2020.

BY MR. VANORSBY:

Q Okay. Is that a full-time position?

A Yes.

Q. Who was your supervisor?

A Ruth Duda.

Q. All right. Prior to your job as a nurse
manager what was your employment --

A. Staff nurse.

Q. Hold on. That's one of the rules, let me

get the question out.

A. Okay.

Q. Prior to becoming a nurse manager, what
was your position or your employment?

A. Prior to becoming nurse manager my
employment was staff nurse, office of community
care, Wichita VA.

Q. Okay. And for how long did you occupy

that position?

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DASHAUN MCCRAY

A. December 28 of 2015 to February 9th,
2019.

Q. Did you hold any other positions at the
Wichita VA?

A. No.

Q. Have you ever been disciplined in any of
your employment before?

A Yes.

Q. Okay. Can you tell me about that.

A Disciplinary action in June of 2017.

Q. And that was while you were staff nurse?

A Yes.

Q. Okay. Have you ever been fired from a
job?

A. No.

Q. Okay. Let me back up. Other than the
June 27th, 2017, I am sorry, June 27th, June 2017
discipline that you received --

A. July of 2017.

Q. Oh, I am sorry. July of 2017 discipline
that you just mentioned, have you been disciplined
at any other job?

A. Never.

Q. Okay. Okay. You stated you started at
the Wichita VA as a staff nurse in 2015. Do you

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DASHAUN MCCRAY

recall what your appointment date was?

A.
2015.

Q.

My appointment date was December 28th,

Okay.
(THEREUPON, Deposition Exhibit No 3 was

marked for identification.)

BY MR. VANORSBY:

Q. I want the record to reflect I'm handing
the witness Exhibit 3. All right.

A. So I --

Q. Hold on. No question. Okay. Do you
recognize the document I just handed you?

A. Yes.

Q. Okay. What is it?

A. It's the appointment affidavits.

Q. Is it your appointment affidavit?

A. Yes.

Q. And how is it that you can tell it's your

appointment affidavit?

A.
Q.

My signature is there.

Okay. What is the date of appointment

that is reflected in this document?

A.
Q.

12-27 of 2015.

Okay. You can put that to the side. I

just wanted that for the record.

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DASHAUN MCCRAY
A. Do you see this though (indicating) --
Q. I'm sorry.
A. -- this right here?
Q. The witness is pointing to something?
A. I am pointing to subscribed and sworn or

affirm before me this 28th day of December of
2015.

Q. Right. And I am not trying to say the
28th is the wrong date, this is just a document
for the record. So, I understand that it was
Signed by the 28th, so you consider that to be
your appointment date and that's fine.

A. That was a Monday.

Q. Yep. That's fine. And maybe they put
the date on there wrong.

A. The pay period started on the 27th.

Q. Gotcha. Okay. Now who was your
immediate supervisor when you became a staff nurse
in 2015?

A. Tenesha Burks.

Q. Okay. And that's the individual we

talked about earlier today, correct?

A. Correct.
Q. Who was your secondary supervisor?
A. There wasn't a secondary supervisor.

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Q. Okay. Did Miss Burks report to anybody?

A. The Dental Chief, I am unable to recall
his name.

Q. Okay.

A. Dr. Parker.

Q. I don't suppose it's too much to ask for
his first name? That's okay. Dr. Parker is good
enough. What were your job duties as a staff
nurse?

A. Care coordination, care authorization.

Q. Care authorization and care coordination,

what does that mean?

A. Give you referrals for medical necessity,
authorized care.

Q. Okay. Were those job duties consistent
throughout your tenure as a staff nurse?

A. Yes.

Q. Okay. So that doesn't change at all?

A. No.

Q. Okay. And I am speaking on high level,
generally, not granular, because obviously some
things may have changed from time-to-time as far
as policy goes, right?

A. Correct.

Q. Okay. Does staff nurses have, I don't

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DASHAUN MCCRAY

know if you call them grades, but my understanding
is like level nurse 1, nurse 2, nurse 3, is that
right?

A. Correct.

10

How many grades are there?

>

12. Nope. There's five grades.

Q. What was your grade when you hired on at
the Wichita VA?

A. Nurse 2, step 6.

Q. Can you explain to me what the difference
is in the grades and the steps?

A. Grade one is a newly experienced nurse
without any certifications, without any background
in that area of career field. Grade 2 has more
experience in the nursing career field, possibly a
certification or some other additional length of
experience as a nurse. Grade 3 has more
supervisory type of oversight, and more official
interaction with the facility at large. Grade 4
is a director level in which you are responsible
for a unit and you have the direct contact on the
director level for care of your unit or your team.

Q. Okay. We talked about grades, what's the
difference in step?

MR. THOMAS: Grade level 5?

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DASHAUN MCCRAY

A. Grade level 5 is the nurse executive or
the nurse executive nurse leader over either a
facility or a national unit.

BY MR. VANORSBY:

Q. Okay. So we talked about grades, now
what about the steps? Can you explain the

difference in that to me.

A. You get a step every two years --
Q. Okay.
A. -- based on employment. And you come in

with steps based on experience.

Q. Okay. Now, you say you get a step every
two years, does that mean anything specifically
like you get a bump in pay?

A. Yes. Each step is a bump in pay.

Q. Okay. And any bump in responsibility?

A. Not at the step levels.

60

Q. Okay. All right. Who makes the decision

regarding where a nurse might be on their grade or
step level?

A. Nurse Professional Standards Board.

Q. Do you know who is on, who would have
been on that board during the time that you were?

A. They are just from all departments.

Q. Okay. Do you know if Ruth Duda was ever

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DASHAUN MCCRAY

on that board?
A. To my knowledge, no.
Q. Okay. How could a staff nurse be

promoted to the various grades, what do they have

to do?
A. Education.
Q. So the more education you get the higher

up you could be on the grade level?

A. Education and your achievements showing
work in the facility level.

Q. Okay. And what do you mean facility
level --

A. Interaction with --

Q. Whoa, whoa, let me finish. What do you
mean facility level? Do you mean, like, for
example, specifically, the Wichita VA?

A. Interaction with executive leadership
team in regards to overall process improvement.
Interaction with the VISN in regards to process
improvement.

Q. Okay. Now my question was, do you mean
within the Wichita VA so you said the executives
and those things, are you talking within the
Wichita VA or is there something different that

you're talking about?

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DASHAUN MCCRAY °*

A. I'm speaking of the executive leadership
within the Wichita VA.

Q. Okay. Well, this question regarding
steps, but with regard to grades, when you go up a
grade do you get a raise in pay?

A. Yes.

Q. Okay. And from what I understand, based
off your explanation, you have a difference in the
duties that you are assigned, based on the grade
that you are at?

A. Yes.

Q. Okay. Are you subject to different
performance standards or expectations?

A. Yes.

Q. Is there anything else that's different
between the grades that you haven't already
explained to me?

A. No.

Q. Okay. Now you said Tenesha Burks was
your supervisor when you started. At some point
did Ruth Duda become your supervisor?

A. July of 2019.

Q. Miss Duda became your supervisor in 2019?

A. I retract. Tenesha Burks remained my

supervisor until she left the position April of

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DASHAUN MCCRAY

2018 in which Miss Duda became my supervisor. At
that time Miss Duda was the nurse manager of OCC.
Q. Okay. Do you know when Miss Duda became
the nurse manager of OCC?
A. She became the nurse manager of OCC in,
when they came over in July, end of June of 2019.

I don't have the exact date, but 2017 --

Q. Okay.

A. -- she and Dr. Tran came to office of
communicator.

Q. Okay. So, and correct me if I am wrong,

does that mean Miss Duda was your secondary
Supervisor beginning June or July of 2017?

A. Miss Duda was my overall supervisor of
April of 2018 when Miss Burks resigned from her

position.

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Q. Okay. Did you report at all to Miss Duda

prior to April of 2018?

A. No.

Q. Okay. Did Miss Burks report at all to
Miss Duda prior to April of 2018?

A. No.

Q. Okay. You kind of alluded to this, but
it's my understanding that there was some

reorganization within the OCC. Can you tell me

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about that?
A. Dr.
June 2017.

Parker was still our chief.

to Dr. Parker. Dr.

doctor that they brought over there,

I can't recall the exact date.

Dr.

Miss Burks reported

Tran was basically as the, a

but she

wasn't our chief at that time until they

transitioned from Dr.

Dr.

nurse manager at that time.

Tran becoming the chief.

Parker being the chief to

Miss Duda was the

And Miss Burks was

never instructed that her immediate report was

Ruth Duda,

Parker and then to Dr.

and she continued to report to Dr.

Tran.

Q. Okay. You said Miss Burks was never
instructed that Miss Duda was her immediate
report?

A. Correct.

Q. Are you basing, what are you basing that
off of?

A. I am basing that off of that Miss Burks

reported to Dr.
analyst.
the nurse manager.

Q.

Okay. I see.

conversation with Miss Burks about that,

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And Miss Duda reported to Dr.

Tran as the supervisor or program

Tran as

Did you have any specific

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Tran and Ruth Duda came to OCC end of
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DASHAUN MCCRAY

reporting structure?

A. That was in 2018.

Q. Okay. Well, so my question is a little
bit more specific. I want to know if you had any
specific conversation with Miss Burks about the
reporting structure issue, whether or not she
received any instruction about who she should
report to?

A. Yes.

Q. Okay. You did have a specific
conversation with Miss Burks about that?

A. Yes.

Q. Okay. Can you tell me about that
conversation?

A. At that time Miss Burks was still my
direct supervisor, Miss Duda did not have any role
in regards to our -- she was just coming in to
our unit. And so her role was just to be there
as the nurse manager. And then Miss Burks still
ran the daily operations, and she was never given
a new, excuse me, a new position description
Stating her report level except for reporting to
Dr. Parker and being the supervisor over all of

the staff and office communicator.

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Q. Okay. And that's the discussion that you

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specifically had with Miss Burks?

A. Yes.

Q. Okay. This is going to be a silly
question, but when Miss Duda came, did you have
any interactions with Miss Duda after she came to
the office of the OCC in 2017? And I mean in the
days or weeks after she came.

A. She gave me the disciplinary action.

Q. Okay. In, that was in 2017 that you
received that?

A. Yes.

Q. Okay. This is going to be a silly
question, I know, just bear with me, but when Miss
Duda came to the OCC was she aware of your race?

A. Not prior to seeing me.

Q. Right. But when she came to the OCC if
you had a face-to-face interaction in those days
and months, was she aware of your race?

A. Yes.

Q. Okay. Okay. I want to go back to your,
the nurse grades for a second. Did you ever apply
to be promoted from your grade level 2 and on up?

Yes.
Q. Okay. How many times did you apply?
A. I applied once.

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DASHAUN MCCRAY

Q. Okay. So it is your testimony today that
you only applied once to become a nurse level 3?

A. Fach time you have a proficiency they
look to grade you to the next grade level.

Q. Uh-huh.

A. Being that each time you have a
proficiency you are looking to be the next grade
level, so grade 2 is looking to be a grade 3.

Q. Uh-huh.

A. So every time I had a proficiency I go
for grade 3.

Q. Okay.

A. SO --

Q. Now, do you have to apply to be the grade
3 or do they just automatically consider you?

A. It's a consideration based on your
proficiency.

Q. Okay. So you don't have to submit any
paperwork specifically to say please consider me
to be grade 3?

A. No. You have to have your proficiency
meet the criteria and the qualifications.

Q. I am sorry, can you say that again?

A. You have to have your proficiency meet

the criteria and the qualifications.

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Q. Okay. Let the record reflect I'm going
to hand the witness what's been marked as Exhibit
4.

(THEREUPON, Deposition Exhibit No 4 was
marked for identification.)

BY MR. VANORSBY:

Q. I meant to go through this with you
earlier, but do you recognize the document I've
handed you?

A. Yes.

Q. What is it?

A. It is the board action for my initial
proficiency.

Q. Okay. If you know, does it show what

grade and step you were at this time?

A. Nurse 2, step 5.
Q. And where do you see that information?
A. Box 7.

Q. Okay. I see it. There we go. When you

were hired on were you a probationary employee?

A. Yes.

Q. For how long?

A. Two years.

Q. So your probation would have ended at

what point? January of 2018?

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DASHAUN MCCRAY

A. December, 2017.
Q. Okay. That sounds right.
A. And I see that I was incorrect in my

initial hiring step.

Q. I am sorry, what did you --
A. I was thinking I was step 6, but I was
step 5.

Q. Oh, I see. And I am handing the witness
Exhibit 5.

(THEREUPON, Deposition Exhibit No 5 was
marked for identification.)

Q. You can put that one off to the side.
Let's just clean this up a little bit. I will
hand you Exhibit 5. I'm going to take these and
clean these up.

MR. THOMAS: What's the difference? Oh,
nevermind.

BY MR. VANORSBY:

Q. Okay. Do you recognize Exhibit 5?

A. Yes.

Q. What is it?

A. It is the board action from my
proficiency for the year of 2016.

Q. And can you tell me the date?

A. 2-16-2017.

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DASHAUN MCCRAY "

Q. Okay. And did you have to submit
anything to the board, again, the nurse standards
board, for them to consider you for nurse level 3?

A. No. It's based on your proficiency and
any documentation that's within the proficiency
that shows that you meet the criteria for the next
grade.

Q. Okay. What was the result of this board
action?

A. I did not meet the educational
requirement and so I remained a nurse 2.

Q. Okay. Did you meet the years of
experience requirement?

A. Yes.

Q. Okay. Did you meet the performance
requirements?

A. It does not, that's based on nurse grade
3.

Q. Okay. The performance requirements to be
promoted to nurse 3?

A. Yes.

Q. Okay. So as the result of this board
action is that you were denied the promotion to
nurse 3?

A. Well, it's never a denial of promotion to

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nurse 3 unless you appeal it.
Q. Okay. So it's just --
A. Stating that I remained a nurse 2.
Q. Okay. As far as what's indicated on this

record, if you look on Page 2, does it reflect

that you are not promoted?

A. Yes.

Q. And that box is checked?
A. Yes.

Q. Okay.

(THEREUPON, Deposition Exhibit No 6 was
marked for identification.)

BY MR. VANORSBY:

Q. Let the record reflect that I am handing
the witness Exhibit 6. Do you recognize that
document?

A. Yes.

Q. What is it?

A. It is my proficiency evaluation from the
board from my proficiency of the year 2017.

Q. Okay. And is this document dated?

A. 1-18-2018.

Q. Okay. So this is approximately a year
after the prior Exhibit 5; is that correct?

A. Correct.

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Q. What was the result of this board action?

A. This board action shows that I did not
meet the educational requirements, I do meet the
years of experience and time and grade for
consideration, and it does not indicate the
performance requirements are met or set forth in
the nurse qualifications standards board.

Q. Okay. All right. And so box 6 reflects
that you were not promoted; correct?

A. Correct.

Q. Does it give a time indication for when
the board might reconsider you for a promotion to
nurse 3?

A. One year.

Q. Can you tell me who was on the board, who
made this decision?

A. Heather Brown, Christopher Graves, Pamela

Burns and Virginia Hartman and Berry Werringer.
Q. Okay. And who was it approved by?
A. Norman Forbes.
Q. Who is Norman Forbes?
A. At that time he was the nurse executive.
Q. Okay.
(THEREUPON, Deposition Exhibit No 7 was

marked for identification.)

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DASHAUN MCCRAY

BY MR. VANORSBY:

Q. Let the record reflect I am handing the
witness Exhibit 7. Do you recognize Exhibit 7?

A. Yes.

Q. What is it?

A. It 1s a board action for a review of
documents from my proficiency on 2-15 of 2018.

Q. So approximately a month after Exhibit 6?

A. Yes.

Q. Okay. Do you know why the board is
reconsidering their action just a month later?

A. Due to my performance within the facility
level, my documentation was reviewed to show that
I did not meet the education requirement, but I
meet the years of experience and I actually meet
the indicated performance requirements that met
for the national qualifications standards.

Q. Okay. And so the result, what was the
result of this board action?

A. Promoted to nurse 3.

Q. Okay. In the time, between the time that
you submitted that, or you were considered, let me
get that correct. For the promotion as shown as
Exhibit 6, and as shown in Exhibit 7, so

approximately 30 days, did anybody write an appeal

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DASHAUN MCCRAY

on your behalf?

A. I wrote my appeal on my behalf with my
nurse mentor, I had to take it to my immediate
supervisor because they are the only one who could

submit it.

Q. Did anyone submit an appeal on your
behalf?

A. Ruth Duda.

Q. Okay.

(THEREUPON, Deposition Exhibit No 8 was
marked for identification.)

A. And also I was halfway through my
master's degree, so they could waiver me as a
nurse 3.

BY MR. VANORSBY:

Q. Okay. Let the record reflect I'm handing
the witness Exhibit 8. Do you recognize that
document?

A. Yes.

Q. Okay. What is it?

A. It is the appeal.

Q. What appeal?

A. My, the appeal for me to, the
professional standards board to evaluate me for

the nurse 3.

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DASHAUN MCCRAY

Q. And you said from me, right? I want to
ask you, it says from chief of care of community
care, who was that?

A. Ruth Duda.

Q. Okay. So this memorandum, although you
Say you wrote it is going to the appeal board, it
is coming from Miss Duda?

A. It has to be submitted by your direct
supervisor.

Q. All right. So it's coming from Miss
Duda, correct?

A. Yes.

Q. All right. Just go ahead and look at the
last page on there, it's marked USA 440. Whose
name appears at the end of this document?

A. Ruth Duda.

Q. Okay. So nurse standards board, they get
this appeal as shown on Exhibit 8; is that
correct? I think that's a 8. And as a result of
this document that's coming from Miss Duda they
reconsider their decision not to promote you?

A. Correct.

Q. Okay. So you get promoted to nurse 3,
right?

A. Uh-huh.

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Q. How did job duties change once you were
promoted?
A. Promoted to nurse 3, I was more at that

time a leader amongst the staff nurses, just a
person, a resource person, I was utilized as a
resource person by the VISN, utilized asa
resource person by the chief of, at that time the
chief of GEC, and just as a resource person for
the office of community care throughout the
facility and throughout the VISN.

Q. Okay. Did you have your own team?

A. I had a team based on my service line, so
at that time my service line was GEC, that was the
home health and dialysis and dental.

Q. Okay. So you already had your own team
even when you were a nurse 2?

A. Yes.

Q. Okay. Did you get a raise in pay as the
result of your promotion?

A. Yes.

Q. Who was your supervisor at the time that
you received your promotion?

A. Ruth Duda.

Q. Okay. And again, this may sound like a

Silly question, but at the time Miss Duda agreed

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to sign this -- submit this appeal to the board,

did she know you were African American?

A. Yes.
Q. Okay. How long were you a nurse 3?
A. I was a nurse 3 from the date on here, so

2-15-2018 to May the 23rd of 2020.

Q. Okay. Which would have been when you
left to go to Colorado, right?

A. Yes.

Q. All right. As of 2018, how long had you
been working with Miss Duda, approximately?

A. Almost ten months.

Q. Okay. So after those ten months of
working with Miss Duda, did you apply for another
promotion in the OCC?

A. Not at that time.

Q. Okay. When did you apply for a promotion
in the OCC?

A. When the nurse manager promotion was
posted.

Q. Okay. And when was that?

A. Possibly November or December of 2018.

Q. Okay. So as of November 2018 for how
long had you been working with Miss Duda?

A. About a year and six months.

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DASHAUN MCCRAY

MR. THOMAS: November or December of
2019?
MR. VANORSBY: 18.

A. '18 because she came there in June of
2017.

BY MR. VANORSBY:

Q. During that year and six months, did you
have daily interactions with Miss Duda?

A. No.

Q. Okay. Tell me about the quantity of
interactions you would have had with Miss Duda.

A. Staff meetings once a month. Response to
any congressionals, since I was considered a
resource person for the office of community care
and actually one of the longest nurses on the
unit, I was one that people came to for
clarification.

Q. Okay. Including Miss Duda?

A. Including Miss Duda.

Q. Okay. So 2018 comes around, you have
been working with Miss Duda for about a year and
six months. You decide to apply for, November of
2018 you decide to apply for the nurse manager
position. What interested you in the position?

A. I met the criteria.

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Q.

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DASHAUN MCCRAY

I mean, was there anything else, the

reason why you applied for that position?

A.
community

Q.

process.

Because I love working in the office of
care and serving our veterans.
Okay. Tell me about the application
Application and references.

Okay. Was there, were their interviews?
Yes.

Phone interviews?

Face-to-face interview.

Face-to-face interviews. Do you remember

who you might have interviewed with?

A.
Q.
A.
Q.

I don't recall.
Okay. Was it a panel?
I believe it was a panel, but I can't --

The video person is probably mad at me, I

keep touching his microphone.

A.
Q.

I can't remember. I can't recall.

Okay. Did you have any understanding

regarding whether or not you continue working with

Miss Duda if you got the nurse manager position?

A.

Q.
A.

Yes.
Okay. What was your understanding?

That she would be my direct supervisor.

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DASHAUN MCCRAY

Q. Okay.

A. Which she already was at that time.

Q. Okay. Do you recall at all who offered
you the position? And we know you got the
position, I'm assuming things here, but do you
recall who offered you the position?

A. Human Resources.

Q. Okay. Do you recall who the selected
official was?

A. Ruth Duda.

Q. Okay. So Ruth Duda would have selected

you for this position?

A. Yes.

Q. Okay. Is the nurse manager position a
promotion, a lateral demotion, what would -- ?

A. It was a lateral in pay for me based on

being a nurse 3 already, but then I became the

direct supervisor of about 15 nursing staff.

Q. Okay. So it was essentially a promotion

because you were becoming a supervisor?
A. Yes.
Q. Were you a supervisor before becoming a
hurse manager?
No.

Q. Okay. Did you have any conversation at

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DASHAUN MCCRAY

all with Miss Duda about her selection to the
nurse manager position?

A. Dr. Raffi told me that you came and you
spoke with him in regards to the situation at your
desk in April, and he asked me why would I want
to promote you knowing that I had, that you had
reported me in regards to the situation on April
the 5th of 2018, speaking unprofessionally with
DaShaun at her work area.

Q. Okay. Now you just said something there,
I assume that what you are saying --

A. The chief of staff.

Q. Wait a second. I would assume that what
you are saying is that Ruth Duda said those words?

A. Yes.

Q. Okay. Did you have any other discussion
with Miss Duda at all about your promotion?

A. She stated that she still felt that I was
the most qualified for the position.

Q. Anything else?

A. No.

Q. Okay. Again, silly question, but we are
making a record. At the time Miss Duda selected
you for your promotion, did she know you were

African American?

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DASHAUN MCCRAY

A. Yes.

Q. Okay. And by what you are telling me
today, I assume she knew that you had at some
point reported to her supervisor that she did
something unprofessional?

A. Correct.

Q. And despite that, she chose you for the
promotion?

A. Yes.

Q. Okay. You talked about this a little bit
earlier, that you received a disciplinary action
in 2017, right?

A. Yes.

Q. Okay.

(THEREUPON, Deposition Exhibit No 9 was
marked for identification.)

BY MR. VANORSBY:

Q. Do you recall what the discipline was
for?

A. Yes. Access to the chart of someone I
was familiar with.

Q. Okay. I will hand you --

MR. VANORSBY: I will get you one in just
a second, Danny. Exhibit 9.

BY MR. VANORSBY:

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Q. Do you recall or do you recognize that
document?

A. Yes.

Q. Okay. What is it, what is Exhibit 9?

A. A reprimand.

Q. Okay.

A A proposed reprimand.

Q. Okay. And is this the same discipline or
reprimand that we've been discussing earlier?
A. Yes.

Q. Can you flip to the last page of Exhibit

A (Witness complies).

Q. Tell me if his name appears at the end.

A At the end my name.

Q. That's a valid point. Above your name
who signed this document?

A. Ruth Duda.

Q. Okay. And what date did you receive this

document?
A. 7-14-2017.
Q. Okay. Were you given a chance to reply

or appeal to this proposed reprimand?
A. Yes.
Q. Okay. And did you do that?

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Yes.

Did you do that in writing?

» OP

Yes.

Q. Okay. And what was the basis for your
appeal?

A. Assisting a nurse that was working ortho
authorizations, but did not understand the
requirements for that.

Q. Okay. And who did you submit that appeal

to?
A. Dr. Revote, Araceli Revote.
MR. THOMAS: Can you spell that?
A. A-R-E-C-E-L-I, I believe. And the last
name Revote. R-O-V -- R-E-V-O-T-I (verbatim) .

BY MR. VANORSBY:

Q. On this proposed reprimand, how many
times, there's a list of things that said
specification, A, B, C, do you understand what
those are?

A. Uh-huh.

Q. What are those specifications?

A. Times that I accessed the documents, or
this person's chart.

Q. Okay. And how many of those

specifications are listed?

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A. 26.

Q. 26. Okay. And it's your testimony today
that you accessed this individual's records 26
times merely for training?

A. Yes.

Q. I am going to hand the witness what's
been marked as Exhibit 9. I'm sorry. Did I say
9? Exhibit 10.

(THEREUPON, Deposition Exhibit No 10 was
marked for identification.)

BY MR. VANORSBY:

Q. Before we talk about Exhibit 10 though,
as far as Exhibit 9 goes that's just a proposed
reprimand, correct?

A. Right.

Q. It wasn't final yet?

A. Correct.

Q. I have handed you Exhibit 10, do you
recognize that document?

A. Yes.

Q. What is it?

A It's a reprimand decision.

Q. Okay. So at this point is the reprimand
final?

A. Yes.

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Q. All right. Can you look on Page 3,
there's a blank page in there. Other than your
signature who signed the document?

A. Araceli Revote.

Q. Okay. And that's to make this reprimand

A. Yes.

Q. All right. Are you familiar with the
Mission Act?

A. Yes.

Q. Okay. I know you are. Can you describe
that for me.

A. The Mission Act is based on working to
offer veterans care at the earliest point in time
that they can receive it within the Department of
Veterans Affairs, either for primary care within
20 days, for specialty care within 28 days. If
they are unable to be seen within that wait time
period they are then offered the opportunity to be
appointed with a provider in the community for the
primary care or specialty care.

Q. Okay. I got the care and the community
part and I know that's your area, but as far as
you are saying veterans are going to be seen

within a certain period of time, was that a change

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from what was prior to or were the dates
shortened, lengthened, what -- can you tell me?

A. The Mission Act was a change, the Mission
Act, I believe, came about, early 2019, yeah,
because it was basically, there were six criteria.
Not a facility that was within driving distance.
There are some states that don't have a full-time
VA facility. A veteran that is required to be,
the wait time is that the veteran either for
primary care wait over 20 days, specialty care
wait over 28 days. The drive time, if they have
to drive more than 30 minutes for primary care or
more than 60 minutes for specialty care. If they
were grandfathered from the Choice Act as a Choice
40 veteran, meaning that they were a 40 miler.

Q. Okay.

A. There is one other criteria, but I don't
recall it because it really didn't -- very
permanent.

Q. Okay. Now we live in Kansas, we have
three population centers, right, but they are all
mostly east side. So did the Mission Act really
have a big impact on your office here in Wichita?

A. Yes. The Mission Act had a big impact on

our office in Wichita based on a large percentage

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of our catchment is in western Kansas and we do
not have CBOCs in those locations, and so those
veterans have the right to be able to see, seek
care in the community.

Q. Okay. You said CBOC, what is that?

A. Community based outpatient clinic.

Q. Okay. So you had a lot of veterans out
in western Kansas that you had to take care of,
right?

A. Correct.

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Q. Did the Mission Act, I guess, expand that

number of people that you had to interact with?

A. For community care, yes, because it, we
took the responsibility back from the third party
administrator, and we had to take on the
scheduling and all of that for the veteran
population. Our veteran population is about
35,000 for detachment of Wichita going west.

Q. Okay. Now, how big a change was that?
Small? Big? Little?

A. It was a big change because our staff at

that time had not been required to schedule the
veterans, we just sent the authorizations to our
third party administrator and they had scheduled

the veterans. But now with us taking on the

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scheduling it did change the impact of work
required from the staff.

Q. What was required for scheduling? And by
that do I mean, was there additional phone calls
that had to be made, things of that sort?

A. Phone calls to identify veteran
preference to identify a vendor in the community
that is contracted, and to actually inform the
veteran of their appointed date and time of their
appointment.

Q. Okay. So would it be fair to say you had
more direct, sort of face-to-face, not necessarily
face-to-face, but direct contact with the veterans
following the implementation of the Mission Act?

A. I always had direct contact with the
veterans because even when we had the Choice
program, I often did three-way calls so veterans
would be properly appointed.

Q. Okay. Now you mentioned that you had to
take over scheduling, was there anything else as
far as with the workflow or process that changed
with the implementation of a Mission Act?

A. No workflow or process changes other than
the scheduling came back to us, we started using a

new product called CTM, I can't give you the,

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other than what the acronym was --

Q. Uh-huh.

A. -- and it just showed us how to monitor
our metrics.

Q. Okay. In my review of some of the
communications, my understanding is there may have
been some new payment system that you guys had to
work through; is that right?

A. eCAMS.

Q. eCAMS, is there a system that you guys
Started that started with an 0, Oscar or something
like that?

A. We had a new third-party administrator
that came in, Optum.

Q. That's -- that's what I'm looking for.
Can you tell me about that.

A. Optum was a third-party administrator,
they just was -- before we had been all TriWest in
our region and so the veteran class Optum got the
contract for regions 1, 2 and 3 and TriWest got

the contract for regions 4 and 5.

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Q. Okay. So that had nothing to do with the

Mission Act, right? Okay, one second.
A. No.
Q. Okay.

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MR. THOMAS: We have been going an hour
and 40 minutes, can we do a break?

MR. VANORSBY: Yes, I just got one
question about Optum.

BY MR. VANORSBY:

Q. Okay. My understanding is there was some
frustration with Optum, right? Was there some
difficulty with them?

A. To my knowledge, no difficulty with
Optum, except we didn't have the same vendors, so
we had Optum as one part of the United Healthcare
umbrella, so the vendors were basically marketed
to vendors that were already under United
Healthcare. So a lot of our TriWest vendors that
we had used in the past weren't on Optums -- what
was I going to say? On Optum's qualified vendors,
so they weren't, they weren't certified through

Optum to be vendors with us.

Q. Okay. And when did the change to Optum
occur?
A. I don't recall the exact date.

Q. Uh-huh.
A. I just know that many of those changes
came about between like March of 2019 all the way,

you know, between the Optum and rolling out the

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CTM.

Q. Okay.

MR. VANORSBY: So we can take a break.
We'll come back and I'll try to explore CTM a
little bit and we'll get more into some of the
specific claims in this case, okay.

THE VIDEOGRAPHER: Standby. The time is
approximately 11:28 a.m., we are going off the
record.

(THEREUPON, at 11:28 a.m., a recess was
taken, after which, 11:46 a.m., the following
proceedings were held:)

THE VIDEOGRAPHER: Time is approximately
11:46 a.m. We are back on the record.

BY MR. VANORSBY :

Q. Okay. Miss McCray, we took a break, do
you understand that you are still under oath?

A. Yes.

Q. Okay. Before we took a break I told you
we would talk about CTM, and I know you don't
recall what the acronym stands for, but what --
generally what is CTM?

A. Consult tracking manager.

Q. All right. There you go. And that was a

new process that was implemented sometime after

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March of 2019?

A. Yes.

Q. Tell me about that process. If you can.

A. It just monitored the metrics.

Q. Okay. Did that CTM process require any
additional training?

A. TMS training.

Q. Okay. What do you mean by TMS?

A. It's the training that they do through
the Department of Veteran Affairs' the video.

Q. Okay. Does that refer to talent
Ianagement system?

A. Yes.

Q. All right. Okay. We're going to go
ahead and get into the claims in this case. Let's
mark the next two as well.

(THEREUPON, Deposition Exhibit No 11 was
marked for identification.)

BY MR. VANORSBY:

Q. I will hand you a series of documents and
have you identify them, and then as we kind of
talk about your claims we'll go through those. So
I've handed you what's been marked as Exhibit 11.
Do you recognize that document?

A. Yes.

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Q. What is it?

A Complaint of Employment Discrimination.
Q. Whose complaint is it?

A Mine.

Q. Did you write this or did you author this

A. Yes.

Q. When is it dated, if you can tell me

A 3-30-2020.
Q. Did you sign Exhibit 11?
A

Yes.
Q. And which box does it show your
signature?
A. 18.
Q. Box 18. Does this document show the date

of your initial contact with anyone in the EEO
office regarding this claim?

A. 1-31 of 2020.

Q. Okay. And again, this is a document that
you filled out that you signed?

A. Yes.

Q. Okay.

MR. VANORSBY: I think I gave you the

wrong document, Danny, I think I gave you the one

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with the sticker on it.

A. No, you gave me the one with the sticker
on it.

Q. We are getting ready to move on to
another document.

A. Oh.

(THEREUPON, Deposition Exhibit No 12 was
marked for identification.)

A. All right.

BY MR. VANORSBY:

Q. I'm going to hand you Exhibit 12. Do you
recognize that document?

A. Yes.

Q. And by that document I mean Exhibit 12.
Have you seen it before?

A. Yes.

Q. Do you see where in this document it
shows, well, what is this document? I guess we'll
just start there.

A. It's the Office of Resolution Management,
it is my initial claim.

Q. Okay. Is this the notice of acceptance
of the complaints that you made in Exhibit 11?

A. Yes.

Q. And do you see where in this document it

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shows the claims are accepted?

A. Events 1 through 8 is accepted for
investigation. Number 4 on 000041.

Q. Okay. And events Number 1 through 8 are
those showing in the paragraph 2 and its subparts?

A. Yes.

Q. Okay. Did you notify anyone with the EEO
that you believe the claims were improperly

formulated, incomplete or incorrect in any

fashion?
A. No.
Q. And you were given an opportunity to do

that, correct?
Yes.

Q. Okay. I'm going to give you, at some
point during the EEO process did you give a
written statement under oath?

A. I do not recall.

Q. Okay. I am going to hand you what's been
marked as Exhibit 13.

(THEREUPON, Deposition Exhibit No 13 was
marked for identification.)

BY MR. VANORSBY:

Q. Do you recognize Exhibit 13?

A. Yes.

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Q. Okay. What is it?

A. It is Office of Resolution Management
written affidavit of DaShaun McCray in the matter
of EEO Complaint of Discrimination filed by
DaShaun McCray.

Q. Okay. Is this the written statement that
you gave in the EEO proceedings?

A. Yes.

Q. If you look at the bottom of Page 1 on
Exhibit 13, does it show that you swore or

affirmed that the information given in response to

the following questions -- should be are --
A. Yes.
Q. -- are true and correct to the best of

your knowledge and belief?

A. Yes.
Q. Are those your initials, DM?
A. Yes.

Q. All right. Would you flip to the last
page of Exhibit 13.

A. (Witness complies).

Q. Does exhibit, does Page 75, that's the
page that's marked 75 of Exhibit 13, reflect that
you made this statement under penalty and perjury

on July 15 of 2020?

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A. Yes.

Q. Is that your electronic signature there
at the bottom?

A. Yes.

Q. Okay. All right.

(THEREUPON, Deposition Exhibit No 14 was
marked for identification.)

BY MR. VANORSBY:

Q. This is Exhibit 14 and you can hold on to
those because we'll refer to those. Or just put
them over there (indicating). Do you recognize
Exhibit 14?

A. (Witness reviews documents). Yes.

Q. Okay. What is it?

A. It is the Complaint and Jury Demand.

Q. Is that the complaint that you filed in

this case --

A. Yes.

Q. -- that sets out your claims that you are
bringing?

A. Yes.

Q. Okay. Have you reviewed it before?

A. I have seen it and I believe I had to

have it notarized, I am not sure.

Q. Okay. We'll kind of go through this

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document. I want you to go, first, we'll go
through the specific claims, counts that you
brought in this case, okay? And that starts on
Page 6 of Exhibit 14. Okay. Count one, what
type of claim are you bringing against the VA in
this case?

MR. THOMAS: Objection. Calls for a
legal conclusion. Go ahead and answer.

A. Race discrimination, disparate treatment.

BY MR. VANORSBY:

Q. So the basis of this claim is that you
were treated differently from people outside of
your race group being African American?

A. Yes.

Q. Okay. What does count 2 allege?

A. Racially hostile environment.

Q. Okay. Do you understand that the court's
dismissed that claim?

A. Yes.

Q. Okay. Go to count 3, please. What does
count 3 allege?

A. Retaliation.

Q. Okay. And specifically retaliation for
what?

MR. THOMAS: Calls for a legal

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1 conclusion. Objection. Form. Foundation.
2 Answer if you can.
3 A. Retaliation for going to her direct

4 supervisor with my complaint.

5 BY MR. VANORSBY:

6 Q. Okay. And when did you do that, the
7 date?

8 A. January 24th, 2020, and January 30th,

9 2020. Approximately.

10 Q. Okay. What's Count 4 allege?
11 A. Constructive discharge.
12 Q. Okay. And do you understand that the

13. court's dismissed that claim with prejudice?

14 A. Yes.

15 Q. Going back to your retaliation claim, you
16 mentioned that you mentioned some pronouns there,
17 her, her supervisor, who are you talking about?

18 A. Ruth Duda's supervisor, Dr. Robert

19 Cummings.

20 Q. Okay. All right. I want to look back to
21 Page 2, okay? Of Exhibit 14. And I want to go

22 through the events that you have alleged in this

23. case to be discriminatory or retaliatory, okay?

24 And I understand that to be set out in starting in

25 paragraph 12, so that's what we'll go through,

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okay? All right. Paragraph 12(a) says from,
well, why don't we do it this way. Can you read
paragraph 12(a)(i) for me?

A. From April 2018 through the present, Ruth
Duda, community care service chief, attempted to
intimidate plaintiff when she spoke with her in
her workplace. Ruth Duda yelled at her ina
public area while discussing another employee's
pay, and Ruth Duda stated if she wants to get paid
you better tell her to send us the form.

Q. Okay. So the event shown in Paragraph
12(a) (i). Tell me about that event.

A. Tenesha Burks left on medical leave,
chose to not return to the facility. There was
some human resources documentation that was
required of her. And Ruth Duda came to me telling
me to inform her.

Q. Inform her what?

A. To sign the, send the paperwork or she
would not get paid.

Q. Okay. When did that event happen?

A. April 5th, 2018.

Q. Okay. Now, the allegation says from 2018
to present, are there any other events that you

are contending that fall under paragraph 12 (a) (i)?

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A. Ruth Duda standing over me in my work
station.

Q. Okay. When did that event occur?

A. Well, this event that I speak of occurred
in January of 2020.

Q. Okay.

A. Where she came to me in regards toa
meeting that we had had the previous day with the
executive leadership team in which Mr. Ament asked
me to speak and asked Ruth to let me speak. And
she was not happy with that situation and so she
came to me on that day and stated that you just
stay here and worry about these metrics, and Dr.
Cummings doesn't want you to be a part of the
meeting that I'm having today with Via Christi.

Q. Okay. Did you also receive a E-mail
directly from Dr. Cummings that asked you not to
attend some meeting?

A. The E-mail that came from Dr. Cummings
was wanting a plan of action for the metrics in
regards to the decline.

Q. Okay. So you've told me about an event
April 5th, 2018, and an event in January of 2020.
Are there any other events that you believe fall

under this paragraph that we are talking about?

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DASHAUN MCCRAY
1 A. March of 2020.
2 Q. Okay. Tell me about that event.
3 A. We were working on our Telework

4 agreements, and Susan Phillips asked her lead a

5 question in regards to filling out the

6 documentation for Telework. The lead informed

7 Ruth Duda of this information. Ruth Duda goes out
8 to the floor amongst many staff in which staff

9 across the cubicle could hear her tell Susan

10 Phillips that I have heartache allowing you to go
11 Telework if you don't understand how to fill out
12 this documentation.

13 Q. Okay. So tell me how that event was Miss
14 Duda attempting to intimidate you?

15 A. In that event Miss Phillips sent an E-
16 mail to me in regards to how she felt in that

17 situation. Miss Williams sent an E-mail to me in
18 how she felt in that situation. Miss Schopf sent
19 an E-mail to me in how she felt in that situation.
20 And when I asked Miss Duda in regards to it she

21 says, that's not your staff.

22 Q. Okay. Was Miss Phillips your staff?
23 A. No.
24 Q. Okay. Where were you at when you asked

25 Miss Duda about, where you had that conversation

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with Miss Duda?

A. In my office.

Q. Okay. It was you and Miss Duda in your
office?

A. Me and Miss Duda in my office.

Q. And she said to you that's not your

A. Correct.

Q. Okay. And my understanding is that
you're claiming that that was an attempt to
intimidate you?

A. That was an attempt to basically
intimidate me in regards to me asking her a
question in regards to the staff that has been
used to working with me. And as we know, Miss
Duda hadn't been -- just a lot of things, so the
staff just came to me.

Q. Okay. Okay, so we've talked about, as
far as this paragraph goes, this an attempt at
intimidation, we talked about April 5th, 2018,
January 2020, March 2020. Are there any other
events? And that's just this paragraph, I'm not
Saying regarding any other claims that you've
brought.

A. She, on February 14th, 2020, called me to

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a meeting and then she said, I want you to know
that I invited Heather Brown. Heather Brown is my
mentor within the facility. The person who
actually wrote my appeal for the nurse 3, and the
person who I went to with things on a regular
basis, so, you know, helped me with coping with my
work situation. Heather Brown was there. She set
there. Ruth spoke about when stating that I took
the leadership from Janelle Adams during a
meeting. And when she stated that I had something
in regards to informing her that she was incorrect
in a meeting, and when Mr. Ament had requested
that I speak, that I should always leave the
opportunity to speak to the chief.

Q. Okay.

A. So and then she followed that with an E-
mail that she sent me, with everything written out
in regards to what was discussed in that meeting
and the idea of bringing Heather Brown there
because she's your mentor, I felt was
inappropriate, because that was defamation of
character.

Q. Okay. And you said, and so you are
saying that this February 14 event was an attempt

to intimidate you?

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A. Yes.

Q. Okay. Slight tangent -- if you look on
Page 3 of Exhibit 14, at the bottom there is a
paragraph marked vii --

A. Uh-huh.

Q. -- is that the event that you are talking
about right now?

A. Yes.

Q. Okay. So we'll get to that in a minute.

A. Okay.
Q. All right. Very good. So we talked
about April 5th, January 2020, March 2020, and
February 14th of 2020. Any other events under
this paragraph?

A. I don't recall.

Q. Okay. So of the four events that we have
talked about, regarding this subparagraph, did any

of the events result in a reduction to your pay?

A. No.

Q. Okay. Did any of the events result ina
demotion?

A. No.

Q. Have you ever been demoted?

A. No.

Q. Okay. Did any other events result ina

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disciplinary action?

A. No.

Q. Okay. Decrease in the benefits that you
received?

A. No.

Q. Okay. The April 5th, 2018, event, well,
tell me why you believe that that event, if you
do, was because of your race.

A. She came to me in regards to Tenesha
Burks, who is also an African American female, and
telling me what I need to do in regards to
informing Tenesha Burks. In situations I had
never seen her approach any of my Caucasian
counterparts in that way in regards to any
Situation, not even in an open forum would she
speak to my Caucasian counterparts that way.

Q. What do you mean by that way?

A. Demanding that I be in contact with
somebody in regards to their pay, their situation
with their work.

Q. Okay. Is there any other event, that you
know of, where, and in this situation it's someone
whose not returning to work; let's say, for
example, a Caucasian, or any race or person

decided not to return to work and Miss Duda had to

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1 approach them about it? That was a bad question.
2 Let me ask it this way.

3 Are you aware, who are the similar situated
4 employees that you believe Miss Duda should

5 approach? Or could have approached?

6 A. Nobody within the unit.

7 Q. Okay. Did you have a good working

8 relationship with Miss Burks?

9 A. Yes.

10 Q. Did you communicate to her outside of

11 work?

12 A Yes.

13 Q. Did you text?

14 A Not during that time.

15 Q. Okay.

16 A Because she was under duress.

17 Q. You had her phone number?

18 A Yes.

= Q. Okay. And is it fair to say that your

20 testimony is because you're black and Tenesha was
21 black, I'm sorry -- African American, and the fact
22 that Miss Duda approached you, that must be

23. because of race.

24 A. Yes.

25 Q. Okay. So January of 2020 event where

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Miss Duda is standing over you, we discussed that.
What's the basis for your conclusion that Miss
Duda stood over you because of your race?

A. Her desire to intimidate and make people
feel beneath her. And that's it.

Q. Okay. Now you said people.

A. And so -- okay. Her desire to intimidate
and to make people of color intimidated by her.
Her ability to do how she had done. I mean.

Q. And this is the same Ruth Duda who we've
talked about, submitted appeal on your behalf so
you could get a promotion, right?

MR. THOMAS: Asked and answered.

BY MR. VANORSBY:

Q. Go ahead and answer.

A. As I stated, the appeal was written by me
and had to be signed by her.

Q. And she signed it?

A. Correct.

Q. And she sent it in?

MR. THOMAS: Asked and answered.

BY MR. VANORSBY:

Q. So we got a clear record. She sent it
in?

A. Yes.

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Q. Okay. And she personally selected you
for a promotion, correct?

A. Yes.

Q. Okay. Let's go to paragraph ii. Can you
read that paragraph for me?

A. Pertaining January 28 of 2019 and January
4th, 2020, Ruth Duda required plaintiff to
complete the staffing model duty without providing
her nurse manager training.

Q. Okay. What is staffing model duty?

A. Staffing model is how we would input our
numbers for identifying staffing needs. I was not
trained on that duty or task. She would sit
there, do the task, have me watch her and, oh,
that's how you do it.

Q. Okay. So based off of what you are
telling me, there is at least some situation where
she performed a task in front of you, so that you
could see how it was being performed and said this

is how you do it?

A. Yes.
Q. Okay.
A. Although I was never given the

opportunity to actually do it because she kept

doing it every month until it came up to where she

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just wanted me to do it.

Q. Okay. So she would do the staffing model
duty month-to-month and then -- well, how many
times did you get to observe it?

A. Once.

Q. Once. Okay. And then at some point she
said, okay, now it's time for you to do it?

A. And that was in January of 2020.

Q. Okay. So when it says between the 28th,
January 28th of 2019 and January 4 of 2020 really
what we're talking about is January 4 of 2020,
when you were required to do it?

A. Uh-huh.

Q. Okay. And it says you weren't provided
nurse manager training, right? Is that what the
allegation says?

A. Yes.

Q. Okay. So this being required to complete
the staffing model duty, did that result in any
reduction in your pay?

No.
. Okay. Result in any demotion?
No.

Any disciplinary action?

> 0 > 10

Not a formal disciplinary action.

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1 Q. Okay. Tell me about that?
2 A. A meeting with Dr. Cummings in which he

3 told me, reared back in his chair and said, when
4 are you leaving because Miss Duda has an

5 organization to run.

6 Q. Okay. And you consider that informal
7 discipline?

8 A. Yes.

9 Q. Okay. And was there any mention

10 specifically of the staffing model duty?

11 A. Yes.
12 Q. Okay. What did he say about it?
13 A. It was in regards to being able to get

14 with HR to see how many staff we needed to meet

15 our metrics.

16 Q. Uh-huh. Okay. Had you already told Dr.
17 Cummings that you were planning on leaving the,

18 the office?

19 A. I never informed Dr. Cummings that I was

20 planning on leaving the office.

21 Q. Okay.
22 A. I had no desire to leave.
23 Q. Did you tell Dr. Cummings that you had no

24 desire to continue working with Miss Duda?

25 A. Yes.

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DASHAUN MCCRAY
1 Q. And was it after that he made his
2 comment?
3 A. No. It was before that.
4 Q. And that's your testimony under oath
5 today?
6 A. That is my testimony under oath today.
i Q. Okay. Did you receive any decrease in

24

25

benefits as a
result of this completing the staffing model duty?

A. No.

Q. Okay.

MR. THOMAS: What was that last question?

MR. VANORSBY: Did you receive a decrease
in benefits.

MR. THOMAS: Oh.

BY MR. VANORSBY:

Q. Do you recall being asked during the EEO
proceedings whether or not you had any problem
with completing the staffing model duty?

A. I don't recall.

Q. Okay. Let's look at your witness
statement, and just for the record can you tell
the court reporter what that's marked? I believe
it's still over there.

A. Written affidavit of DaShaun McCray.

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Q.
A.

DASHAUN MCCRAY

Just the Exhibit Number.
Exhibit Number 13.

Q. All right.

Very good.

114

I want you to go

to the page that's been marked 67 of Exhibit 13.

Okay. Do you see an event there that's marked
event 2?

A. Yes.

Q. Is event 2 of exhibit --

see that for a second?

this, Exhibit 13, event 2,

I'm sorry, can I

One day I'll remember

is that the same event

that we have been discussing?

A. Yes.

Q. Okay. If you want to turn to Page 68.
Do you see Number 4 there?

A. Yes.

Q. Okay. What is the question and answer,
if you can.

A. Do you have a problem completing this
duty? No.

Q. Well, does it actually say did you have a
problem completing this duty?

A. Did you have a problem completing this
duty? No.

Q. Right. So your testimony under oath at

that time was that you had no problem completing

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DASHAUN MCCRAY

1 the staffing model duty; is that correct?

2 A. That's correct.

3 Q. Okay. We talked about this earlier, but
4 how was training provided at the VA?

5 A. Training is provided at the VA, we go to
6 a training in regards to our role, but the daily

7 duties we are to be trained by our immediate

8 supervisor.

9 Q. Okay. And the training that you received
10 facility wide, that's through the TMS in the

11 talent management system?

12 A. Through TMS and in person.

13 Q. Okay. Are the classes, even in person,
14 they are offered through TMS?

15 A. The classes are, that are in person?

16 Q. Right. That was a bad question. So the
17 training through TMS, it's not just virtual there

18 is some training that's provided that's in person?

19 A. Yes.
20 Q. Okay. How does this TMS system work?
21 A. You can have the training in person and

22 then go self certify in TMS.
23 Q. Okay. It's a system that you log in to
24 and the classes are pushed out and it says here's

25 the classes available, right?

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A. Yes.

Q. Okay. And sometimes when they are in
person they are not always available, they kind of
come on a rolling basis; is that right?

A. Yes.

Q. All right. Who controls TMS, if you

A. Education department.
Q. All right Was Ruth Duda ever a part of

the education department, if you know?

A. Was she ever a part of the education
department?

Q. Yes.

A. Not to my knowledge.

Q. Okay. Who decides when trainings are

available or what trainings are offered and when
they are available?

A. We are, as the manager, informed of what
trainings are required for the specific job
descriptions.

Q. Sure. My question is a little bit
different. The training that's offered through
TMS, who decides, if you know, what trainings are
offered and when they are offered?

A. Education department.

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1 Q. Okay. All right. And again, that would
2 not include Ruth Duda?

3 A. No.

4 Q. All right. I am going to hand you what's
> been marked as Exhibit 15.

6 (THEREUPON, Deposition Exhibit No 15 was

7 marked for identification.)

8 BY MR. VANORSBY:

9 Q. Do you recognize Exhibit 15?

10 A. Yes.

11 Q. Okay. What is it?

12 A. My learning history.

13 Q. And what do you mean by learning history?
14 A. TMS modules which were a requirement of

15 my employment.

16 Q. Okay. So it's a record of the trainings
17 classes that you have taken?

18 A. Yes.

19 Q. All right. One of the reasons you know
20 it's yours is because your name appears on the

21 front page?

22 A. Yes.
23 Q. Okay.
24 (THEREUPON, Deposition Exhibit No 16 was

25 marked for identification.)

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1 BY MR. VANORSBY:
2 Q. I'm going to hand you what's been marked
3 as Exhibit 16.
4 MR. THOMAS: What number is this
5 (indicating) ?
6 MR. VANORSBY: That's 15.
7 BY MR. VANORSBY:
8 Q. Okay. I am handing you Exhibit 16, do

9 you recognize what that is?

10 A. Yes.
11 Q. What is it?
12 A. This is my deposition in regards to

13 Elizabeth Dial's case.

14 Q. Okay. And I will represent to you that
15 it's not the whole thing, but its selected

16 portions, okay?

17 A. Okay.

18 Q. I didn't copy the whole thing and kill
19 all the trees. Okay. Can you go to page, it's
20 the page marked 19 of Exhibit 16. Can you read
21 lines 12 through 15.

22 A. Did you receive any training once you
23 were a nurse manager. I was sent to nurse

24 managers training, and I was sent to HR diversity

25 training. Did Miss Duda send you to those

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1 trainings? Yes.

2 Q. Okay. And now I want you to go to Page
3 634.

4 A. (Witness complies.)

5 Q. Read lines 14 through 24.

6 A. I mean, you said that Miss Duda sent you

7 to training, right? Yes, the training was

8 available offered for nurses, for nurse managers

9 is a facility wide training, it is not specific to
10 Occ.

11 Q. I meant to say 18, that's where I wanted
12 you to stop right there. Okay. So this, what

13. you just read this was your testimony under oath,
14 correct?

15 A. Uh-huh.

16 Q. Okay. Going back to your complaint, it
17 is Exhibit 14. I want to talk about event that's
18 marked three iii's, right there, Number 3. Can

19 you read that event for me.

20 A. From January 2019 through the present

21 Ruth Duda usurped plaintiff's supervisory

22 authority by instructing her, plaintiff's staff,
23. to complete different actions in which she was

24 initially instructed her staff to do.

25 Q. Okay. So tell me about this event, when

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1 did that occur?

2 A. So, this occurred when I had shoulder

3. surgery, so in between me going from the staff

4 nurse position to the supervisory role, I had

2 shoulder surgery.

6 Q. Uh-huh.

7 A. And there was documentation that Miss

8 Duda informed the staff that they did not have to
9 review. I informed all staff that all

10 documentation coming from a provider in the

1l community must be reviewed by a nursing staff for
12. the chart to be complete.

13 Q. Okay. What did -- when did you have

14 shoulder surgery?

15 A. I had shoulder surgery I believe in, it
16 was January 20th, 2019. I can't recall exactly,
17 it could have been anywhere between the 10th and
18 the 20th, but my role as a nurse manager, the pay
19 date I believe started on 20, January of 2019.

20 Q. Oh, okay. And so would it be fair to say
21 that based on your testimony and my understanding,
22 you had informed the nurses that they needed to
23 review certain documentation for it to be

24 completed and then there was some form of

25 communication from Miss Duda where she said

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certain documents don't need to be reviewed?

A. Yes.

Q. Okay. You said there was documentation,
what did you mean by documentation?

A. Clinical documentation that completes the
veterans! care record.

Q. Okay. So you didn't mean that there was
documentation of Ruth's instruction?

A. I was notified by the nursing staff that
while you were out Ruth told us that we weren't
required to review each clinical document.

Q. Okay. And you said nursing staff, who
are you referring to?

A. I'm referring to all the nursing staff in
which were supervised by me.

Q. Who specifically reached out to you?

A. Alicia Williams, Jessica Clasen, Heather,

her last name was Bandy then.

Q. What's her last name now?

A. Schopf.

Q. Okay. Anyone else?

A. Jo, I can't remember Jo's last name right
now.

Q. Okay.

A. And she actually came to my office when I

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DASHAUN MCCRAY
got back with the national director.
Q. So you said Jo and then you said she, is

Jo short for Joann?

A. No, Jo, I can't remember her last name
right now.

Q. Okay.

A. And she has been in the VA a long time.
She came to my office with the national directive
and I already had the national directive that
requires the RN to review all documentation from a
clinical source.

Q. Okay. Any other events that fall under
this paragraph?

A. When she went to Janelle Adams at her
desk and told Janelle, do you feel that DaShaun
treated you hostile in the meeting on Friday,
which was February the 7th.

Q. Okay. So February 7th. Tell me how that
is Miss Duda usurping your authority by
instructing staff to complete different actions.

A. She should know what the directive is.

Q. You are going over my head. What
directive are we talking about?

A. A national directive that all

documentation that comes in to the VA medical

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center must be reviewed by an RN clinical staff
before it's entered into a veterans! record.

Q. So we're still talking about the 2019
event. I want to move forward to event that you
just talked about with Janelle. I want to know

how that Midd Duda usurped your authority by

instructing --
A. She put words in Janelle's mouth.
Q. Let me finish the question, I'm sorry.

Usurping your authority by instructing your staff
to complete a different action than what you
initially instructed. What I want to know is how
is this event, this February 7th, event that you
are describing fits within that description.

A. In the meeting I was just moving the
meeting along and discussing the process in which
we were doing the care for veterans that are
hospitalized in the community and how we are to
document and get the notification and communicate
with the community hospital. And so when Janelle
was speaking on some things I, in turn, stated
that this information needs to be done
specifically like this. And that is when I am
giving out the directive and the information that

is how it has to be done, even though Janelle had

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1 garnered a presentation on her ideation of how it
2 should be done. And so in the correct manner I

3. let her know that we have to do it this way per
4 the directive. And then because we're to that

5 retaliatory point with Miss Duda trying to state
6 that I am now creating hostile environment, she

7 goes directly to a staff and says, do you feel

8 that DaShaun did this to you? And then Janelle,

9 in turn, went to Cynthia and told Cynthia Finley
10 this exact information. Cynthia, which is another
11 African American, came to me and said what exactly
12 happened. I talked to Janelle on the phone two
13 days later, after business hours, and she informed
14 me that Ruth Duda came to her desk and she didn't
15 understand what the purpose of it was.

16 Q. Okay. Let me get at it this way. What
17 was the specific instruction that Miss Duda gave
18 that you contend falls under this paragraph?

19 MR. THOMAS: Form and foundation. Go

20 ahead.

21 A. When you are talking to a staff and when
22 you usurp my authority, that means you are

23. basically going to my staff and informing them

24 that something that I did caused the hostile

25 situation amongst me and them. So that's

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1 basically saying that I have no authority to

2 inform my staff of the accurate process and what

3. follows the directive.

4 Q. Okay. And that's an assumption that you
> are kind of drawing out of the statements, right?
6 You are not testifying that Ruth Duda said DaShaun
7 has no authority to tell you what to do?

8 A. No.

9 Q. Okay. You mentioned Janelle Adams and
10 Cynthia Finley.

11 A. Yes.

12 Q. In this kind of realm that you are

13. talking about here. It's true, isn't it, that

14 both of those individuals gave sworn statements in
15 the EEO proceedings?

16 A. Yes.

17 Q. And they specifically denied that the

18 event that you talked about ever happened?

19 A. Correct.

20 Q. Okay. With regard to this event, isn't
21 it true that during the EEO proceedings you

22 testified, or you provided a written statement

23. under oath, that you believe Miss Duda's

24 motivation for this event was just that she

25 strived on power?

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1 MR. THOMAS: Form and foundation. Do you
2 have a document you can show her?

3 Q. Is that a yes or a no?

4 MR. THOMAS: I don't think it's a fair

> question unless you can show her the document.

6 MR. VANORSBY: I noted your objection.

7 The witness can answer.

8 MR. THOMAS: Vague and ambiguous.

9 MR. VANORSBY: And also it's object to

10 form. Thank you.

11 A. Can you repeat the question?
12 BY MR. VANORSBY:
13 Q. Did you give a witness statement under

14 oath where you were asked what was Miss Duda's
15 motivation, and you testified I provided a sworn
ié statement that the motivation was that she was not

17 knowledgeable and strives on power?

18 A. Correct.

19 Q. You didn't mention race, did you?

20 A. Not in that statement.

21 Q. Is there another statement that you gave
22 under oath where your -- where you refer to this

23 incident as being because of race?
24 A. This event was referred to as

25 retaliation.

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1 Q. Okay. So it is your testimony that

2 event, the event in February 7th of Janelle and

3 Cynthia, is based on retaliation, it is not based
4 on race?

° A. Correct.

6 Q. Okay. Okay. Still under this paragraph
7 3, are there any other events where Miss Duda

8 usurped your authority by instructing your staff

9 to complete different actions from what you

10 initially instructed your staff to do?

11 A. There is dental.
12 Q. Okay.
13 A. In which there should be documentation

14 between myself and Jessica Clasen in regards to

15 the dental directives. Ruth states that I will

16 reach out to the VISN because I am on only going
17 by what DaShaun told me. She reached out to the
18 VISN, I reached out to the national program office
19 and the national program office came back with I
20 was correct.

21 Q. Okay. You said Ruth states she was going
22 to reach out to VISN. Who does she state it to

23 and when did she state it?

24 A. She documented it in the E-mail.

25 Q. Okay. So in an E-mail she says I'm going

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to reach out to VISN for what reason?

A. Because she was going by what DaShaun had
instructed her, in regards to the dental practices
and the national guidelines. And Jessica was
going with actually the directive, in which I had
actually stated to her, and Ruth was going on what
the new dental chief was doing, which was
inappropriate.

Q. Okay. So you said Ruth, I ama little
confused, you said Ruth says she's going to reach
out because I am going by what DaShaun told --

A. Yes.

Q. -- when you say DaShaun is that are you
trying to use --

A. That's myself.

Q. Okay. Okay. So she says the E-mail says
I am going to reach out to VISN for what purpose,
to get clarification?

A. To get clarification.

Q. Okay. I'm going to reach out to VISN to

get clarification on some process?

A. Dental.

Q. Dental process?

A. Dental authorizations, yes.

Q. Okay. I'm going to reach out to VISN to

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get some clarification on what dental process
because I'm going by what she believed you told
her?

A. Uh-huh.

Q. But it is your testimony today that you
told your staff to do something else?

A. I had never told Ruth the information
where she told my staff. This is all documented
in an E-mail, Ruth responded back to Jessica
Clasen, removing me from the E-mail and stating
that she was going to reach out to VISN, because
she was going based on what DaShaun told her.
When I got that E-mail I reached out to the
national program office for dental --

Q. Uh-huh.

A. -- VA central office, and they said you
are absolutely correct, DaShaun, and they
appreciate my knowledge base.

Q. Okay. How long did it take from the E-
mail Ruth saying I am reaching out to VISN to you
getting the E-mail back that you just discussed
saying you are correct?

A. One day. And she never received anything
back from the VISN.

Q. Okay. And so there is an E-mail chain to

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this?
A. Yes, between myself, Ruth and Jessica
Clasen
Q. All right. So this is something we can

find we can all look out for ourselves?

A. Yes.

Q. All right. We talked January 2019.
February 7th. And then this dental issue. And I
don't know, I don't have it written down, I am
sorry, the date for this dental issue.

A. I do not recall.

Q. Okay. 2019? 2020?

A. I believe 2020.

Q. Okay. Any other events under this
paragraph 3?

A. Yes.
Q. What other events?
A. In the January 24, 2020, I had been

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working on the staffing in regards to how we would

complete our backlog and when I had taken that
information to Dr. Cummings he did not feel that
that was appropriate. So I, that's when we had
the meeting with the executive leadership team at
HR to see how we would get additional staff or

staff from the hospital to be able to come and

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work overtime in our unit, or people that were on
light duty, so that we could get our backlog taken
care of. And that's when the medical center
director had requested to her to allow me to
speak. And that's when she became upset.

Q. Okay. I think we're getting kind of far
afield. Let me get at it this way. This event
you're describing, what was the specific
instruction that you made to your staff?

A. This is not under the usurp authority.

Q. Okay. Well, that's still what we are
talking about now, okay?

A. Okay.

Q. So I want to make sure we're still under
this idea that Miss Duda usurped your authority by
instructing staff to do something different than
what you instructed, okay? Is there anything else

under there?

A. Oh, no.

Q. No, okay. Is that a no to my question?
A. No.

Q. Okay. I just want to make sure we have a

clear record. Would you go to Exhibit 13, please.
That would be your witness statement. I am

looking at Page 68 going on Page 69. Do you see

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at the bottom where it shows event 3?

A. Uh-huh.

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Q. Is that the same event we've been
discussing?
A. Yes.
Q. Okay.
MR. THOMAS: What Exhibit Number is that
again? I am sorry.
MR. VANORSBY: 13.
A. And it's Page 68.

BY MR. VANORSBY:
Q.

asks you to explain the event,

A. Uh-huh.
Q.

did you identify an event on February 7th,

So looking at Page 68 going on to 69.

right?

At any point in this written statement

this

event regarding or this event regarding dental?

A. Covering dental services.

Q. Okay.

actually describe here?

What is the event that you

Is it actually where you

are not, where you are not in the office?

A. This one I was in the office.
Q. Uh-huh.
A. And the veterans did not meet criteria

for dental and the dental chief was trying to

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authorize the care and Miss Clasen was coming back
to me in regards to the care being authorized.

And I informed her that it did not meet the
criteria under the dental directive and the actual
dental law.

Q. Okay. So I'm going -- I'm looking at
paragraph l(a). And I will ask you to describe
the event and circumstance. It says: Miss Duda
would discredit information that I would give the
staff to complete tasks. Oftentimes informing
staff to do something against the process as a
workaround and then I would return on site and
have to correct.

So what you are describing is something where
you're not in the office and Miss Duda gives some
instruction?

A. That was the incident when she told them
that they no longer had to review the medical
records.

Q. Okay. And it says: This particularly
happened with Jessica Clasen nurse covering dental
services. Heather Bandy RN covering neurology and
pain management services, right?

A. Correct.

Q. Okay.

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1 (THEREUPON, Deposition Exhibit No 17 was
2 marked for identification.)

3 Q. Let the record reflect I have handed the
4 witness Exhibit 17. Do you recognize that

5 document?

6 MR. THOMAS: Which one is 17?

7 MR. VANORSBY: This one right here

8 (indicating).

9 BY MR. VANORSBY:

10 A. Yes.

11 Q. Okay. What is it?

12 A. It is the Agency's Discovery Requests to

13) Complaint, it's a complainant.

14 Q. So are these some discovery requests you
15 responded to in the underlying EEO proceedings?

16 A. Yes.

17 ~ QQ. Okay. I want you to go to the page that's
18 marked USA 000128. Do you see that? Question

19 Number 6, can you read that?

20 A. Admit that Ruth Duda never usurped your
21 authority, see issue three.

22 Q. And your response was denied; correct?
23 A. Admit that Ruth Duda never usurped your
24 authority so I denied that she never usurped my

25 authority because she did. I was under the

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1 impression if I put admit that I would be saying

2 otherwise.

3 Q. Right. You did that right.
4 A. Okay.
5 Q. I am not taking issue with that at all.

6 Can you go to the page marked USA 000130 and read

7 the first question.

8 A. With respect to each request for

9 admission that you did not admit, describe in

10 detail why you did not admit it.

11 Q. Okay. You can put that one away for now.
12. I am going to hand you what has been marked as

13. Exhibit 18.

14 (THEREUPON, Deposition Exhibit No 18 was

15 marked for identification. )

16 BY MR. VANORSBY:

17 Q. Do you recognize that document?

18 A. I do.

19 Q. Okay. What is it?

20 A. It 1s my responses in regards to just

21 everything in which I had claimed.

22 Q. And so, consistent with the question on
23. Exhibit 17 that we just read, you provided a

24 response to any request for admission that you

25 denied, right?

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A. Right.

Q. And with regard to issue 3, which we've
been discussing, you deny question 6, what was
your reason for denying question 6?

A. I was out on leave for rotator cuff
repair, staff informed me that Mrs. Duda informed
them to complete different things different for
how I had instructed, and I had a call in and be
on staff meeting while on leave to correctly
explain the process.

Q. Okay. And so in your written response
here, is there any reference to an event on
February 7th for this dental issue?

A. (Witness reviews documents).

Q. And by response I mean response to this
issue 3 to question 6.

A. (Witness reviews documents). So on
response 3 I just wrote in that area that there
are E-mails and Skype messages regarding the
continued conduct that present a hostile work
environment for documentation of discrimination
and access to privilege information related to
disciplinary action that was harmful all ina

review in my folder, yeah.

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Q. So you've kind of flipped the pages to go

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on to another question. My question was
specifically regarding this Paragraph 6, which
corresponds to the request for admission that you
denied. Just to make it simple, I mean, what you
mention is you were out on leave for rotator cuff
repair.

A. Uh-huh.

Q. When were you out on leave for rotator
cuff repair?

A. January of 2019.

Q. Okay. So you weren't out on leave for

rotator cuff repair on February 7th of 2020,

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right?
A. No.
Q. And you weren't out on leave for rotator

cuff repair on January 24 of 2020; correct?

A. “No.

Q. Okay. And isn't it actually correct that

you would instruct your staff to see Miss Duda for

any questions when you were out?

A. Yes.

Q. So it wouldn't be inappropriate for those

individuals to go to Miss Duda and for Miss Duda
to provide some instruction, right?

A. Correct.

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Q. Okay. Any of these events that we've
discussed with regard to this paragraph, did any
of them result in any reduction to your pay?

A. No.

Demotion?

No.

Q.
A.
Q. Okay. Decrease in benefits?
A. No.

Q. Any disciplinary action?

A. No.

Q. Okay. Let's talk about paragraph 4 on
the complaint. Let me more specific which is
Exhibit 14. We're still on Page 3.

MR. THOMAS: Roman numeral IV?
MR. VANORSBY: Roman Numeral IV. Kind of
clunky to say IV.

BY MR. VANORSBY:

Q. Can you read that paragraph for me.

A. Yes. On January 24th 2020, Ruth Duda
increased plaintiff's workload after plaintiff had
a meeting with chief of staff to discuss Ruth
Duda's behavior.

Q. Okay. And tell me about your meeting
with the, well, first, who's the chief of staff

that you're discussing?

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A. Robert V. Cummings.

Q. Okay. And tell me about the meeting that
you had with Dr. Cummings?

A. Myself and another staff had our meeting
with Dr. Cummings in regards to Miss Duda's
behavior in the workplace in regards to making it
to look as if the backlog was a result of our
negligence and the daily work in managing our
staff.

Q. Okay. When did that meeting occur?

A. January 24th of 2020, myself, Dr.
Cummings and Elizabeth Dial.

Q. Did you discuss anything else with Dr.
Cummings on January 24th of 2020?

A. Asking him to talk to her in regards to
her behavior toward us.

Q. Okay. Anything else?

A. Not to my knowledge.

Q. Okay. Were there any discussion
regarding asking Miss Duda to stop micromanaging?

A. Get out of the weeds.

Q. Get out of the weeds, is that a quote,
can I quote you on that, that's what was
discussed?

A. Correct. Yes.

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1 Q. Okay. And what did you mean by get out
2 of the weeds?
3 A. Micromanagement and blame, because we had

4 went to her multiple times requesting an

5 opportunity to work on the backlog, offer overtime
6 to our staff to work on the backlog, and be able

7 to decrease the backlog before it got to this

8 level in which she was being asked about it by her
9 direct supervisor.

10 Q. Okay. So is it fair to say you wanted
11 Miss Duda to take a higher level approach to stop
12 kind of meddling in your business?

13 A. Yes.

14 Q. Okay. And by that you mean, let you

15 handle the staff; is that right?

16 A. Allow us to meet the needs by just take
17 the recommendation, so take the recommendation of
18 our need for overtime for our staff so that we

19 could be able to decrease our backlog.

20 Q. Okay. So this was about Miss Duda not
21 taking a recommendation that overtime was needed?
22 A. Yes.

23 Q. Okay. And there would be specific E-mail
24 communications about that?

25 A. We did that in our face-to-face meeting.

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1 Q. Okay. How else was, if at all, was Miss
2 Duda micromanaging, or in the weeds?

3 A. I mean, things she would say and do, but
4 then come back to us after she was, express

5 something that wasn't correct. So I mean, that's

6 just, her expression of incorrect information, and
7 then having to come back in. Basically we had to

8 clean it up.

9 Q. Okay. And that's something that you

10 wanted Miss Duda to stop?

11 A. Yes.

12 Q. Okay. Did you give any recommendations

13. about how that should happen?

14 A. Yes.
15 Q. What were your recommendations?
16 A. My recommendations were to just evaluate

17 us once we establish the process to get our

18 backlog worked.

19 Q. Okay. I mean, I am understanding what

20 you are saying is you wanted Miss Duda to take a

21 step back and let you do the work?

22 A. Correct.

23 Q. Okay. Did you discuss anything else with
24 Dr. Cummings?

25 A. He told us to go to EEO for a mediation

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and ultimately that was declined.

Q. Declined by whom?

A. Declined by myself and declined by Mrs.
Dial.

Q. Okay. Did you discuss anything else with
Dr. Cummings?

A. Not on that date.

Q. Okay. So this paragraph IV, or four,
Says your workload increased. How did your
workload increase?

A. So there are things, as you have
mentioned that are mandated by education
department. And I actually have that here in my

response Number 8.

Q. And just for sake of clarity your saying
response --

A. Exhibit Number 8.

Q. I am sorry, you are saying Exhibit 18 and

response 8?

A. Yes.

Q. Okay. So how did your workload increase?
And you can reference that paragraph, if you need
to.

A. Miss Duda was informed that I reached out

to Dr. Cummings 1-24-20. Miss Duda returned to

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the office at 1551 and sent an E-mail to Dean
Rhein asking if I had sent a list of TMS that new
OCC staff need to be assigned. 1-24-20 Mr. Rhein
responded that I had not sent E-mail. 1-25-20
responded with a TMS training needed for the
staff. 2-12, it was '20, it is not '21 --

Q. Uh-huh.

A. -- sent further information to Mr. Dean
Rhein requiring the courses that are needed to be
added for the RN staff. Received response from
Mr. Rhein that his supervisor would be
constructing an E-mail to Miss Duda as this was
not the appropriate way to assign the trainings.
I responded that I would await the E-mail and
proper process from his supervisor. No work
deadlines missed. 1-28-20 E-mail sent to Dr.
Cummings, Mr. Ament and Mr. Neal Simmons to
discuss Miss Duda's continuation of hostile work
environment. This E-mail was in collaboration
with Elizabeth Dial. 1-28-20 response from Mr.
Ament requesting a chance to resolve locally as I
am a valued employee.

Q. Okay. Okay. So you're saying your
workload increased because Miss Duda sent an E-

mail on 1-24 of 2020 to Dean Rhein asking if you

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1 had sent a TMS list?

2 A. So basically that she just started

3. picking more stuff, not only that it was other

4 things but I couldn't just remember them at this
5 time.

6 Q. Okay. And it says, I mean, you are

7 saying that the E-mail was sent 1-24 asking if you
8 had already sent the list. Would it be fair to
9 say that you were already asked to send the list
10 prior to 1-24?

11 A. I had never been asked to send a list.

12 Q. Okay. And all of this is by E-mail, so,

14 A. Yes.

15 Q. So we can see the E-mails for ourselves,
16 «right?

1” A. Yes.

18 Q. All right. And it's your testimony today

19 that you had never been asked to send this list to
20 Dean Rhein prior to 1-24 of 2020?

21 A. That's correct.

22 Q. Okay. How else did your workload

23. increase?

24 A. There was just little things that she

25 just came up with, you know, out of her head.

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1 Q. What little things?
2 A. I can't recall. I just know that all of

3 a sudden it was like (indicating).

4 Q. Okay. So we talked about Dean Rhein.

5 We, you've mentioned little things that you just
6 can't recall.

7 A. So the CTM, the consult tracking manager,
8 identifying the metrics, figuring out a way to

9 reduce the metrics, but not having an opportunity
10 to actually give our employees overtime. Just

11 work on different things in regards to readiness.
12 And in response to after Dr. Cummings had looked
13. at how far our outliers were. And basically now
14 it was all my and Elizabeth's responsibility that
15 we were behind.

16 Q. Okay. Was that a result of Miss Duda
17 getting out of the weeds?

18 A. That was not a result of Miss Duda

19 getting out of the weeds, that was Miss Duda

20 basically removing herself from taking any

21 responsibility of the things that had occurred

22 based on us asking her for the opportunity to

23. offer the overtime, and then she just decided

24 that, well, it wasn't her issue because we are the

25 supervisors.

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1 Q. Okay. So were you allowed to give
2 overtime?
3 A. No. We weren't allowed to give overtime.

4 We ended up getting staff that came from the
9 facility that were on light duty, disciplinary

6 actions, all kind of different things.

7 Q. Okay. So you did get additional staff?
8 A. We got additional staff.
9 Q. Was that the result of Miss Duda

10 requesting additional staffing?

11 A. That was the result of the meeting in

12 which was had on the 30th with Mr. Ament in HR.

13 Q. Okay. And, then, it's your testimony

14 today that you were not allowed to give overtime?
15 A. I'm not allowed to give overtime without
16 the supervisor's, the chief's approval.

17 Q. I think we're talking past each other

18 here. Were you allowed to give overtime at any

19 point after 2020?

20 A. Never.

21 Q. Okay. Were you allowed to give overtime
22 at any point in 2019?

23 A. Never.

24 Q. Okay. And that's your testimony under
25 oath today?

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A. That's my testimony under oath.

Q. Okay. So we've talked about E-mail to
Dean Rhein, little things that you can't recall.
CIM, tracking metrics for readiness. What else?

A. (Witness reviews documents). Nothing
else. But if you look at Number 11 on Exhibit
18.

Q. Okay. Tell me about Paragraph 11. What
are we looking at?

A. So in regards to the meeting that was had
on 1-30, and then her on 1-31 coming in to my
office and standing over me, Mr. Ament wrote a
response on 2-1 regarding the interactions with
Miss Duda and Dr. Cummings that he felt good about
the interchange and addressed the difference in
approach provided by Miss Duda of throwing bodies
at the problem rather than fixing the real problem
and addressing staff accordingly in which I had
stated. He states my analysis and articulate were
right on target.

Q. Okay. And. Okay. There is also
something else going on in the background in this
time frame, right? Covid? That right? It's
about the time Covid started coming out?

A. This is about the time that Covid

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1 happened.
2 Q. So were there Covid related increases to
3. your workload?
4 A. The Covid increases in regards to an

5 inability to schedule in the community, but these

6 outliers and information were metrics from fiscal

7 year 2019.

8 Q. Yeah, and sure, I'm not speaking directly
9 to your metrics regarding how fast you could get

10 scheduled and those things. I just mean, Covid

11 hit, you got appointments being cancelled, people
12 starting to Telework, a bunch of changes at work.
13 I mean, that contributed to your increase in your

14 workload, right?

15 A. No.
16 Q. Why not?
17 A. The increase in the workload of myself,

18 when the Covid changes came about I was staffed in
19 the office working daily.

20 Q. Okay.

21 A. So it didn't -- nothing changed. These

22 metrics are from 2019.

23 Q. Sure. I understand that. And I am not
24 speaking directly to your metrics, but there was

25 additional things you had to do in the workplace

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because of Covid?
2 A. Yes. We had to prepare the staff for
3. Telework and decrease the amount of people that

4 were onsite allowing others to go home.

5 Q. So that took extra work, right?
6 A. Yes.
7 Q. And was there a process for getting

8 people certified to Telework?

9 A. A TMS, and then to do the self-

10 certification and to fill out the documentation in
11 regards to what they had available in their home
12 and in regards to a work space and bandwidth for
13 their Internet.

14 Q. And did you have any involvement in that
15 process whatsoever?

16 A. Yes.

17 ~-Q. Okay. So that was an additional duty

18 that got kind of put on you because of the change
19 that's happening. Unprecedented change.

20 A. But I didn't see that as an additional
21 duty. That telework is fairly easy to prepare the
22 staff for.

23 Q. Okay. Did you receive any additional

24 assignments after your meeting with Dr. Cummings

25 on January 24, 2020?

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Just to work on the metrics.
Okay. Anything else?
No.

Okay. So these changes, this increased

workload or this obligation to look at the

metrics,

these events did they result ina

reduction of your pay?

A.
Q.
A.
Q.
A.
Q.
A.

Q.

No.

Demotion?

No.

Decrease in benefits?

No.

Did you -- were you disciplined?
No.

Do you recall in your witness statement

that you were asked whether or not you had any

problem with the increased workload? And your

witness statement is there. If you need to look

at it,
A.
Q.
A.

Q.

that's fine.

I'm sure I denied it.

Okay.

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Based upon, I work, I'm a working person.

Okay. So you stated under oath you

didn't have a problem with increased workload?

A.

No problem with increased workload, but

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feeling that it was retaliation.

2 Q. Okay. You know what, I missed something.
3. Can you tell me about an initial OCC leadership

4 meeting that might have happened on October 28th

> of 2019.

6 A. That was the first ever meeting that she
7 actually met with myself and Elizabeth formally to
8 document the meetings.

9 Q. Okay. What was the purpose of that

10 meeting?

i1 A. For her to start the training of us --
12 Q. Okay.
13 A. -- in regards to our roles. After we had

14 been in the meeting since January 2019 and

15 Elizabeth, whatever day she came. I am not sure.
16 I don't recall.

1” Q. Okay. So you discussed training, did you
18 discuss anything else?

19 A. Just the different things that were

20 rolling out. We had at that, you know, at that

21 time in October we were getting ready to, I

22 believe, change over to the eCAM system, which was
23. the different payment system. In which when

24 Nicole Aliseo {PH} from the VISN came, Ruth Duda

25 had taken a week's leave and left me in charge to

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1 handle all of the processes in regards to rolling

2 out the new system. She also, Nicole said, well,

3. why would she leave, take leave this week when

4 it's such an important time for your department?

° That was the standard. When we rolled out CTM she
6 took leave and I was responsible to roll it out to
7 the department. When we changed over to Optum

8 from TriWest, she took leave and I was

9 responsible.

10 Q. Uh-huh. I think we are getting kind of
11 far afield. My question was specifically what was
12 discussed at this October 28th, 2019, meeting and
13. I know we talked about training, we talked about

14 things that were rolling out, eCAM.

15 A. Uh-huh.

16 Q Discuss anything else?

17 A No.

18 Q Did you take notes of the meeting?

19 A Yes.

20 Q. Do you think you still have those notes?
21 A No.

22 Q Okay. Who else was present?

23 A Elizabeth Dial and Crystal Profit.

24 Q Okay.

25 A And the other lead, I can't remember her

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1 name right now.
2 Q. Okay. Fair enough. And you say other

3 lead, was she an MSA lead?

4 A. Uh-huh. MSA lead.

3 Q. And what does MSA stand for?

6 A. Medical support assistant.

7 Q. Okay.

8 MR. VANORSBY: And our court reporter

9 wanted a break, I am getting ready to switch to

10 another event, I think now is probably a good time
11 to do that.

12 THE VIDEOGRAPHER: Standby. Time is

13. approximately 1:14 p.m. We are going off the

14 record.

15 (THEREUPON, at 1:14 p.m., a recess was
16 taken, after which, 1:38 p.m., the following

17° proceedings were held:)

18 THE VIDEOGRAPHER: Time is approximately
19° 1:38 p.m. We are back on the record.

20 BY MR. VANORSBY:

21 Q. Okay. We took a break, we are back on
22 the record. Miss McCray, do you understand you

23. are still under oath?

24 A. Yes.

25 Q. Okay. Just as we took a break I was told

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we were getting ready to move on to the next event

that you had listed on paragraph 12. Which is

event 5 which is marked with a v, okay? And we
are still looking at Exhibit 14, which is your

complaint. Can you read Paragraph 5?

A. On January 30th of 2020, Ruth Duda
refused to allow plaintiff to speak during a
meeting with the medical center director. Even
though the director asked Ruth Duda to allow
plaintiff to speak.

Q. Okay. So tell me about this event on
January 30th of 2020.

A. We were in the meeting in regards to
outliers, the staffing in regards to trying to
Figure out if we were to get overtime or if we
would be able to if HR had staff that were on
light duty or under any other reason why they
would need to be in a different department for

period of time. So that's when that meeting

the

occurred. And I was, the medical center director

stated to Miss Duda to allow me to speak, and she

voiced that she was the chief and that's how that

happened. We had further discussion with HR, you

know, trying to think about things. Miss Duda

was

wanting the director just to allow us to hire or

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get more staff, but that really ultimately isn't
the, wasn't the best idea, but that's what
happened.

Q. And so earlier you talked about some,
Miss Duda throwing bodies at the problem rather
than fixing the real problem. Is that kind of
what, is that what we are talking about here?

A. Correct.

Q. Okay. Who was the medical director at
that time?

A. Ricky Ament.

Q. Okay. Can you spell his last name for

A. A-M-E-N-T.
Q. Okay. And so it is your testimony he
said, please, well, not quote, but words to the

affect, please allow Miss McCray to speak?

A. Yes.
Q. And what was Ruth Duda's response?
A. I don't recall her specific response,

it was basically I am the one here to speak
because I am the chief.

Q. Okay. And so you were not allowed to
speak at all?

A. Not at that moment.

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Q. Well, you said at that moment, were you
allowed to speak?

A. Later when HR started talking.

Q. Okay. So it's your testimony that you
did not -- you were not allowed to speak until HR

started talking?

A. Yes.

Q. So tell me about how you were allowed to
speak.

A. Because HR actually just asked me

directly what I thought.

Q. Okay. Was anyone else speaking at this
presentation on January 30th of 2020?

A. Dr. Cummings, the nurse executive,
Julianna Cotton {PH}.

Q. Was anyone under Ruth Duda's supervision

speaking during this January 30th of 2020 --

A. No.

Q. -- meeting? Now --

A. Not that I recall.

Q. Okay. Was there an itinerary generated

for this meeting regarding who was supposed to be

speaking?
A. No.
Q. Okay. What information was Director

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Ament asking you to get?

A.

Q.
A.

My thought process --
Uh-huh.

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-- and how we could reach a goal in

regards to attacking our outliers.

Q. Okay.

A. And there is an E-mail
documentation.

Q. What do you mean by that?

A. In regards to what I stated,

directly from his E-mail.

with his

that's

Q. I am not following.

A. Number 11.

Q. Okay.

A. I received E-mail response from Mr.
Ament, so there is an E-mail.

Q.

Okay. Okay.

you are referring to --

A.
Q.

Exhibit Number 18.
-- Exhibit Number 18,

first page?
Yes.

Q. All right.

And when you say Number 11

Paragraph 11 on the

(THEREUPON, Deposition Exhibit No 19 was

marked for identification. )

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BY MR. VANORSBY:

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Q. Let the record reflect that I have handed

the witness Exhibit 19. Do you recognize Exhibit
19?

A. Yes.

Q. Okay. What is it?

A. It 1s an E-mail to the ORM, Natalina
Alford, from myself.

Q. Okay. And there is an entry in this E-
mail that's dated January 30, 2020. Do you see
that?

A. Uh-huh.

Q. Okay. And this entry it refers to this
meeting that we've been discussing, right?

A. Uh-huh.

Q. Okay. Can you read that entry for me.

A. Attended meeting with chief nurse, Ruth
Duda, with Pentad. Discussion was going as
planned and Miss Duda was reporting information

without plan for resolution. Medical center

director placed his hand up to ask her to allow me

to speak. I gave the information in perspective
to a department workflow and he understood
recommendation and requests myself and Miss Duda

to have information to the Pentad 131.

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Q. And this is an E-mail that you authored,
right?

A. This is an E-mail that I authored.

Q. Okay. Where on this entry, that you read
for me, does it say that you were not allowed to
speak?

A. It's not there.

Q. It shows the opposite, doesn't it?

A. It does show the opposite. But it was
completed, this E-mail ten days later.

Q. And your memory would be better ten days
after rather than two or three years, right?

A. Right.

Q. All right. I want you to find your
Agency's Discovery Requests to Complainant. What
exhibit is that?

A. Exhibit Number 17.

Q. Okay. On Exhibit 17 I want you to go to
page marked USA 128. And do you see a question
10?

A. Uh-huh.

Q. Can you read that one for me.

A. Admit that you took over answering
questions for Ruth Duda without a request to do

so. And I put deny.

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Q. Okay. And so same with issue 3, actually
let me back up. It says this is in regards to
issue 5, right?

Yes.

Q. And issue 5 is the same meeting that
we've been talking about, correct?

A. Correct.

Q. All right. And so just like with issue 3
you denied it, so you provided a written response
for the reason you denied it, correct?

A. Yes.

Q. All right. So I want you to go to those
responses, Exhibit 18 and read paragraph 10.

A. Mr. Ricky Ament raised his hand and asked
Miss Duda to allow me to respond to the question
during the meeting on 1-30 of 2020. I did not
speak out of turn, my input was requested from the
medical center director.

Q. And then it ends with that?

A. Yes.

Q. Can you show me where in here it shows
that you were not allowed to speak?

A. It doesn't show that I was not allowed to
speak.

Q. Okay.

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1 MR. THOMAS: Brian, is this 20 or 19?
2 MR. VANORSBY: 19.
3 MR. THOMAS: Okay.
4 BY MR. VANORSBY:
5 Q. So this event that we have been

6 discussing, this refusal, alleged refusal to allow

7 you to speak, did it result in a reduction of your

8 pay?

9 A No.

10 Q. Did it result in a demotion?

11 A. No.

12 Q. Disciplinary action?

13 A No.

14 Q. How about a decrease in any of your

15 benefits?

16 A. No.

17 Q. Okay. We are going to go on to event 6

18 ain your complaint, which is again Exhibit 14. Can

19 you read the event that's marked 6?

20 A. On January 31st, 2020, Ruth Duda violated
21 plaintiff's personal space when she looked over

22 her so she could see her computer and Ruth Duda

23. yelled at her, you did not allow me to talk during

24 the meeting with the Pentad, and you gave

25 incorrect information. Are you offended?

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Q. Okay. I think we may have talked about
this a little bit earlier, but can you tell me
about that event.

A. She had returned from morning report and
she came in to my office and came behind my desk
standing over my shoulder attempting to see an E-
mail. And then she states that I didn't, that I
didn't allow her to talk with the Pentad and that
I gave incorrect information. And then with the
E-mail, I don't know, it must have been the E-
mail, are you offended? I mean.

Q. Okay. What was the E-mail that Miss Duda
was trying to look at?

A. The E-mail that she was trying to look at
was one in regards to getting the plan for the how
to clear up the backlog by close of business on
January 31st.

Q. Okay. Now, I am trying to visualize your
office, okay, and where your computer was
Situated. Is there any way possible that she
could have viewed that E-mail without standing
over your shoulder?

A. But that E-mail wasn't -- it wasn't sent
to her.

Q. Sure. I understand that. But my

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question is, is there any way she could have
viewed the E-mail without standing behind you over
your shoulder?

A. Coming behind my desk she couldn't, there
is no way she could have viewed the E-mail.
Because my computer was going this way, my cross
space from my desk to my door opening is right
here (indicating).

Q. Okay. So she would have had to come
behind your desk and behind you to even get a look
at your computer?

A. Right.

Q. Okay. Why was she -- why was she looking
at the E-mail?

A. I don't know.

Q. Okay. And so we're talking about an
isolated event here, just one event January 3lst,
2020. Did that event have any material effect on
your employment?

A. It affected my mental status.

Q. Okay. And we'll talk a little bit about
that when we get to your damages, but my question
specifically is regarding your employment.

A. No.

Q. Okay. I want to go to the next event.

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Which is, where are we at now? 7?

A. Uh-huh.

Q. Okay. Can you read that event, please?

A. On February 10th and 14th, 2020, Ruth
Duda undermined plaintiff's ability as a
Supervisor as she stated, you took all leadership
away from Janelle Adams, co-worker. It appears
you were also taking credit for all the progress
made, that was to be implemented in the future
with little input from the staff. And when she
falsely, and when she falsely accused plaintiff of
taking over a February 7, 2020, meeting and did
not allow another employee to speak.

Q. And at the end it says another employee
to speak, is that referring to Janelle Adams?

A. Yes.

Q. Okay. So I want to first start, and we
go kind of linear here, start at the February 7th,
2020, meeting.

A. Yes.

Q. I think we might have discussed this
earlier.

A. Uh-huh.

Q. So tell me about that meeting.

A. The meeting was in regards to the

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notifications for veterans that were in community

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hospitals, for inpatient stays and the process for

how that would be documented, how we would be
notified, notification within 72 hours of the
patient presenting to the facility and just
following the directive and the practice.

Q. Okay. And with regard to that
information, and this meeting, was Janelle Adams
given some leadership responsibility for either

getting the information or presenting the

information?
A. Janelle Adams put together a chart.
Q. Okay. Well, my question is, was she

given some responsibility for giving information?

A. She was given some responsibility for the

information, she was the nurse in transition care.

Q. Okay. It is my understanding that part

of the reason that she was given some of this

responsibility was to allow her to get promoted up

to nurse 2; is that right?

A. Responsibility in actions, yes, is to

allow to show responsibility in work processes, to

be promoted.

Q. That was a specific thing for Nurse Adams

to get promoted, right? The -- bad question. Let

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1 me back up.

2 The decision to give her some leadership

3 responsibility on the information was a specific
4 decision made in order to allow Nurse Adams to be
5 promoted up to nurse 2?

6 A. We always give our staff an opportunity
7 to take leadership roles in the service line in

8 which they worked in, so yes.

9 Q. Okay. So that was a yes to my question?
10 A. Yes.
11 Q. Okay. Is it true that Janelle Adams was

12 actually slated to present the information?

13 A. No.

14 Q. So is it your testimony today that Miss
15 Adams was just speaking out of turn?

16 A, Her and Miss Lewis were both speaking in
17 regards to the work processes of their unit.

18 Q. Okay. So maybe we are speaking past each
19 other, but based off what you are saying, to me it
20 sounds like Miss Adams was slated to make some

21 sort of presentation during the meeting?

22 A. Yes.

23 Q. Okay. And that was my question, was she
24 supposed to make some presentation?

25 A. Uh-huh.

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1 Q. Okay. And then part of your allegation
2 is that Miss Duda falsely accused you of taking

3. over the meeting?

4 A. Yes.

5 Q. Okay. Why do you say it's a false

6 accusation?

7 A. The meeting continued to go on and we

8 resolved the issue and resolved all of the making
9 sure that we were in line with the processes, and
10 then she goes to Janelle's desk with the problem
11 Monday --

12 Q. Okay. And we're getting a little bit out
13 of the meeting. I want to focus on the meeting.
14 A. Okay.

15 Q. Based on our discussion earlier, it

16 sounded like you felt that Miss Adams was not

17 providing the right information, so you had to

18 step in and provide the correct information; is
19 that right?

20 A. That's correct.

21 Q. Okay. And it is your testimony today
22 that saying that you took over the meeting would
23. be false?

24 A. Yes.

25 Q. Okay. And that's your personal opinion,

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right?
A. Yes.

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Q. Okay. So what happened on February 10th?

A. Miss Duda went to Janelle Adam's desk and

asked her if I presented a hostile work
environment and took over the meeting as if the
information was my own.

Q. Okay. And we talked about this earlier
but Janelle Adams says that didn't happen, right?

A. She says that happened, that, she says
that she went to -- that Ruth Duda came to her
desk, oh, in her testimony? She says I do not
recall.

Q. Okay. So she says I don't recall that
ever happening, right?

A. That's correct.

Q. All right. And that was sworn testimony?

A. That's sworn testimony.

Q. And that Cynthia Finley also says I don't

recall that ever happening, right?

A. That's correct.
Q. And that was sworn testimony?
A. Yes.

Q. Okay. Did this February 10th event

result in any material consequence to your

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1 employment?
2 A. I've seen it as defamation.
3 Q. Okay. I see that, what you are saying.

4 But my question is whether or not there was a
5° material consequence to your employment.
6 MR. THOMAS: Asked and answered. You can

7 answer again, if you need to.

8 A. No.
9 BY MR. VANORSBY:
10 Q. So the next day we have here is February

11 14th, 2020, what happened there?
12 A. She decides to have a meeting with me and
13. invite the ADPCS, associate deputy of patient care

14 services.

15 Q. Associate deputy --

16 A,X Of patient care services.

17 Q. Okay. And who is that?

18 A. Heather Brown.

19 Q. And for what purpose did Ruth Duda invite

20 Miss Brown, if you know?
21 A. It's still unknown to myself and Heather

22 Brown why she was invited.

23 Q. Okay. Did Miss Brown attend the meeting?
24 A. Yes.
25 Q. Okay. Who is Miss Brown to you?

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1 A. She's my mentor.
2 Q. How did Miss Brown become your mentor?
3 A. We worked on the panel to hire nursing,

4 when I came in there were five nurses.

5 Q. Okay.

6 A. We worked on a panel, with myself, Mrs.

7 Burks and one of the doctors to interview six

8 nurses to increase the nursing in our unit.

9 Q. Okay.

10 A. And she then got to know me, and I got to
tl know her and then she just helped me to navigate

12. the VA health system.

13 Q. All right. So Nurse Brown, would it be

14 fair to say is someone you're close to?

15 A. Yes.

16 Q. Someone you look to for direction?

17 A. Yes.

18 Q. Someone you look to for help when you are

19 kind of struggling with your work, if you do at

20 all. I don't mean to imply that you struggle with
21 your work.

22 A. I confide in her to say that I would not
23. be reactionary and point with understanding the

24 VA.

25 Q. Okay. And that's a good way to put it,

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she's somebody you confide in, right?
Yes.

Q. Okay. Did Miss Duda know that, if you

know?

A. No. She just knew that Heather was my
mentor.

Q. Okay. So at some point, you assume, you

had informed Miss Duda this is my mentor?

A. I informed her that Heather was my mentor
when I came back with my appeal and she said it
was written very well, and I said Heather assisted
me with completing this.

Q. Okay. All right. Good context. So who
was at the meeting other than Miss Brown, yourself

and Miss Duda?

A. Myself and Miss Brown and Miss Duda.
Q. Okay. What was discussed at the meeting?
A. I don't recall. There is an E-mail to

the effect though of the meeting, a complete E-
mail from Miss Duda to myself.
Q. We may have that. Let me see.
(THEREUPON, Deposition Exhibit No 20 was
marked for identification.)
BY MR. VANORSBY:

Q. I'm going to hand you what's been marked

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1 as Exhibit 20. Have you ever seen that document

2 before?

3 A. Yes.

4 MR. VANORSBY: Is Exhibit 20 correct?
5 MS. CREED: 20.

6 A. I see a 19 here.

7 MR. VANORSBY: We are on Exhibit 20.
8 BY MR. VANORSBY:

9 Q. What is this document?

10 A. This document is an E-mail that I

11 forwarded to my ORM representative, Miss Natalina
12 =Alford.

13 Q. Okay. And what is the E-mail that you
14 forwarded?

15 A. It's the meeting recap from Ruth Duda in
16 regards to the meeting in which she held with

17 myself on February 14th of 2020.

18 Q. Okay. Is this the E-mail that you were
19 just discussing?

20 A. Yes.

21 Q. All right. Did you ever send any E-mail
22 to Miss Duda saying, no, this isn't what we

23. discussed at this meeting, you are wrong?

24 A. I sent an E-mail to Miss Duda stating

25 that it was inappropriate for her to invite my

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mentor and to slander me in front of my mentor in
regards to the allegations in which she made for
the information in regards to Miss Adams, and just
number 5, several things on here, I sent a
response to her.

Q. Okay. As part of your response did you
say what you recounted at this meeting, no, that's
not correct, something else happened?

A. What my response was is that I felt
intimidated being --

Q. Sure, and I don't mean it -- I'm sorry to
cut you off.

MR. THOMAS: Please let her finish her
answer, you did cut her off.

MR. VANORSBY: Just stop. Just stop.
Just stop.

MR. THOMAS: You interrupted her answer.

MR. VANORSBY: Stop.

BY MR. VANORSBY:

Q. I just want to make sure you heard my
question. I feel like we are getting off ona
tangent, and I don't mean to keep you longer than
you need to be, okay. So, I just want to make
Sure you answer the question that I ask.

My question was as part of any E-mail you

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sent did you say anything to the effect of, this
recap that you have here, what you said we
discussed, or what you said I said, that didn't
happen, that's what I am asking about.

A. Yes.

Q. So it is your testimony under oath you
sent the E-mail, this recap here, no, that's not
what happened?

A. Yes.

Q. Okay. Have you produced that E-mail in
discovery?

A. I am, yes, I'm sure I did.

Q. Okay. We'll check on that. This
February 14th, 2020, meeting have any material
effect on your employment?

A. It had affect on my performance
appraisal.

Q. Okay. Tell me about that.

A. From induction to being at the Robert J.
Dole VA from the first performance appraisal I
ever had, I was always outstanding.

Q. Uh-huh.

A. Once all of this occurred, I was then to

fully, because I don't have a proficiency anymore,

I had an executive career field. And my executive

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career field had went to a fully successful and
documented information in regards to inability to
complete the tasks of my employment.

Q. Okay. So you are saying this February
14th, 2020, meeting caused you to have a fully
successful performance appraisal?

A. Yes.

Q. Okay. Did you receive any reduction in
your pay as a result of either this meeting that

you're fully successful performance appraisal?

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A. I did not receive my annual award.

Q. Okay. And when would that have been?

A. It would have been December of 2020.

Q. And you were no longer working for the --
A. But Miss Duda's information was part of

my executive career field as she had been my
supervisor from the beginning of the fiscal year
to May of 2020.

Q. Okay. Did you receive a performance
appraisal from your supervisor when you returned
to Aurora, Colorado?

A. I received a performance, no, ECF, I am
now a director, so I am on an executive career
field, and so I received that in regards to input

from Ruth Duda and just the basic working

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1 processes with my new supervisor.

2 Q. Okay. So your new supervisor provided

3. you a performance appraisal, correct?

4 A. Yes. =

5 Q. Okay. And that was regarding the work

6 that you performed at your new job, correct?

7 A. Along with the information that she got

8 from Miss Duda's ECF. —3

3 Q. What leads you to believe that the

10 information that, who was your supervisor at that
11 time? sa

12 A. Jennifer Peppiatt.

13 Q. Okay. And what -- what basis do you have
14 to conclude that Miss Peppiatt relied on any

15 information from Miss Duda?

16 A. I received the ECF, the documentation, it
17 states that it was information also from previous
18 supervisor. '

19 Q. Okay.

20 (THEREUPON, Deposition! Exhibit No 21 was
21 marked for identification.)

22 BY MR. VANORSBY:

23 Q. I will hand you Exhibit 21. Can you show
24 me, well, tell me what Exhibit 21 is?

25 MR. THOMAS: What's Exhibit 20?

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DASHAUN MCCRAY

A. 21 is -- Exhibit 21 is my Executive
Career Field Performance Appraisal.

BY MR. VANORSBY:

Q. Okay. Now, would you show me where in
this document it says this is based off
information I received from prior supervisor?

A. (Witness reviews documents). So, Miss
McCray has a long history at her facility with
being a change agent. She received multiple
letters of thanks and accomplished acknowledgment
for her help within the own station and throughout
VISN 15 during this rating period prior to coming
to OCC. She was known as a go-to person in
community care in VISN 15. After coming aboard
she has done an excellent job. She managed -- so

I guess I would have to go and get the E-mail

that came
was given
I do have
Peppiatt.
Q.
A.
Q.

Q.

from Ruth to Jennifer Peppiatt, which
to me by -- I would have to go get it.
the E-mail from Ruth to Jennifer

Okay. Have you produced that?
No, I never produced it.

And why is that?

Foundation.

MR. THOMAS: Objection.

Go ahead and answer.

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MR. THOMAS: Have you established that it
was asked for?

MR. VANORSBY: I am just asking why she
hasn't produced it.

MR. THOMAS: Well, why didn't you produce
the statement that you read to her earlier?

MR. VANORSBY: I don't know what you are
talking about, but anyway.

MR. THOMAS: You read a statement to
her --

MR. VANORSBY: I am not going to argue
with you on the record. Just stop. Just stop.
We'll withdraw the question. I am not going to
argue with you on the record.

BY MR. VANORSBY:

Q. Can you tell me when this performance
appraisal was provided?

A. This performance appraisal was provided
11-15 of 2020.

Q. When did you receive this fully

successful performance appraisal from Miss Duda?

A. There is an interim performance
appraisal.

Q. Okay. And when did you receive it?

A. It was sent directly to my new chief, so

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I don't know.

Q. You don't know when she might have
received it?

A. Correct.

Q. Okay.

(THEREUPON, Deposition Exhibit No 22 was
marked for identification. )

BY MR. VANORSBY:

Q. I am going to hand you what has been
marked as Exhibit 22, okay? Is this the interim
appraisal that you were discussing?

A. Yes.

Q. And I want you to go to page marked USA

462.

A. Yes.

Q. Okay. And when was that rating done? Do
you see that date?

A. 5-24-2020.

Q. The date that it's signed there,
it was issued.

A. 11-16 of 2020.

Q. Okay. All right.
MR. VANORSBY: let's go off the record
for a couple of minutes and figure something out

here.

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1 THE VIDEOGRAPHER: The time is

2 approximately 2:13 p.m. We are going off the

3 record.

4 (THEREUPON, at 2:13 p.m., a recess was
5 taken, after which, 2:21 p.m., the following

6 proceedings were held:)

7 THE VIDEOGRAPHER: Standby. Time is

8 approximately 2:21 p.m. We are back on the

9 record.

10 MR. THOMAS: Hold on a second. The way
11 you were reading the question, I thought, I was
12 interpreting as Miss Adams had filed a complaint.
13. I did not realize you were reading from Miss

14 McCray's own statement from her own complaint. So

15 that's why I was all up in arms.

16 MR. VANORSBY: Okay. All right.
17 BY MR. VANORSBY:
18 Q. Just to make sure we covered this. We

19 are talking about the February 14th, 2020,
20 meeting, between yourself, Miss Heather Brown and
21 Miss Duda. That meeting, did it result ina

22 reduction of your pay?

23 A. No.
24 Q. Okay. Demotion?
25 A. No.

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DASHAUN MCCRAY
1 Q. Disciplinary action?
2 A No.
3 Q. Any decrease in your benefits?
4 A No.
5 Q. Okay.
6 A We actually got to this (indicating).

u Q. You can put that to the side. Okay. We
8 are going to go back to your complaint, which

9 ds --

10 MR. VANORSBY: I am sorry, I will put the
11 microphone on so people will hear me.

12 MR. THOMAS: I am sorry, I forgot to put
13° mine on, too.

14 BY MR. VANORSBY:

15 Q. The complaint is Exhibit 14, and we are
16 now looking at the event that's marked vii, I am
17 sorry, we just did that one. We are on Page 4

18 now. That would be event 8. Can you read that

19 for me, please.

20 A. Eight. On March 2nd, 2020, Ruth Duda

21 threatened to fire plaintiff when she asked Ruth
22 Duda how to proceed with an employee's expired

23° nursing license, and Ruth Duda stated to her, I

24 find your response interesting, as I was told to

25 fire you when you violated the HIPPA law. Yet I

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chose a merciful route,

that's another staff member,

(name unknown) because

could produce a

license tomorrow and you would have lost a

valuable employee.

Q. Okay.

HIPPA law event --
Uh-huh.

A
Q. -- that occurred in 2017,
A

Yes.

And we already discussed this

correct?

Q. So any decision regarding your

termination would have happened around the events

where we show the proposed reprimand and

dismissal?

A. That's correct.

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Q. I said that wrong, proposed reprimand and

the final decision?

A. Correct.

Q. Okay. So it's true that Miss Duda didn't
threaten to fire you on March 2nd, 2020, she just
referred to an event in 2017?

A. I was told to fire you when you violated
HIPPA law.

Q. Right.

A. And so by bringing that back up after

that has been removed from my ELPF in August, or

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in 2019, that's a moot point.

Q. Okay. I understand it's a moot point.
But what she is discussing is an event that
occurred in 2017, right?

A. Yes.

Q. And where she was told you need, you
should fire this person?

A. Yes.

Q. And at that time, despite a
recommendation to do so, she chose not to fire
you?

A. Yes.

Q. All right. And again, that was for
violation of HIPPA law; is that correct?

A. Yes.

Q. Okay.

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(THEREUPON, Deposition Exhibit No 23 was

marked for identification. )
BY MR. VANORSBY:
Q. Let the record reflect I'm handing the

witness what has been marked as Exhibit 23. Have

you ever seen this document before?
A. Yes.
Q. Okay. What is it?

A. It's a Table of Penalties For Title 5 on

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1 Title 38 Employees.

2 Q. Okay. And were you a Title 38 employee

3 in 2017?

4 A. Yes.

5 Q. Okay. Now, what, what is the penalty for
6 violating the privacy act of HIPPA laws?

7 A. Reprimand to removal.

8 Q. So it would be fair to say that Miss Duda
9 received a recommendation that you should receive
10 the highest penalty of removal, right?

11 MR. THOMAS: Form, foundation, calls for

12 speculation.

13 BY MR. VANORSBY:

14 Q. You can go ahead.

15 A. I don't know what she received.

16 Q. At least you've been told, hey, this is

17 the recommendation I got, right?
18 A. Yes.
19 Q. And Miss Duda issued to you the lowest

20 penalty for violating HIPPA laws, correct?

21 A. Yes.

22 Q. And that would be a reprimand?

23 A. Yes.

24 Q. And that was Miss Duda's choice, right?
25 MR. THOMAS: Foundation, vague and

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ambiguous, or vague, excuse me.

A. She had just came to the unit, so I can't
say.

Q. Okay. So you don't know one way or
another?

A. I don't.

Q. Okay. So if Miss Duda testified to that
effect you would have no reason to deny that?

A. I wouldn't know.

Q. Okay. There has been an allegation in
this complaint that you were subjected to intense
scrutiny that similar situated white employees
were not. Can you tell me about that?

A. We had other nurses that worked in our
department that had been with the VA for an
extended period of time that were Caucasian and
they, at times, they were under my supervision,
but they went to Miss Duda primarily as the person
to, in which they would take their issues to. And
instead of her redirecting those staff members to
me, with me being their direct supervisor, she
would, you know, investigate issues and not
discuss those issues with myself; and then another
staff that she felt that, you know, may have

needed disciplinary action, then she was quick to

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1 discuss the situation with me and desire me to

2 provide disciplinary action to the staff members,

3. which were also Caucasian, because I only had

4 three black nurses.

2 Q. So you're telling me that Miss Duda

6 recommended disciplinary action to Caucasian

7 nurses?

8 A. She recommended disciplinary action for
9 Caucasian employees, yes.

10 Q. Okay. And you are talking about nurses,
11 and I want to make sure we are both thinking about
12 the same time frame. You were a nurse manager,

13 correct?

14 A. Correct.

15 Q. Other people that were nurses under your
16 supervision; is that correct?

17 A. Yes.

18 Q. Were they subject to the same performance
19 standards that you were?

20 A. No.

21 Q. Did they have the same responsibilities
22 that you did?

23 A. No.

24 Q. How about pay? What's the difference in

25 pay, or was there a difference?

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1 A. I was their supervisor but my pay, I
2 can't say what my pay is compared to their's based
3. on the amount of time they had been in the VA.
4 Q. Fair enough. Do you know whether any of

5 those individuals were nurse 3s?

6 A Yes.

Z Q. Okay. Which ones?

8 A. Chad Keller.

9 Q. Anyone else?

10 A That's the only one.

11 Q. Okay. What similar situated white

12 employees are you alleging in this case were not
13° subject to scrutiny or the level of scrutiny you
14 were subjected to?

15 A. Since I am the nurse manager, and the

16 staff, even though they were supervised by myself,
17 they had the opportunity to circumvent me and go
18 to Miss Duda in regards to issues that they should
19 have come to me about. And then when I would

20 speak to Miss Duda and ask her to redirect the

21 staff, that was never accomplished.

22 Q. Okay. And so my question was, who were
23. the similar situated white employees that you're
24 alleging were not subjected to the same scrutiny?

25 MR. THOMAS: Asked and answered.

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A. There were no other supervisors.

BY MR. VANORSBY:

Q. Okay. Okay. And so the scrutiny that
we've been discussing, did it have any material
effects on your employment?

A. Not financially.

Q. Any material effect was my question.

A. I became more, had more anxiety, work
anxiety, performance anxiety in the workplace,
ability to just understand what was required of
me.

Q. Okay. You said no financial
ramifications. Did you get a demotion as a result

of the scrutiny?

A. No.
Q. Any disciplinary action?
A. No.

Q. And I assume this is under the umbrella

of financial, but did you receive a decrease in

benefits?
A. No.
Q. Okay. Now, there is one other

allegation, that you were assigned duties that

could not be completed within the time allotted.

What duties were those?

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1 A. The review of the metrics and getting a

2 plan back to Dr. Cummings in a timely fashion. I

3 was given one day.

4 Q. Okay. Okay. A review of the metrics and
5 getting a plan back, are those two separate events
6 or is that one?

7 A. That's one event.

8 Q. One event. Okay. What other duties were
9 you given? Or assigned, I guess I should say.

10 A. No other duties.

11 Q. Okay. So this assignment to review

12 certain metrics and get a plan back to Dr.

13. Cummings, who assigned that duty?

14 A. Dr. Cummings.

15 Q. Dr. Cummings assigned that duty to you?
16 A. Yes.

17 Q. Okay. When did he assign it?

18 A. On the -- I believe it was the same day

19 in which she came and she was talking over, you

20 know, she came in to my personal space behind my

21 desk.

22 Q. Okay. That would have been January 31st?
23 A. Yes.

24 Q. Does that sound right?

25 A. Uh-huh.

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Q. Okay. And you said that you were given
one day to do it?

A. Yes.

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Q. Okay. How did Dr. Cummings give you that

assignment? Was it by E-mail? Phone?
A. I believe it was by E-mail.
Q. Okay. What were the metrics that you

were asked to review?

A. The outliers in regards to appointment
setting.

Q. What do you mean by outliers?

A. Veterans with needing appointments

greater than 60, 90, anything over 30 days.

Q. Okay. So the outliers would be, I am
trying to sum this up, any veterans whose
appointments went past or needing to be assigned,
scheduled, went past 30 days?

A. Correct.

Q. Okay. So is 30 days kind of when you
guys would want to get the schedule done?

A. Yes.

Q. Okay. Or the scheduling, I should say.
Did this assignment have any material effect on
your employment?

A. No.

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Q. Is it your contention that the assignment
that was made was based on your race?

A. No.

Q. Okay. Is it your contention that it was
made, based for retaliation?

A. Yes.

Q. Okay. Tell me about that.

A. To be given one day to complete a task
that I had already approached them in regards to I
felt that they were trying to start building a
paper trail in regards to my inability to complete
my work task.

Q. Okay. Let's jump down to count one,
looking at Exhibit 14. And that's Page 6. Sorry.
Okay. All right. So for count one you claim
that you were subjected to disparate treatment on
the basis of your race, correct?

A. Yes.

Q. And you base that claim on this idea that
you were treated less favorably than other
similarly situated non African American employees;
right?

A. Yes.

Q. Okay. So which employees do you contend

were similarly situated to you?

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A. None in my unit.
Q. Okay. And by unit do you mean the office
of community care?
A. Yes.
Q. Okay. All right. If you look at

paragraph 31, please,

still on Page 6.

It says:

Plaintiff suffered adverse job actions to

Management,

and there is a subparagraph list here.

And I just kind of want to go through these and

discuss them, but the first one says,

failed to

train plaintiff in the job duties of her new

position.

have been discussing today regarding this failure

to train idea?

Is there anything other than what we

A. (Witness reviews documents). Budget
reports, consult data, tracking and labor mapping.

Q. Budget reports?

A. Consult data, tracking and labor mapping.

Q. Is tracking just a stand along category?

A. It's not a stand along category.

Q. Okay. I am just trying to understand

what you are telling me,
you. So I am just sorry,

A. Budget reports,

that's why I am asking
just tell me again.

I was never trained on

and then these became a part of things that I

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should do after January 24th. The labor mapping I
was never trained on fully. And this become a
part of the thing that was expected of me to do
after January the 4th. Consult data tracking, at
a large scale, I was never trained on, but I was
trained to utilize the consult tracking manager,
which was training that we received outside of,
not from our direct supervisor.

Q. Okay. So from consult data tracking, you
received some training, it was just outside
training?

A. Uh-huh.

Q. Okay. Budget reports, what do you mean
by budget reports?

A. Budget reports in regards to the staffing
model in regards to the number of staff needed for
the number of consults that come through our
department.

Q. And then labor mapping, what's that mean?

A. The amount of employees that we have per
month actually working within their full FTE.

Q. Okay. And so what would you need to do
with regard to labor mapping?

A. Those all then became reasons, or part of

my job, they were already part of my job

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1 descriptions, but I had not been formally trained
2 to do them by Miss Duda, and in the document where
3. I was graded fully successful she states that I

4 relied on the OCT for budget reports, consult data
> tracking and labor mapping. And these are things
6 that she did not train me in.

7 Q. Okay. So Miss Duda completed those

8 things?

9 A. Yes.

10 Q. Okay. And we discussed earlier this time
11 where she sat down and did something on a computer
12 and said this is how you do this thing?

13 A. And later we never got to where you need
14 to do it, but I never got to where I need to do

15 it until I spoke with Dr. Cummings and it was like
16 do this and do this and do this.

17 Q. Okay. My question was going to be, that
18 event, and sitting down and doing it, does that

19 relate all to this labor mapping and budget

20 reports?

21 A. Yes.

22 Q. Okay.

23 MR. THOMAS: What number is that?
24 A. Exhibit Number 22.

25 BY MR. VANORSBY:

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1 Q. So there was at least sometime where Miss
2 Duda sat down regarding budget reports and labor
3. mapping and she did something on the computer and

4 said this is how you do it and that was what you

> got?

6 A. That's all I got.

7 Q. All right. Okay. Anything else?

8 A. Nope.

9 Q. Okay. So going to paragraph 31(b) under

10 complaint, Exhibit 14, it says suffered adverse

11 job action when you were given duties that could
12 not be completed within the time allowed.

13. Anything different than what we already discussed?
14 A. No.

15 Q. Okay. There is Paragraph C, forced

16 plaintiff to work many hours overtime without

17 compensation. Do you understand that the Court

18 has dismissed that claim?

19 MR. THOMAS: Asked and answered.

20 MR. VANORSBY: I haven't asked about this
21 at all.

22 MR. THOMAS: Sorry. I withdraw my

23— objection.

24 A. I am not aware that the Court dismissed

25 this claim.

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BY MR. VANORSBY:

Q. Okay. That's fair.

A. I thought it was to be constructive
discharge that was.

Q. We can come back to that, if we need to,
but we'll allow the court's order to be what it is
but. Paragraph 31(d), I think we talked about
this but I just want to make sure you are not
contending it's something different. It says,
caused her to be constructively discharged. Do
you understand that that claim has been dismissed?

A. That's the only --

MR. THOMAS: That one has been asked and
answered.

BY MR. VANORSBY:

Q. Sure. Go ahead and answer. You can go
ahead and answer.

A. Can you explain what constructively
discharged is?

Q. That's a very hairy area. You brought a
constructive discharge claim. Okay? My question
is, and if it's not your understanding that's
fine, you can say that. But my question is, if
you understand it, that this suffered adverse job

action with management caused you to be

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1 constructively discharged, is it your

2 understanding that that claim has been dismissed?

3 A. Yes.

4 Q. Okay. And then 31(e) says, other events
> as set forth in the statement of facts. Is there

6 anything else, other than what we've already

7 discussed?

8 A. No.

9 Q. All right. Let's go to Page 8, which is
10 your retaliation claim. Page 8 of Exhibit 14.

11 And just let me know when you are there.

12 A. (Witness reviews documents).

13 Q. Are you there?

14 A. I am here.

15 Q. Okay. With regard to your retaliation

16 claim, the first thing I want to ask you about is
17 what is the protected activity that you are

18 alleging you were retaliated for, you were

19 retaliated against for?

20 A. For bringing my complaint to her direct
21 supervisor.

22 Q. Okay. And is that the January 24th,

23 2020, meeting that we discussed earlier?

24 A. Yes.

25 Q. Okay. And I don't know if I asked this

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1 earlier, but who all was present at that meeting

2 on January 24th?

3 A. Myself, Dr. Cummings and Elizabeth Dial.
4 Q. Okay. Did you ever tell Dr. Cummings,

5 yeah, did you ever tell Dr. Cummings that you

6 believed Miss Duda was retaliating against you?

7 A. Yes.
8 Q. Okay. And what did he say?
9 A. That was in the meeting on January 30th,

10 2020, and he reared back in his chair and he said,
11 well, when are you leaving because Miss Duda has
12 an organization to run.

13 Q. Did you send Dr. Cummings an E-mail at
14 some point prior to that meeting, okay, indicating
15 that you believed that Miss Duda was retaliating
16 against you?

17 A. That was the E-mail to Dr. Cummings and
18 Mr. Ament.

19 Q. Okay. Do you recall Dr. Cummings asking
20 you how Ruth Duda would even know what we talked

21 about?

22 A. Yes.

23 Q. Okay. So do you recall that E-mail?
24 A. Yes.

25 Q. Okay. What was your response? If you

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1 know. If you don't, that's okay.

2 A. Because she used the same verbiage that

3 he did, getting out of the weeds.

4 Q. Okay. What was Dr. Cummings' response to

5 that? If you know, if you don't that's okay.

6 A. I don't recall.
7 Q. Okay. That's the one.
8 (THEREUPON, Deposition Exhibit No 24 was

9 marked for identification.)

10 BY MR. VANORSBY:

11 Q. All right. There we go. I have handed
12 the witness Exhibit 24. Have you seen this

13. document before?

14 A. Yes.

15 Q. Okay. And is this the E-mail chain we
16 were just discussing?

17 A. Yes.

18 Q. Okay. What was Mr., Dr. Cummings'

19 response there at the top?

20 A. This says, she met with us on 1-27 of
21 2020 and stated that she needs to back off and get
22 out of the weeds. Was the general theme I

23. discussed/coached without ever mentioning a 1-24
24 meeting or any other discussion.

25 Q. Okay. So this is Dr. Cummings telling

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1 you on January 28th that he didn't discuss the

2 meeting with her, he told her she needed to get

3 out of the weeds, which is something that you

4 wanted, right?

5 A. Correct.

6 Q. Okay. And you don't have any basis to

7 contest what Dr. Cummings was telling you here, do
8 you?

9 A. Like I said, she came back and said the

10 exact same thing that he said to us.

11 Q. Get out of the weeds?
12 A. Yes.
13 Q. Okay. What I am asking is, you don't

14 have any basis to contest what Dr. Cummings is

15 telling you on Exhibit 24, that hey, I didn't

16 discuss the 1-24 meeting, I told her she needs to
17 get out of the weeds and let you -- let you

18 manage?

19 A. As soon as she met with him she came back
20 and started pounding on stuff so.

21 Q. Okay. And you weren't present at the

22 meeting between Dr. Cummings and Miss Duda, right?

23 A. Nope.
24 Q. You don't know what was said?
25 A. Yes, I don't know what was said.

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DASHAUN MCCRAY

1 Q. Okay. Going back to Exhibit 14,

2 paragraph 40. Again, you list some adverse

3 actions that you believe were retaliatory. It's

4 failed to train, looking at 40, sub paragraph a,

° failed to train plaintiff in the job duties of the
6 new position. Tell me how you think that was

7 retaliatory for your January 24th, 2020, meeting?

8 A. Just as I stated, that she then came back
9 and made it a requirement of me to do the things

10 that I hadn't been trained in, which was the

11 budget reports, the labor mapping, the consult

12 tracking data and, but I always had did CTM for

13 consult tracking, but if there was any other

14 consult tracking data, I had not done.

15 Q. Okay.

16 A. No spreadsheets or graphing charts, which
17 now she was saying that I needed to get those

18 completed.

19 Q. Okay. For the --
20 A. It's all right here.
21 Q. Yes, I understand. Okay. So 40(b), it

22 says go pull up the low performance appraisal,
23. that's the appraisal that you are pointing to on
24 Exhibit 22, right?

25 A. Correct.

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Q. Okay. And again, that was a fully
successful performance appraisal?

A. Yes.

Q. And at the time you were not even under
the supervision of Miss Duda?

A. I was under the supervision of Miss Duda
from March until May. And part of the
documentation there states that the fully
successful was based on 4 out of 19 performance
reviews of nurses were late to the rate of 80
percent timely, which is a fully successful.
Actually I was rectified and actually I was only
two performance appraisal reviews that were late.

Q. Okay. But my question was, you weren't
under Miss Duda's supervision at the time this
performance appraisal was issued were you? You
were gone by November 16th of 2020?

A. I was gone.

Q. Yes. That's my question. You weren't
under Miss Duda's supervision?

A. She didn't sign it until November the
16th, but she based it upon March to May.

Q. Okay. So the appraisal was issued
November 16 of 2020; right?

A. Correct.

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Q. And you were not under Miss Duda's
supervision, correct?

A. That's correct.

Q. Okay. 40(c) says, 40, subparagraph c,
Says caused plaintiff to be constructively
discharged. Again, that's been dismissed,
correct?

MR. THOMAS: Asked and answered like
three or four times. She does not know, don't
answer it again.

MR. VANORSBY: Danny, don't start this,
you know that's not proper.

MR. THOMAS: It is proper, if the witness
is being badgered. I can instruct her not to
answer.

MR. VANORSBY: Okay. Are you done? I am
not badgering her.

MR. THOMAS: You are badgering her.

MR. VANORSBY: I am making sure I covered
the complaint. I already said, again, this is my
understanding, but if she has a different
understanding I need to know that because this is
the one time I get to speak with her.

MR. THOMAS: You ask it a number of times.

She's not answering it again. Do not answer the

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DASHAUN MCCRAY

question again.
MR. VANORSBY:

Judge on the line?

Don't --

Do you want to get the

yes or no, do you

want to get the Judge on the line?

MR. THOMAS:
again.
MR. VANORSBY:

Judge on the line.

THE VIDEOGRAPHER:

approximately 2:55 p.m.
record.

(THEREUPON,
taken, after which,

proceedings were held:)

THE VIDEOGRAPHER :

3:01 p.m., we are back
MR. THOMAS:
need an answer to this
time so badly that you
the line;
MR. VANORSBY:
ask?
MR. THOMAS:

now.

MR. VANORSBY:

Appino Biggs,

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at 2:55 p.m.,

3:01 p.m.,

She's not answering it

All right.

We are going off the record.

The time is

We are going off the

a recess was

the following

on the record.
Just so we're clear, you
question for the seventh

want to get the Judge on

is that right?

Is that what you want to

I am not going to answer your questions.

Fine.

All right.

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We'll get the

Time is approximately

We are on your clock
3/24/2023 205

DASHAUN MCCRAY
1 BY MR. VANORSBY :
2 Q. We'll come back to paragraph 40(c), let's

3. talk about sub paragraph (d), says she was
4 disciplined for matters for which other similarly
5 situated white employees were not disciplined.

6 What discipline did you receive?

7 A. No disciplinary action.

8 Q. Okay.

9 A. That I am aware of.

10 Q. And then again, so, 40(e), it says, other

11 events as set forth in Statement of Facts.
12 Anything other than what we have already

13 discussed?

14 MR. THOMAS: Vague. Foundation. Sorry.
15 MR. VANORSBY: That's form.

16 A. No.

17 BY MR. VANORSBY:

18 Q. Okay. I think I forgot to cover this

19 earlier, but who is Heather Bandy?

20 A. Heather Schopf.

21 Q. Okay. You did say that Heather Bandy is
22 now Heather Schopf, right?

23 A. Yes.

24 Q. And what is Miss Schopf's race, if you

25 know?

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DASHAUN MCCRAY
Caucasian.
Q. Okay. Who is Lori Lewis?
about her earlier.
A Caucasian, nurse.
Q. She's a nurse?
A. Uh-huh.
Q. And then Marcia Dickinson,

earlier today?
A Yes.

Q. What was her position?
A Caucasian, MSA.

Q. Okay. MSA,

A Yes.

Q. And what was her race?

A Caucasian.

Q. Okay.
your complaint, okay?
the relief that you're requesting.
are you claiming in this case?

A. Emotional damages,

Q. Anything else?

You talked

did you talk

that was her job position?

What damages

A. Financial damages of maintaining two

separate households.

Q. Anything else?

A. Just overall physical displacement.

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206

So we've gone over allegations in

I kind of want to return to

separation of family.
3/24/2023 207

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DASHAUN MCCRAY

Q. Okay. Are you claiming any, I am sorry,

were you getting ready to say something?

A. No.

Q. Okay. Are you claiming any lost wages?
A. No.

Q. And then so as far as --

A. Well, just a second, like times that I

had to leave for mental health days.

Q. Okay.

A. Of course, that's not documented in VATAS
how many leaves I took in regards to what it was
for, it would have just been sick leave. Those
increased towards the end of my time there.

Q. Are you aware that you actually withdrew
your claim for lost wages?

MR. THOMAS: Objection, calls for a legal
conclusion, misstates the evidence, vague,
foundation.

MR. VANORSBY: It's object to form. I
will note that for the record. Phyllis, can you
mark that, please.

(THEREUPON, Deposition Exhibit No 25 was
marked for identification. )

BY MR. VANORSBY:

Q. Okay. I will hand you what's been marked

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DASHAUN MCCRAY .
as Exhibit 25.

MR. THOMAS: I withdraw my objection.

A. I understand.

MR. THOMAS: I apologize, counsel, I
apologize. I misheard your question. I withdraw
my objection and I apologize.

BY MR. VANORSBY:

Q. So my question was, are you aware that
you withdrew your claim for lost wages?

A. Yep.

Q. Okay. Your answer kind of changed here
based off, I think, I think you may have answered
me, but based off your receipt of this document
that's been marked as Exhibit 25.

A. Yes.

Q. Okay. And what is, is that an E-mail
from your counsel?

A. Yes.

Q. Okay. So we've got emotional damages and

then you said financial damages of maintaining
the, well, let me back up. You said emotional
damages, separation of family. The, when you say
separation of family, is that part of your
emotional damages?

A. Yes.

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DASHAUN MCCRAY

Q. Okay. And then the financial damages you
said maintain two homes?

A. Even with our combined income, we did
well to maintaining that.

Q. Okay.

BY MR. VANORSBY:

Q. Do you need a break?

A. No.

Q. Okay.

A. Maintaining of two homes based on

utilizing our financial, limited financial
resources for me to be living in Colorado and for
him to be living here.

Q. Okay. So maintaining two homes, anything
else regarding like financial damages? I believe
you said one other thing, but I could be
incorrect.

A. No.

Q. Okay. So would it be fair to call the
financial damages, damages related to your
relocation to Colorado?

A. Yes.

Q. Okay. So I will call it, for short,
relocation damages, okay, is that fair?

A. That's fair.

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Q. All right. And is it your contention
that you suffered these relocation damages as the
result of the forced transfer, if you will, to
Colorado?

A. Yes.

Q. Okay. Now, I want to talk a little bit
about the items that you are claiming of damages
for relocation. Just to clear up the record, you
were discussing a combined income with him, and
you said your damages are based on, you living
essentially separate from him, and when you are
saying him who are you referring to?

A. Barshey Bryant.

Q. Okay. Okay. And so tell me what items

are you claiming as damages for these relocation

damages?
A. Household expenses.
Q. And so I will tell you I received an

Excel sheet from your counsel yesterday showing
some costs relating to various household items.
Is that what you're claiming?

A. Yes.

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Q. Okay. So whatever would be in that Excel

A. Yes.

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DASHAUN MCCRAY

1 Q. Did you receive a raise as the result of
2 your transfer to Colorado?

3 A. Yes.

4 Q. Do you know approximately how much that
5 raise was?

6 A. 40 grand.

7 Q. So as a result of your transfer to

8 Colorado you started getting an additional $40,000
9 per year from the VA?

10 A. Yes.

11 Q. What was your salary prior to that, well,
12 that's a bad question. Scratch that. Okay.

13 A. Do you consider the cost of living in

14 Colorado?

15 Q. So I want to ask you about some specific
16 items that were on the Excel sheet. For your

17 items that you have listed under Kansas I saw gas,

18 electric and water bills; is that correct?

19 A. Yes.

20 Q. And in whose name are those bills?
21 A. Barshey Bryant.

22 Q. Okay. So if I understand it, it was

23. probably Mr. Bryant who was using those utilities?
24 A. Yes.

25 Q. Okay. And how much time did you spend in

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Kansas?

A. In the past three years I have been to
Kansas and stayed weeks at a time. So I would
Say approximately two weeks in the winter, two
weeks in the summer and then one week in the
spring.

Q. Okay. So what you are telling me is you
spent approximately five weeks per year in Kansas?
A. Based on the ability of relief, yes.

Q. Okay. And then during the times you
weren't in Kansas it would have been Mr. Bryant
who would have been the one solely using those
utilities?

A. Yes.

Q. Al right. And it is your position that
the VA should be responsible for the use of those

utilities?
A. Rephrase your question.
Q. Yeah, you are claiming damages relating

to those bills, okay? So my question is, are you
contending as a result of this lawsuit that the VA
should be responsible for the use of those
utilities at the home in Kansas?

MR. THOMAS: Vague.

A. It's just put a burden on our life.

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DASHAUN MCCRAY
BY MR. VANORSBY:
Q. Okay. Well, I --
A. Yeah.
Q. -- I understand what you are saying, but

5 my question is, you are claiming that the VA has

6 to reimburse you for those utilities, right?

A. Yes. That's what I am requesting.

Q. Okay. That expense, well, let me, how

9 did you pay the gas, electric and water bills?

A. Via a checking account.
And you paid them directly?
For in Wichita?

Yes. I am sorry. In Kansas.

Who paid them?

Q.

A.

Q.

A. No.
Q.

A. Mr. Bryant.
Q.

Okay. And you guys aren't married,

18 right?

A. No, but we have cohabitated over five

Q. Okay. And Mr. Bryant was the one

22 primarily using the utilities, right?

24

A. Yes.

Q. Okay. And it is your testimony today

25 that if these bills were paid Mr. Bryant paid them

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DASHAUN MCCRAY

directly?

A. Yes.

Q. Okay. Did any money at all come out of
your bank account for these bills?

A. I maintain the cable and the trash.

Q. Okay. I saw on your Excel sheet that
there is a line item for X-Box. Can you tell me
about that.

A. That's his, that was, I think he pulled
those directly from his bank account.

Q. Okay. So did Mr. Barshey actually create
the Excel sheet? Mr. Bryant, I'm sorry.

A. We created the Excel sheet together.

Q. Okay. So he assisted you in creating the
Excel sheet?

A. Yes.

Q. And so it's your testimony today that Mr.
Bryant is the one that included the line items for
X-Box on there, on the Excel sheet?

A. Yes.

Q. Are you contending as a part of this
lawsuit that the VA should be responsible for, let
me back up. Do you play X-Box?

A. My son, so, he does the X-Box Live

through that account.

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Q. Okay. So the X-Box line item is for your
son?

A. Yes.

Q. Okay. And are you contending that the
part of this lawsuit that the VA should pay for
your son's X-Box account?

A. No.

Q. Okay. There is a line item for AT&T.
It's listed for Kansas and Colorado. Can you tell
me what that item is for?

A. It was for our Internet in Kansas and our

mobile device.

Q. Okay. And you said our, who would you --
A. The home at 220 --
Q. Sorry, my question is going to be a

little bit different. Who would you be referring
to with regard to mobile?

A. My son and I.

Q. And as far as mobile goes, that would be
an expense you were going to incur no matter where
you lived, right?

A. Yes.

Q. Okay. And then Internet, is that for
your house in Kansas and for Colorado, right?

A. Yes.

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DASHAUN MCCRAY

Q. Okay. And is it your contention in this
lawsuit that the VA is responsible for both Kansas
and Colorado or one or the other? I just want to
make sure I understand correctly.

A. Primarily Colorado.

Q. Okay. You said primarily, I want to make
sure we are getting a clear --

A. Colorado.

Q. Okay. All right. And then there's a
line item for Vivint, which I understand to be a
security system.

A. Uh-huh.

Q. Can you tell me about that? Let me ask a
better question. At which location, Kansas or
Colorado, did you have a Vivint security system?

A. Kansas.

Q. Okay. Whose name, in whose name is the
Vivint security system?

A. Barshey Bryant.

Q. Okay. Is it your contention as a part of
this case that the VA is responsible for paying
the bill for the Vivint?

A. No.

Q. I also noticed a line item for Netflix.

Are you contending that the VA is responsible for

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DASHAUN MCCRAY

the Netflix bill?

A. It's used in Kansas and Colorado.

Q. Okay.

A. But, no.

Q. Okay. Trash. There is some items listed

for Waste Connections, I know Waste Connections is
available here in Kansas and in Colorado, so I was

wondering for that item, is it both or just

Kansas?
A. Just Kansas.
Q. Okay. In whose name is the trash Waste

Connections in?

A. It was in mine for the last three years.

Q. Okay. Is it --

A. Today it's not.

Q. Okay. When did it go out of your name?

A. Just in February of this year because
I've changed checking accounts.

Q. Okay. And are you contending in this
case that the VA's responsible for the trash at
the Kansas address?

A. It's an expense of mine, yes.

Q. Okay. And the person primarily using the
trash, again, would have been Mr. Bryant?

A. Yes.

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Q.

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DASHAUN MCCRAY

There is also a line item for Direct TV.

Is that Kansas or Colorado?

account?
A.

when.

Q.

Kansas.

Whose name is the Direct TV account?
Mine.

Is that account still running?

No.

When did it, when did you get rid of that

Probably early 2022, I can't say exactly

Now, are you contending as a part of this

lawsuit that the VA is responsible for your Direct

TV bill?
A.
Q.
A.
Q.

ComCast,
A.
Q.
A.

Q.

Yes, I have maintained cable.
You had to maintain --

Well, I have it at both locations.
Okay. And that was the next item I saw
is that what you have in Colorado?

Yes.

I assume that account is in your name?
Yes.

Is Mr. Bryant sharing any expenses

related to your Colorado home?

A.

Related to my Colorado home he assists me

Appine Biggs ex,

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DASHAUN MCCRAY

1 in my house note.

2 Q. Okay. So he pays part of your mortgage?
3 A. Yes.
4 Q. How does he do that? Does he send you

> money?

6 A. He sends me money periodically at times.
7 So it's like, you know, instead of sending it like
8 each month he like sends me anywhere from like

9 2,000, just depends on the needs.

10 Q. And does he do that by direct transfer?
11 Or how does he do that?

12 A. Either Cash App or when I am here

13. locally.

14 Q. Okay. So Cash App or he might give you
15 cash?

16 A. Yes.

17 MR. THOMAS: Hold on one second. Are you

19 THE WITNESS: Yes.
20 MR. THOMAS: Do you need a break? Do you

21 need to eat anything?

22 A. I am fine.

23 MR. THOMAS: Are you sure?
24 A. I am sure.

25 BY MR. VANORSBY:

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DASHAUN MCCRAY

Q. Okay. All right. And then I see several
items for rent and for mortgage, right?

A. I rented from 6-2020 to 6 of 2021.

Q. Okay. And to this date you're still
continuing to draw a salary from the VA; correct?

A. Yes.

Q. And it would be fair to say that your
salary it's meant to cover these every day
expenses that we've been talking about, like the
trash, the water, utilities, mortgage, right?

A. Yes.

Q. Okay. There is something on the Excel
sheet regarding furniture. Can you tell me about
that.

A. I had to purchase furniture when I first
moved to Colorado. That created financial, you
know, I had to, you know, furnish beds and.

Q. Okay. And are you contending in this
case that the VA is responsible for paying for
your furniture?

A. No.

Q. Okay.

MR. VANORSBY: We are going to get in to
another topic here. So let's just take a quick

break. I need to use the restroom. Let's take

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five minutes.

THE VIDEOGRAPHER: Standby. The time is
approximately 3:25 p.m. We are going off the
record.

(THEREUPON, at 3:25 p.m., a recess was
taken, after which, 3:38 p.m., the following
proceedings were held:)

THE VIDEOGRAPHER: Time is approximately
3:38 p.m. We are back on the record.

(THEREUPON, Deposition Exhibit No 26 was
marked for identification.)

BY MR. VANORSBY:

Q. I am handing the witness Exhibit 26.
Miss McCray, have you seen this document Exhibit
26 before?

A. Yes.

Q. Okay. What is it?

A. It is my notice of Personnel Action from
when I transferred from Robert J. Dole VA Medical
Center.

Q. Okay. And we kind of touched on this
earlier, but does it reflect that you received
approximately a $40,000 raise when you were
promoted to your position in Aurora, Colorado?

A. Yes.

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Q. Just for the sake of clarity, it actually
Says Atlanta, Georgia. Is your office based out
of Atlanta, Georgia?

A. It's based out of Washington, D.C.

Q. Okay. Do you know why it shows Atlanta,
Georgia? It is okay if you don't.

A. I don't.

Q. Okay.

(THEREUPON, Deposition Exhibit No 27 was
marked for identification.)

BY MR. VANORSBY:

Q. We are going to talk about the emotional
stress damages now, okay? I am going to hand you
what has been marked as Exhibit 27. Have you seen
that document before?

A. (Witness reviews documents). Yes.

Q. What is it?

A. It is the Plaintiff's Amended Answers to
Defendant's First Set of Interrogatories to
Plaintiff.

Q. I want you to go to Page 4, please.

A. (Witness complies).

Q. Okay. On your supplemental answer I want
you to read the first --

MR. THOMAS: Let me mute that. I am

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sorry.

BY MR. VANORSBY:

Q. -- the first sentence on Page 4.

A. Plaintiff is hereby withdrawing claims
for emotional distress except for --

Q. Can I stop you, I am sorry, I meant on
your supplemental answer, sorry to interrupt, the
first set of supplemental answer.

A. Yes. First and foremost, I did not
intend to withdraw my claim for emotional distress
as set forth above.

Q. Okay. And so my question is going to be
it says you did not intend to withdraw your
claims. My question is going to be with regard to
your original answer where you say, plaintiff is
hereby withdrawing the claims for emotional
distress, except for garden variety emotional
distress. What did you intend by that sentence?

MR. THOMAS: Hold on one second. To the
extent it requires you to disclose conversations
you had with Miss Randles, or your attorneys, you
are instructed not to answer. Do you understand?

A. Understood.

BY MR. VANORSBY:

Q. Okay. What did you intend by that

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sentence that you are hereby withdrawing claims
for emotional distress except for the garden
variety?

MR. THOMAS: Vague. I apologize,
counsel. Vague and foundation. And calls fora
legal conclusion. Go ahead.

MR. VANORSBY: Object to form.

A. My reaction was just even when I see a
person that you know has the stature of Ruth it
causes me to have physical anxiety. It has, it
puts a feeling on me of just actual fear. I
mean, my heart races and I just get highly
emotional regarding just being, I really have a
like a hard time just dealing with people outside
of our race, as no women in my workforce at all.

BY MR. VANORSBY :

Q. Okay. Okay. Well, my question was, I
want to understand what you intended when you
wrote, plaintiff is hereby withdrawing claims for
emotional distress except for garden variety
emotional distress.

MR. THOMAS: Vague, foundation, calls for
a legal conclusion.

MR. VANORSBY: Objection is form.

A. There's a lot of things that I reflect

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1 and react to in regards to just the things that

2 went on in my workplace and how I had to deal

3. with them and cover them up so that the staff

4 wouldn't know what I was going through. So.

5 BY MR. VANORSBY:

6 Q. Okay. And I am sorry to keep asking

7 this, but I feel like we are kind of not

8 understanding each other, okay? And we're going

9 to get to how the work environment affected you,
10 and those types of things; but my question is a

11 little bit more specific just to this document in
12 that I want to understand, as far as your original
13 answer what you meant by you are hereby

14 withdrawing claims for emotional distress except
15 for garden variety of emotional distress. Because
16 in the subsequent answer you said you didn't

17 intend to withdraw, and I want to understand what
18 you meant by when you say I hereby withdraw.

19 MR. THOMAS: And again, I admonish you
20 not to discuss anything that you discussed with

21 your attorneys. Do you understand?

22 A. Understood.

23 MR. THOMAS: Object, vague, foundation.
24 MR. VANORSBY: That's object to form.
25 A. I am not clear on the answer.

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1 BY MR. VANORSBY:
2 Q. Okay. So you are not sure what you
3. intended?
4 A. Correct.
2 Q. Okay. And then you go on in your

6 supplemental answer, as defendant is aware, the

7 above response was due to a miscommunication.

8 What was that miscommunication?

9 A. Initially, I didn't want to release my
10 personal health information.

11 Q. And because you didn't want to release
12 your personal health information, is the reason

13. why you gave your answer that you are hereby

14 withdrawing claims?

15 A. Correct.

16 Q. Okay. And so help me understand what the
17 miscommunication was.

18 A. I was informed by my attorney that I did
19 not want to release my personal health

20 information, and I was not wanting to give my

21 personal health information is being released.

22 Why can't we get the personal health information
23 of the defendant?

24 Q. Okay. And by defendant do you mean Ruth

25 Duda?

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1 A. Yes.

2 Q. Because the defendant in this case is

3. Denis McDonough.

4 A. Yeah.

5 Q. I don't think I could get his records.

6 Okay. It also says that defense counsel is made

7 aware that the above response, and we are

8 referring to your supplemental answer, the above

9 response was provided by mistake. What was the

10 mistake?

ii MR. THOMAS: Again, do not discuss

12 anything you discussed with counsel. If you can't
13 answer without disclosing attorney/client

14 privilege then say so.

15 A. I can't answer this.

16 MR. VANORSBY: Well, it is my position
17 that she waived by providing this answer, I am

18 entitled to ask what the mistake was if you're

19 going offer this. Because this is a lot of issues
20 that I'm going to take up at pretrial, so we can
21 add that to something we can discuss with the

22 Judge. Unless you are going to allow me to ask

23. this one question about what the mistake was.

24 MR. THOMAS: No.

25 MR. VANORSBY: All right. We'll talk to

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1 the Judge about that.

2 BY MR. VANORSBY:

3 Q. Okay. There is mention of a January 18th
4 2023, phone call between your attorney, Danny

5 Thomas and myself. Is that correct. In your

6 supplemental answer?

7 A. Yes.

8 Q. Would it surprise you to learn that Mr.

9 Thomas and I did not have a conversation on

10 January 18th?

11 MR. THOMAS: Form. Foundation. If I got
12 the date wrong, then whatever. Form foundation.

13. Answer it if you can.

14 A. I am not aware.
15 BY MR. VANORSBY :
16 Q. Okay. Would it surprise you to learn

17 that it was myself who sent the letter to your

18 counsel on January 18th regarding these double

19 responses?

20 A. I am not aware.

21 Q. Okay. Were you provided the full E-mail
22 between myself and, well, okay, let me tee this

23 up. There is discussion of you being provided an
24 E-mail from myself dated January 23rd, 2023; is

25 that correct?

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1 A. I don't remember seeing an E-mail.
2 Q. Okay. You don't recall ever seeing the

3. E-mail that I sent regarding any phone call with
4 myself and Mr. Thomas?

5 MR. THOMAS: Do not answer. Do not

6 answer.

7 MR. VANORSBY: What's the basis for you
8 instructing this witness not to answer, Mr.

9 Thomas?

10 MR. THOMAS: Do not answer about anything
11 I may have sent you or may not have sent you as
12 it invades attorney/client privilege. Actually,
13. go ahead and answer that.

14 MR. VANORSBY: Can you repeat the

15 question, please?

16 (THEREUPON, at this time in the

17 proceedings the Reporter read back this requested
18 portion of the transcript:)

19 (Q. Okay. You don't recall seeing the E-
20 mail that I sent regarding any phone call with

21 myself and Mr. Thomas?)

22 MR. VANORSBY: Let me reask it, if I

23, asked it that way.

24 BY MR. VANORSBY:

25 Q. You don't recall ever seeing an E-mail

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between myself and Mr. Thomas?

A. Not before today.

Q. It also says, your supplemental answer
goes on to say, my attorneys have informed me that
they have repeated this message via E-mail and via
telephone several times to defense counsel since
January 18th, 2023, up to the date of the signing
of this document. Do you see that?

A. Yes.

Q. Okay. How many times, if you know, was
that message conveyed by E-mail?

A. I am not able to answer.

Q. Okay. Were you ever provided any of
those E-mails?

A. I don't recall.

Q. Okay. Let's talk about phone calls. How
many phone calls?

A. I don't recall. Phone calls between who?

Q. That's a good point. Phone calls between
myself and your counsel regarding this topic.

A. I don't recall.

Q. Okay. Do you know the dates of those
phone calls?

A. I don't recall.

Q. Were you provided any E-mails,

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1 confirmation of those phone calls?

2 A. No.

3 Q. Okay. So what are the claims that you
4 are reasserting, or never withdrew, that are

5 outside of this, quote-unquote, garden variety of
6 emotional distress?

7 MR. THOMAS: Objection. Vague,

8 foundation, calls for legal conclusion.

9 MR. VANORSBY: Objection is form again.

10 A. I am unable to answer.

11 BY MR. VANORSBY:

12 Q. Okay. You just don't know at this time?
13 A. No.

14 Q. Let's look at your complaint for just a

15 second, okay? Exhibit 14. And we can stay on

16 the retaliation page because this paragraph is

17 repeated throughout, but if you look at paragraph
18 42 it states on Page 8 it states, as a direct and
19 proximate result of the conduct of the defendants
20 and the conduct of the supervisors and managers,
21 the plaintiff suffered grievous injury and damage,
22 including but not limited to past, present,

23. future, lost wages. We already talked about that.
24 Benefits, what damage did you incur for benefits?

25 A. I do not recall.

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Q. Okay. And as we've kind of discussed
throughout, you never received a reduction in your
benefits, right?

A. No.

Q. Okay. The next item says, earning and
earning capacity. Is that any different than your
lost wages?

A. No.

Q. I am going to read some of these, but I'm
going to skip over them, okay? Mental anguish,
pain, humiliation, embarrassment, depression,
anxiety, anger, physical manifestations of
emotional distress. Can you tell me about that?

A. Through the physical manifestations of
the emotional distress, as I was stating before
when I even just come in contact with a person
like if I see somebody from behind that even fits
her stature or hair color, I mean I get very, my
heart races and I have like just complete
flushness and just, I mean, don't want to, it
might be her. I don't want to actually come in
contact with this person ever again in my life.

Q. Okay. So and I will try to wrap that up
into like a bite-size piece here. But what you're

Saying is you're scared to see her?

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1 A. Yes.
2 Q. Okay. And that's your physical
3 manifestation?
4 A. Yes.
S Q. Okay. Is there anything else?
6 A. Thinking of what I went through is, you

7 know, gives me immediate like pressure, headache,
8 it brings on migraines, just going through this

9 process right now, brings on headaches and just

10 started to review the information again just has
11 really had me in an area of emotional distress.

12 Q. Okay. Physical injury is the next item.
13 What physical injury have you suffered?

14 A. I don't recall a physical injury.

15 Q. Okay. Have you seen any physician or

16 therapist at all, let me scratch that first part
17 of the question. Have you described this physical
18 manifestation, emotional distress to any doctor,

19 therapist, physician at all?

20 A. Yes.
21 Q. Okay. Which ones?
22 A. In January of 2019 I actually went to

23. therapy with EAP, New Perspectives here in
24 Wichita, Kansas. And I informed the counselor

25 that I needed to just discuss my acceptance of the

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role, knowing how my interaction is with my new,
well, with my current boss who would still be my
Supervisor. I didn't want to go in to a position
with a chip on my shoulder, I wanted to really
give a new opportunity just to be able to work
with this person.

Q. Okay. Now, you said EAP and New
Perspectives, is that the same or are they two
different?

A. It's an employee assistance program, but
New Perspectives is the company that's contracted
with Right Choice.

Q. Okay. So you went through EAP to go to
New Perspectives?

A. Yes.

Q. Okay. And you said you went in January
of 2019, right?

A. Before returning to work in my new role,
yes.

Q. Okay. And it is your testimony under
oath that at that time in January of 2019 you
informed this therapist of these alleged physical
manifestations or emotional distress?

A. Yes.

Q. Okay.

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A.

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And later in my continued seeing her my

Lexapro has increased to 20 milligrams.

Q.
increased
A.
Q.
are tying
A.
Q.

mentioned

Okay. And you are saying that was
after January of 2019?

Yes.

And you are alleging it sounds like you

that to your work?

Yes. Job stress, anxiety.
Just to make sure I close this out, you
EAP New Perspectives January 2019, is

you described these physical manifestations to?

A.

Meyer or Dr.

Q.

at it this way.

With my current therapist.
And who is that?

Gratia Meyer.

235

_there any other physician or therapist at all that

Okay. Anyone else?
No.
Okay. And when did you start seeing Miss

Meyer?

I started seeing Dr. Meyer in November of

And you still currently see her?
Yes.
So in Exhibit 27,

All right. let me go

From my understandings you had a

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psychological evaluation done in October of
Who performed that evaluation?
A. Department of Veteran Affairs.
: Okay. And who was the doctor?

I don't recall.

2015.

236

Q

A

Q. Okay. But you had it done at the VA?

A Yes.

Q. Was that here in Wichita?

A Yes.

Q. For what reason did you have that
evaluation?

A. For depression.

Q. Okay. And was that evaluation done prior

to your ever starting work for the VA?
A. Yes.
Q. Okay. Was it something that the

evaluation was ordered by a physician or did you

just personally go in there and say I need an

evaluation?

A. It was a compensation and pension claim.

. I'm sorry, say that again.

Compensation and pension claim.

Q

A

Q. Tell me what that means.
A It's a VA disability.

Q

: Okay. So you went in to have a

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psychological evaluation done in order to get a

disability rating?

A. Yes.

Q. Okay. Do you have a current disability
rating?

A. Yes.

. Okay. What is that?

Q
A. My rating?
Q. Yes.

A

70 percent service-connected veteran.

Q. Okay. Is that rating related to your

depression?

A. Depression, yes.

Q. Okay. So you have service-connected
depression?

A. Yes.

Q. Okay.

A. From racial discrimination in active

duty. And other things.

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Q. Okay. So it's your testimony today that

you suffered some racial discrimination while you
were active duty?
A. Yes.

Q. Can you tell me about that, generally?

A. Generally, providing work while on active

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duty and other staff member being given the
recognition of the work that I had got completed
and dealing with just being a woman in the
military and seeing the difference between myself
and Caucasian women in regards to exercises and
who has put on certain shifts, yes.

Q. Okay. And so did you receive some
clinical diagnosis of depression as a result of a
racial discrimination that you incurred in active
duty?

A. I received major depressive disorder from
that evaluation, a diagnosis of major depressive
disorder.

Q. Okay. So you received that diagnosis
major depressive disorder in October of 2015?

Yes.

Q. Okay. And I will tell you we don't have
those records, but I will try to work with your
counsel to get some releases to try to figure out
who that doctor was and get those records.

A. Well, you have that information, so.

Q. I don't know who the doctor is, I
wouldn't be able to tell you, and I don't have
access to any of that stuff. So we'll try to get

that figured out.

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MR. THOMAS: We'll try to work with you.

BY MR. VANORSBY:

Q. Okay. All right. So we are going to
kind of get in to your medical records, I know
this is going to be a difficult conversation, I
just want you to know I am not trying to upset
you. I don't want to diminish your feelings. I
don't want you to feel that way or cause you any
trauma. If you need a break at any point, please
let me know, okay?

A. Okay.

Q. All right. We've discussed the 2015
psychological evaluation, right?

A. Yes.

Q. At any point in your life have you
received any other psychological evaluation?

A. Recently.

Q. Okay. What date?

A February of 2023.

Q. And who performed that evaluation?

A QTC.

Q. QTC?

A. They're another company for compensation
and pension Department of Veteran Affairs.

Q. Okay. I know who QTC is because I have

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some other cases that involves that. That's the
only reason I know that. Okay. Who was the
doctor that performed the evaluation?

A. I don't recall her name right now.

Q. Okay. Where was it performed? Do you
know? And by where I mean the physical location?

A. Aurora, Colorado.

Q. Okay. What were the results of that
psychological? Well, let me ask you this, why did
you go for psychological evaluation in February of
2023?

A. Continuing to work on my compensation and
pension claim with the Department of Veteran
Affairs.

Q. Oh, okay. I see. So you were looking to
get an increase to your disability rating?

A. Yes.

Q. Okay. And what was the result of that

psychological evaluation?

A. Disability rating increase.
Q. Okay. So you did get an increase?
A. Yes.

Q. I don't know how to, if I asked you
earlier, but you said that your disability rating

is 70 percent, is it currently 70 percent?

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A. Yes.

Q. Okay. What was it prior to February of

A. Ten percent.

Q. Oh, okay. Okay. Other than the February
of 2023 evaluation, have you ever had any other
psychological evaluation by a doctor or therapist?

A. Like just active treatment?

Q. Well, active treatment or you just
reported there because you thought maybe I need to
have some depression screening or anything like
that.

A. I started active treatment with the
Department of Veteran Affairs for depression and
anxiety in October of 2021.

Q. Okay. Anything prior to October of 2021?

A. Nothing other than EAP.

Q. Okay. We touched on this a little bit,
but have you been diagnosed with any mental health
disorders? I say that kind of weird, but the
phrase for depression is my understanding.

MR. THOMAS: Vague, foundation.
BY MR. VANORSBY:
Q. So I don't mean like -- you gave me that

look that my mom sometimes gives me -- I don't

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mean schizophrenia, those types of things. I have

a general understanding of your medical history,
but we are making a record. My question is, have
you previously been diagnosed with any other
mental health disorders?
MR. THOMAS: Form. Foundation.

A. Post traumatic stress disorder. Major
depressive disorder.

BY MR. VANORSBY:
Q. Anything else?
A. Anxiety.
Q. Okay. Anything else?
A. No.

Q. Okay. With respect to your PTSD
diagnosis, when did you receive that diagnosis?

A. The actual diagnosis was in November of
2021.

Q. And who was the doctor who made that

diagnosis?

A. Well, I was seen by a social work
therapist.

Q. I am sorry? Say again.

A. Social work therapist Dayna Scheich at

the Aurora, Colorado VA medical center.

Q. Okay. Can you spell Dayna Scheich for

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me? If you can.

A I don't know how to spell it.

Q. Is she listed on here?

A. Yeah.

Q. D-A-Y-N-A, S-C-H-E-I-C-H?

A Yes.

Q. Okay. Was there a determination as to

the causation of your PTSD, if you know? And by
that I mean, did Miss Scheich, it looks like
sheesh, make a determination as to causation?

A. Military sexual trauma.

Q. Was there, with regard to your major

depressive disorder, when did you receive that

diagnosis?
A. October of 2015 on that evaluation.
Q. Okay. At any point prior to receiving

this diagnosis of major depressive disorder were
you diagnosed with depression?
Yes.
Q. When did that occur?
A. 2010. Actually 2000.
Q. Okay. 2000. And that was the first

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time, and I say first time, but that was the first

time you were diagnosed with depression?

A. Yes. 2000. It was while I was on active

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duty.

Q. And then for your anxiety when were you
diagnosed with anxiety?

A. 2010.

Q. What are some of the, the symptoms that
you have from this disorder of your PTSD,

depressive disorder and your anxiety?

A. Migraine headaches. Heart palpitations
and just racing heart rate. Social anxiety
disorder.

Q. Anything else?

A. Just my depression.
Q. Okay. Have you reported symptoms of
anger?

On occasion.
: Persistent worry?

Yes.

A
Q
A
Q. Excessive crying?
A Yes.

Q

: A feeling like people were out to get

you?

A. Yes.

Q. Okay. Have you also -- I am sorry, go
ahead.

A. No, I need your question.

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1 Q. Okay. Have you also reported past issues
2 with substance abuse?

3 A. Alcohol.

4 Q. Okay. And when did that occur? Or when
5 did that start, I should say.

6 A. .1997, but it's intermittent.

7 Q. Okay. Do you continue to struggle with
8 substance abuse? Let me change that. Do you

9 continue to struggle with alcohol?

10 A. At stressful periods.

11 Q. Okay. Have you reported that you had a
12 gambling addiction?

13 A. Yes.

14 Q. And when did that start?

15 A. 2007.

16 Q. Can you explain to me, if you can, what

17 was going on in your life in 2007 that led toa

18 gambling addiction?

19 A. I was pregnant with my second child and I
20 think I just had some postpartum depression and I
21 just gambling was like a way out. But I stopped

22 gambling because it was non conducive to my

23 lifestyle.

24 Q. What do you mean by non conducive to your

25 life style?

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A. I prefer to be able to spend my hard
earned money on things that I value for myself and
my family.

Q. Okay. You mentioned postpartum
depression, have you ever been diagnosed with
postpartum depression?

A. Not an official diagnosis.

Q. Okay. Did you report to Dr. Meyer that
you were diagnosed with severe postpartum
depression?

A. I reported to Dr. Meyer that based on my
mental status during both pregnancies I believe
that I had postpartum depression.

Q. Okay. So you didn't have a formal
diagnosis, it's just your belief that that's what
happened?

A. Yes.

Q. Okay. Would it be fair to say that your
depression, well, let me be more precise.

Your PTSD, your major depressive disorder,
your anxiety those were caused by trauma that you
suffered while you were a child and while you were
in the military?

A. No childhood trauma.

Q. Okay. So are you saying today that you

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1 didn't suffer a traumatic event while you, or a

2 series of events while you were under the age of

3 ten?
4 A. Under the age of ten, it wasn't inflicted
5 trauma. It was a Situation of cousins and

6 exploratory things.

7 Q. Okay. Did you report to, let me ask you
8 this question. Who was the doctor you saw at New
9 Perspectives?

10 A. The counselor I saw at New Perspectives,
11 I can't remember her name.

12 Q. Okay. Did you report to the counselor at
13. New Perspectives that you were molested by your

14 cousins from the age of seven to ten?

15 A. Yes.

16 Q. And did you report that that was sort of
17 a source of your depression or your anxiety?

18 A. Yes.

19 Q. And so my question was, and if I am

20 getting this wrong just explain to me, but I am

21 wondering is it fair to say that the disorders

22 that we are talking about, the PTSD, major

23. depressive disorder, the anxiety, is it fair to

24 say that those were caused by the event we just

25 discussed, and then you mentioned your military

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1 sexual trauma.

2 A. That and the experiences of racism while
3 on active duty, and just workplace anxiety from,

4 you know, my past with my employer that I had

5 prior to the one of this new position.

6 Q. Okay. And so your diagnosis, at least of
7 your major depressive disorder and your anxiety,

8 those were made prior to your employment at the

9 VA, right?

10 A. Yes.

11 Q. Okay. You mentioned that you were a

12 victim of military sexual trauma. Were you

13. diagnosed with depression at the time that that

14 occurred?

15 A. I was diagnosed with depression in 2000.
16 Q. Okay.
17 A. I didn't report the military sexual

18 trauma, that happened in 1997.
19 Q. Okay. So the MST, is it okay if I use

20 that term?

21 A. That's fine.

22 Q. The MST occurred in 1997?

23 A. Yes.

24 Q. Okay. And you were not diagnosed with

25 depression until 2000, is that right?

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A. Yes.

Q. Okay. Was there any determination at
that time as to causation for your depressive
state?

A. They stated that it was episodic. And I
just went along with it and didn't say nothing.

Q. By your statement I take it that you
disagreed with that?

A. Yes. The military psychiatrist stated it
was an episodic event.

Q. What episode triggered this depressive
state?

A. I am not sure exactly what triggered the
depressive state, but I ended up with a
hospitalization.

Q. Okay. And the reason I ask that is
because when you say episodic to me that means
there is an episode that.

A. Because they put me on medication and the
medication made me not well. So based on me not
wanting to take the medication I just didn't go
back for care.

Q. Okay. So we kind of discussed generally
your psychological background, now I want to get a

little more specific and talk about the records

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that I do have. We discussed the New
Perspectives, right?

A. Yes.

Q. That's someone you went to see for
depression, right?

A. Yes.

Q. Okay. Do you recall going to see the,
well, do you recall going to see the counselor at
New Perspectives in early 2019?

A. Yes.

Q. Okay. That would be January 23rd, 2019,
does that sound right?

A. Yes.

MR. THOMAS: I just need to stand.

BY MR. VANORSBY:

250

Q. Do you recall reporting to the counselor

that you were struggling at that time with
depression/anxiety?
A. Yes.

Q. Do you also recall reporting to the

counselor that you were recently promoted to nurse

manager and that you love your job?
A. Yes.
Q. And you were working for Miss Duda at

that time, correct?

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A. I was recently promoted to nurse manager,

I love my job, I have conflict with my supervisor
and I do not want to go in to this position with
a chip on my shoulder.

Q. Okay. Is there any reason why the
discussion about your supervisor is not reflected

in the records, that you know of?

A. I am sure they are reflected somewhere in

the records.
Q. Okay.

A. I also went back to New Perspectives in

Q. Okay. I want to talk to you about a
visit you had to New Perspectives in February of
2019. Do you recall reporting at that time that
you were struggling with anxiety and anger?

A. Yes.

Q. Okay. And part of the reason that you
were struggling with the anxiety and that anger
is that you had found some documents regarding
your --

Significant other, yes.

A.
Q. And was that Mr. Barshey?
A. Yes, Mr. Bryant.

Q.

Mr. Bryant?

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1 A. Uh-huh.
2 Q. What did you find?
3 A. Some previous history in regards toa

4 case in which he had against him.

5 Q. What was the case?

6 A I know he is a registered sex offender.
7 Q. That's what you determined or found out?
8 A Right.

9 Q. And had Mr. Bryant told you that

10 information before?

11 A. No.

12 Q. And so given your history of that, did
13. that bother you?

14 A. I was so far in to a relationship with
15 him and none of those things are, were apparent in
16 our life, and so that's why I was really trying to
17 just figure out what I was able to cope with.

18 Q. Okay. So that had an affect on your

19 depressive state, would that be fair to say?

20 A. We were, because we had went through kind

21 of a big emotional blowup behind it, yes.

22 Q. Did that have an affect on your anxiety?
23 A. At that time, yes.

24 Q. And made you angry?

25 A. Yes.

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1 Q. Okay. And that's what you went to talk
2 to your counselor about?

3 A. At that time.

4 Q. Yeah. I want to take a quick break and
> we are going to talk about the records I received
6 from Dr. Ferris in just a moment, okay?

7 A. Okay.

8 THE VIDEOGRAPHER: Standby. The time is
9 approximately 4:29. We are going off the record.
10 (THEREUPON, at 4:29 p.m., a recess was
11 taken, after which, 4:39 p.m., the following

12 proceedings were held:)

13 THE VIDEOGRAPHER: Time is approximately
14 4:39 p.m. We are back on the record.

15 BY MR. VANORSBY:

16 Q. Miss McCray, I'm going to hand you what
17 has been marked as Exhibit 28.

18 (THEREUPON, Deposition Exhibit No 28 was

19 marked for identification.)

20 BY MR. VANORSBY:
21 Q. Do you know what that is?
22 A. Medical records from my primary care

24 Q. Have you seen them before?

25 A. Yes.

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Okay. When was the last
Oh, probably a few years

Okay. Have you reviewed

S° point in the last two years?

4 Q.
6 A.
7 Q.

8 all of this,
9 but you are flipping through the invoices,

10 to ask you,

Probably in April of
Okay. And we don't have

we don't have time to

those invoices,

"21.

254

time you seen

ago.

them at any

to go through
do that anyway,

I want

can you tell me which

11 one you are claiming as damages in this lawsuit,

12 which invoices?

13 A.

14 to,

15 was there.

17 invoices is that,

16 Q.
18 A.
19 Q.

20 of those,

(Witness reviews documents).

To 2-20-2020.
Okay.
can you tell me?
Four.
Okay.
let's do it this way.

21 the 2-13-2019 invoice.

22 A.
23 Q.

24 doctor's office,

25 A.

Uh-huh.

Each one of those,

For those four invoices,

2-13-2019

I am not even sure when my last appointment

how many

how many

Let's start with

For what were you seeing him at the

with Dr. Ferris?

Major depressive disorder,

Appme Biggs.

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symptomatic postprocedural ovarian failure.
Q. What's the next invoice?
A. Major depressive disorder, type 2

diabetes, vitamin D deficiency, conjunctivitis,

right eye.
Q. What's the date for that?
A. 7-2-2019.
Q. And what's the next invoice?
A. 9-30-2019. That was just my wellness

evaluation, but I mean that includes all of my
diagnosis, but all he says is preventive medicine,
established patient age 40 to 64.

Q. Okay. So it's your contention in this
case that the VA should be responsible to pay for
the wellness evaluation?

A. Yes.

Q. Okay. And not just because you are a
veteran and you received veteran benefits but
specifically because --

A. I didn't receive veteran benefits at this
time.

Q. Okay. That's good enough. But just to
finish my question, you are claiming that the VA's
responsible for this invoice because of the events

alleged in this complaint?

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A. Yes.

Q. What is the next invoice, the date of the
next invoice?

A. 2-20-2020.

Q. And what were you seeing at the doctor
for on February 20, 2020?

A. Type 2 Diabetes, mellitus, acute
nasopharyngitis.

Q. Okay. And it's your contention that the
VA is responsible to reimburse you for that
doctor's visit?

A. Yes.

Q. Okay. Why?

A. All of my visits have also dealt with my
major depressive disorder.

Q. Okay. Even if it's not listed, I guess?

A. Even if it's not listed as a reason why I
am there.

Q. Okay. Can you turn to Page 42. It
should be after the November 7th, 2018.

A. (Witness complies). Uh-huh.

Q. There is a mention of spinal surgery.
Can you tell me what that is about? If you know.

A. (Witness reviews documents).

Q. Appointment with the spinal surgeon.

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1 A. Yes, I made that appointment with the

2 spinal surgeon due to the pain that I was having

3. in my neck, but that appointment was cancelled and
4 I had to go to see the shoulder orthopedic

5 surgeon.

6 Q. Okay. All right. So this November 7th,
7 2018, appointment is for arm pain?

8 A. Yes.

9 Q. And that's related to what we now know is
10 a rotator cuff repair that you needed?

11 A. Yes.

12 Q. Did you report that the pain associated
13° with that injury had an affect on your anxiety?

14 A. No.

15 Q. Okay. So you didn't state to the doctor
1¢é that the pain associated with that shoulder injury
17 was increasing your anxiety?

18 A. That's what it says right here, but I

19 don't recall reflecting that.

20 Q. Okay. Do you have any reason to deny

21 that you reported that?

22 A. I don't have a reason to deny.

23 Q. Okay. Can you go to Page 36, please.
24 A. (Witness complies).

25 MR. THOMAS: 36°?

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MR. VANORSBY: That's correct.
BY MR. VANORSBY:
Q. And do you see an entry for December 19,
2018?
A. Uh-huh.
Q. The only question I have about this is it

Says that you had diabetes diagnosed one month
ago, do you see that?

A. Type 2 Diabetes diagnosed in 2012.

Q. Okay. Well, I see that, but there is an
entry in this paragraph that says, first diagnosed

one month ago.

A. No.
Q. Do you know what that refers to?
A. Patient diagnose, diabetes was first

diagnosed one month ago, that's incorrect.

Q. Okay. And that's what I was wondering.
Go to Page 33. Do you see an entry for January
28th of 2019?

A. Uh-huh.

Q. Okay. Was that that visit for a
treatment for major depressive disorder for a
single episode?

MR. THOMAS: Sorry, I was typing, what

page are you on?

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MR. VANORSBY : 33.

A. January 28th, 2019, patient to be
evaluated for major depressive disorder, single
episode unspecified. The diagnosis of depression
was made ten years plus.

BY MR. VANORSBY:

Q. Right. So did you report symptoms of
being anxious, no appetite, crying spells and
fatigue?

A. Yes.

Q. What did you identify as, currently
identify as a stressor?

A. She's not able to identify stressor at
this time. She has been recently promoted to
nurse manager at VA. She tells me that this job
is not very stressful for her.

Q. Okay. It also said you started Lexapro

one week prior. Who prescribed Lexapro to you?

A. Dr. Ferris.
Q. Okay.
A. My initial Lexapro was in 2010.

Q. Okay. And the only reason I ask is
because I didn't see an entry for the actual, for
Dr. Ferris actually saying I am prescribing this

to her. So I want to ask about the circumstances

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1 about you being represcribed the Lexapro. Did you
2 go in for a doctor's visit or did you make a call
3 or do you remember?

4 A. I went in for a doctor's visit and I was
5 put back on my Lexapro, ten milligrams. I had

6 stopped taking the medication before because I

7 didn't feel I needed it.

8 Q. Okay. And maybe I just missed the entry.
2° And that's okay. And then you report you have

10 follow up with your therapist, right?

11 A. Uh-huh.

12 Q. And that tracks with your February 6th,

13. 2019, visit with New Perspectives?

14 A. Uh-huh.

15 Q. All right. Go to Page 29, please.

16 A. (Witness complies).

17 Q. Do you see an entry for June 4th, 2019?
18 A. Uh-huh.

19 Q. And what was that visit for?

20 MR. THOMAS: What page are we on? I am
21 sorry. I am reading.

22 MR. VANORSBY: 29).

23 A. It says, here for a follow-up visit.

24 Include diabetes history details were provided by

25 patient. History appears to be reliable.

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Depression screening is positive for all meds and
therapy. Current meds include oral and it just
says my current meds.

BY MR. VANORSBY:

Q. Okay. And does it say something about
depressive episode present for past five months?

A. Major depressive disorder single episode
unspecified details and diagnosis of depression
was made ten years plus ago. This episode of
depression has been present for the past five
months, currently active symptoms include
increased anxious mood, decreased, increased
appetite, crying spells and fatigue.

Q. And what did you report to the doctor
about any identifiable stressors?

A. No current identifiable stressors. She
has no known pertinent medical conditions,
psychiatric history is significant for a prior
depressive episode.

Q. Okay. Now one thing we haven't really
covered in depth is your rotator cuff surgery.

A. Uh-huh.

. Who performed that surgery?

I don't remember.

oO PP O

Okay. Do you remember the office you

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went to?

A. Advanced Orthopaedics Associates.

Q. How long was your recovery period? Let
me back up. When did you have the surgery? I
think we might have talked about that the other
day.

A. January the 10th of 2019.

Q. Okay. How long was your recovery?

A. I was back to work in two weeks.

Q. Okay. Were you on any restrictions?

A. I had to wear my sleeve, my arm brace on
my left arm, but I need everything, I'm right-
handed.

QO; Okay. So you kind of indicated you had a

brace, I am guessing kept your arm close to your

body?
Yes.

Q. And for work you just used one hand to
type?

A. Yes.

Q. Okay. How long were you in the arm
brace?

A. About ten days.

Q. So that's two weeks plus ten days, right?
A

Yes.

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Q. Okay.
like three weeks?

A. Yes.

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So you were in the arm brace for

~Q. And what restrictions did you have after

you had your arm brace removed?
A. No lifting over ten pounds,
to active physical therapy.
Q. Okay.
pretty painful?
A. It really wasn't painful,

I was going

And was that recovery process

it was just

time, time restrictive because I just had to go to

physical therapy.

Q. Was that an every day thing you had to go

to physical therapy?
A. Once a week.
And for how

Q. Once a week. Okay.

you have to go to physical therapy?

A. I went for like 12 weeks.

Q. And then once you completed your
therapy did you feel like you were back to
new?

A. No. I had to complete, continue

home exercise program.

Q. Okay.

long did

physical

brand

with my

So you still had some pain still

trying to recover after the physical therapy?

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A. Some immobility more than pain.

Q. Okay. By immobility do you mean you had
trouble with range of motion?

A. Yes, my range of motion.

Q. Okay. Would it be fair to say that you
had some significant mental health struggles prior

to your employment with the VA?

A. Yes.

Q. Did you have multiple suicide attempts?

A. I had a suicide attempt in February of
2000.

Q. Okay.

A. I took 23 Tylenol with codeine. I had

thoughts of suicide, but no attempts.

Q. Okay. When else did you have suicidal

ideations?
A. 2009. 2010. ‘12. ‘13.
Q. So it was kind of continuing on from --

A. Uh-huh.
Q. -- about 2000 to, I don't know, do you
continue to have suicidal ideation?
MR. THOMAS: Object. You didn't let her
finish her answer.
BY MR. VANORSBY:

Q. I'm sorry. If you weren't finished, I

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1 thought you were finished. What was the rest of

2 your answer?

3 A. I had thoughts of it, but I don't have a
4 plan.

5 Q. Okay. And that continues to today?

6 A. On occasion.

i Q. Okay.

8 A But I have medicine.

9 Q. Okay. And would it be fair to say that
10 you had significant need for therapy prior to your

11 employment with the VA?

12 A. Uh-huh.

13 Q. Okay. And I am sorry, if you could just
14 gay --

15 A. Yes.

16 Q. Okay. And you mentioned medications,

17 prior to your employment at the VA were you taking
18 medication to help your mood and your depressive
19 state?

20 A. I didn't start back to take the

21 medication until probably when I was seeing Dr.

22 Ferris, so probably about 2013 or 2015.

23 Q. Okay. But were you taking medications
24 prior to your employment with the VA and try to

25 help your mood?

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1 A. Yes.

2 Q. Okay. Okay. And at some point you start
3 seeing Dr. Gratia Meyer; correct?

4 A. Uh-huh.

5 Q. I apologize, can you remind me of the

6 date that you started seeing her?

7 A. Early November of 2021.
8 Q. Okay.
9 (THEREUPON, Deposition Exhibit No 29 was

10 marked for identification.)

11 BY MR. VANORSBY:

12 Q. I will hand you what has been marked as
13 Exhibit 29. And again, we don't have time to go
14 through all of these, but I will talk to you about
15 a couple of things, okay?

16 A. Uh-huh.

17 Q. Have you ever reviewed these records

18 before?

19 A. No.

20 Q. Are you aware of any point in these

21 records, and if you need time to review it, you
22 let me know, where there's a mention of you being
23. discriminated against and effected by

24 discrimination and your employment at the VA?

25 MR. THOMAS: Objection to foundation.

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She just told you she's never read it.

MR. VANORSBY: And I just said if you need
time to review it you can.

MR. THOMAS: That's not a fair question.

MR. VANORSBY: That is a fair question,
unless you want me to just go through page-by-
page. I think that's probably a better way just
to say, look, there's something in here you know
about, let me know.

MR. THOMAS: All right. I'm going to
instruct her at the time to not answer your
questions until you've read the whole thing.

MR. VANORSBY: We can take a break.

MR. THOMAS: We won't take a break, we'll
do it on your time.

MR. VANORSBY: Actually, that's fine.

BY MR. VANORSBY:

Q. If you need to take a break, we'll take a
break.

A. (Witness reviews documents). We really
just started getting into my work anxiety in the
last two sessions.

MR. THOMAS: There's no question pending.

BY MR. VANORSBY:

Q. That was a question pending. Thank you.

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Okay. So I've had a chance to quickly look
through this because they were only recently
produced, but my understanding of your
conversations with Dr. Meyer primarily resolved
around the MST and maybe some of the suicidal
attempts, right?

A. Uh-huh. To the date that you received

these records, yes.

Q. Okay. And I just received them last
week.

A. I've seen her since.

Q. Okay. So up until last week they just

were revolved around the MST and some of those

events that happened prior to your employment at

the VA?
A. Yes.
Q. Okay. And that's something that you

continue to struggle with, correct? Those

traumatic events from when you were in the

military?
A. Yes.
Q. Okay. Just yesterday, or Wednesday, I

got some records sent to me, it was beyond the

deadline, but they were VA records from your time

in Colorado. And I am sorry, I don't have those,

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1 but I just want to kind of generally ask you, do
2 you recall reporting that you don't remember a

3. time when you weren't struggling with depression?
4 MR. THOMAS: Foundation.

5 MR. VANORSBY: It's object to form. You
6 made your objection.

7 MR. THOMAS: It's the same thing you did
8 last time.

9 MR. VANORSBY: Dan, just stop.

10 MR. THOMAS: Stop interrupting me, it's
11 rude, stop interrupting me.

12 MR. VANORSBY: I'm going to continue.
13 MR. THOMAS: It's not fair to ask a

14 witness about a statement they made and not

15 present them the document.

16 BY MR. VANORSBY:

17 Q. And my question was, if you recall, do
18 you recall making that statement that you can't
19 remember a time where you didn't struggle with

20 depression?

21 A. In my adult life?

22 Q. Okay. What would you qualify as adult

24 A. After 22.

25 Q. Okay. And I apologize for this question,

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1 but what year would you have been 22?

2 A. '96.

3 Q. Okay. So we have covered a lot today, we
4 are about finished, I just got a couple more

5° questions. Is there anything as far as what we've

6 covered today that you think you need to add to?

7 MR. THOMAS: Vague, foundation, to form.
8 MR. VANORSBY: Object to form.
9 MR. THOMAS: Again, please don't

10 interrupt me, I try not to do it to you.

11 MR. VANORSBY: Just object to form. Make
12 proper objections and I won't have to say

130 anything.

14 MR. THOMAS: I don't care if you say

15 something, just please don't interrupt me when I'm
16 talking, not to mention it is rude to the court

17 reporter.

18 BY MR. VANORSBY:

19 Q. Is there anything else that you need to
20 add?

21 A. (Witness reviews documents).

22 MR. THOMAS: Same objection.

23 A. Can I ask a question?

24 MR. THOMAS: No.

25 BY MR. VANORSBY:

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1 Q. Yeah, that's probably not --
2 A. What was the question, please?
3 Q. Is there anything else that you think you

4 need to add to what we have talked about?

5 MR. THOMAS: Form. Foundation, vague.
6 MR. VANORSBY: Objection is form.

7 A. No.

8 BY MR. VANORSBY:

9 Q. Okay. Is there any other information

10 that you want to tell me about what happened to
11 you at the VA in Wichita?
12 MR. THOMAS: Same objection. Form,

13. foundation, vague.

14 MR. VANORSBY: Objection is form.

15 A. No.

16 Q. Okay.

17 MR. VANORSBY: That's all I have, Miss

18 McCray, thank you for your time.
19 MR. THOMAS: Unfortunately, I do have
20 some follow-up questions. Do you want to take a

21 break or just plow right in?

22 A. Plow right in.

23 MR. THOMAS: All right.
24 CROSS EXAMINATION

25 BY MR. THOMAS:

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Q. Earlier you testified that you had not
reviewed discovery responses since 2021. Do you
remember that?

A. Yes.

Q. Were you talking about the discovery
responses in the administrative claim?

A. Yes.

Q. Okay. We had sent you some documents

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called interrogatories and requests for production

-- well, strike that. Strike that.

You were asked some questions about various
claims throughout the day and whether or not it
resulted in a demotion or a loss of benefits and
things of that nature. Do you recall that?

A. Yes.

Q. The claims that you've raised in your

lawsuit, and the acts of discrimination and

retaliation that you've testified about today, did

it impact your mental health?
MR. VANORSBY: Object to form.
A. Yes.
BY MR. THOMAS:
Q. Did it impact your reviews?
MR. VANORSBY: Same objection.

A. Yes.

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1 BY MR. THOMAS:
2 Q. And the person who was harassing you was

3 Miss Duda, correct?

4 MR. VANORSBY: Object to form.

5 A. Yes.

6 BY MR. THOMAS:

7 Q. And she was the one doing your reviews,

8 correct?

9 A. Yes.

10 Q. Did it impact your stress levels?

11 A. Yes.

12 MR. VANORSBY: Object to form.

13 BY MR. THOMAS:

14 Q. Did it impact your ability to do your
15 job?

16 MR. VANORSBY: Object to form.

17 BY MR. THOMAS:

18 Q. Well, let me ask you this. Let me pull

19 that back. When they were giving you added duties
20 that you could not do, did that impact your

21 ability to do your job?

22 MR. VANORSBY: Object to form.

23 A. Yes.

24 BY MR. THOMAS:

25 Q. Did they, Miss Duda and Dr. Cummings,

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be

force you to transfer jobs?

2 MR. VANORSBY: Object to form.

3 A. Yes.

4 BY MR. THOMAS:

5 Q. Go ahead.

6 A. I put in 18 job applications between

7 January of 2020 to March of 2020. I actually went
8 to ADPCS in December of 2019, and requested a

9 transfer out of office of community care. I was
10 given a job description for a utilization

11 management position that was one grade below my

12 current pay.

13 Q. And this harassment from Miss Duda, was

14 it daily?

15 MR. VANORSBY: Object to form.

16 A. Yes.

17 BY MR. THOMAS:

18 Q. And was it continuous?

19 MR. VANORSBY: Object to form.

20 A. Yes.

21 BY MR. THOMAS:

22 Q. Can you tell me the number of times she

23. did it?
24 MR. VANORSBY: Object to form.

25 A. It was continuous, it was informal. The

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1 way she would do it, I mean, it wouldn't be just

2 come right out, and she knew what she was doing.

3 BY MR. THOMAS:

4 Q. Is it possible for you to count the

>  mnumber of times that she did it?

6 MR. VANORSBY: Object to form.

7 A. No, it's not possible for me to count the
8 number of times.

9 BY MR. THOMAS:

10 Q. The disciplinary action in 2017, a nurse
11 was not doing her job correctly, right?

12 MR. VANORSBY: Object to form.

13 A. She questioned me on how to complete the
14 multiple need for the surgery needs. There was a
15 -- he had crushed the whole right side of his

16 body. And she questioned and asked me exactly how
17 to process those consults.

18 BY MR. THOMAS:

19 Q. And that disciplinary action was

20 eventually removed from your file?

21 A. Per Dr. Robert V. Cummings in August of
22 2019, around or about August of 2019 was the ERLR
23 person who recommended that it be removed based on
24 my work performance. He requested it from Dr.

25 Cummings that it be removed.

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Q. Give me one second.

MR. VANORSBY: Can I ask something off
the record?

MR. THOMAS: I stopped my clock.

MR. VANORSBY: Can you tell us -- I want
to know where we are at.

THE VIDEOGRAPHER: 6:10.

BY MR. THOMAS:

Q. Do you remember training issues as it
relates to Mary Lee Smalley and Dean Rhein? =——

A. Yes.

Q. Explain that, please.

A. When Miss Duda came back and sent the E-
mail to Dean Rhein in regards to if I had sent
that information to education regarding the TMS
that needed to be completed by medical support
assistance and nurses in community care. Dean
Rhein replied that I had not. And then after
further discussion, when I sent them over to him,
Mary Lee Smally said that that was not the way it
worked, and Ruth should never have asked me to
send those to Dean Rhein.

Q. Okay, I need to clarify something. When
did Tenesha leave the OCC?

A. She went out on medical probably the end

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1 of February of 2018.

2 Q. All right. When did Ruth Duda become the
3. nurse manager of the OCC?

4 A. June of 2017. She was considered a

5 program manager. —< a

6 Q. Okay. Let me, I am not doing this right
7 then. You said, candidly, I wrote down that you

8 said two different things, I think you got dates

9 mixed up. I wrote down that Tenesha remained your
10 supervisor until April of -2019.—

11 A. 2018.

12 Q. Okay. Okay then. So either I wrote it
13. down the first time or perhaps you misspoke if you
14 said '19 the first time.

15 A. Okay.

16 Q. More than likely I wrote it down wrong.
17 Okay. I think that clarifies that timeline issue
18 that I was looking at. You were asked, the charts
19 that you created of your damages.

20 A. Yes. =

21 Q. From your two homes and utilities and

22 things like that.

23 A. Yes.

24 Q. The chart that you recently provided, is

25 that a new chart or is that just an update of

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1 your, the old chart that you recently provided?

2 A. That's the dates from December of 2021 to
3. present.

4 Q. So. Okay. So you have, your damages

5 would be not only the charts you recently

6 provided, but the charts you previously provided?

7 A. Yes.

8 Q. Okay. Now, I know this is a small thing,
9 but I am going to ask about it anyway. In the

10 charts you had listed an expense for furniture

11 that you had to buy in Colorado.

12 A. Yes.

13 Q. You listed that on your own, right?

14 A. Yes.

15 Q. Okay. Now, earlier today defense counsel

16 asked you if the VA should have to pay for that?

17 MR. VANORSBY: Object to form.
18 BY MR. THOMAS:
19 Q. Or I don't know how he phrased it, but he

20 asked you if that was an expense in your lawsuit,

21 words to that effect, right?

22 A. Yes.

23 Q. Okay. And you said no. Do you remember
24 that?

25 A. Yes.

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Q. Why did you say no?

A. I really wasn't thinking because I did
have to, I did not take any furniture items from
the home in Wichita, I purchased furniture when we
got to Colorado.

Q. First of all, you just weren't thinking
when you said that?

A. No, I wasn't.

Q. Okay. So is the furniture you had to buy
when you moved to Colorado part of your damages in
this case?

MR. VANORSBY: Object to form.

A. Yes.

BY MR. THOMAS:

Q. Can you explain why.

A. I had to reestablish in Denver, Colorado
with all the household items, furniture, bedroom,

everything, when I relocated from Wichita to

Aurora.
Q. You already had a home in Wichita, right?
A. Yes.
Q. And its fully furnished?
A Yes.

Q. You didn't take that furniture with you

when you moved to Colorado, right?

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A. No.

Q. So you had to buy all new?

A. Yes.

Q. Where do your parents live?

A. I have had to relocate my parents to
Colorado because I couldn't be here to care for
them.

Q. Would you have had to do that if they
didn't force you to transfer?

A. No.

Q. Is that an expense that you are claiming?

A Yes.

Q. Have you calculated that yet?

A For my parents?

Q. Yes.

A I haven't calculated it, I just know that
I had to provide plane tickets and things of that
nature. But they are my parents and I am their
caregiver.

Q. Earlier today you were asked a question,

let me find it, about Miss Duda usurping your

authority and what her motivating factors were.
Do you remember that?

A. Yes.

Q. And counsel purportedly read from a

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DASHAUN MCCRAY

statement you gave at one point where you

purportedly said that Miss Duda strives on power

and uses that to her advantage.

that?
MR. VANORSBY:
A. Yes.
BY MR. THOMAS:
Q.
factor?

A. Yes.
Q.

Do you remember

Object to form.

He asked you if at the time you had

listed racism or racial issues as a factor --

MR. VANORSBY:
Q.

MR. VANORSBY:
BY MR. THOMAS:

Object.

-- when you gave that statement.

Object to form.

As you sit here

Q. Do you remember that?

A. Yes.

Q. Let me ask you this.
today, looking back,

in retrospect and reviewing

the totality of the circumstances and everything

you now know about Ruth Duda,

do you think your

race was a motivating factor in her usurping your

authority?

MR. VANORSBY:

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Object to form.

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You also told him that retaliation was a
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DASHAUN MCCRAY

A. Yes.

BY MR. THOMAS:

Q. And she didn't just usurp your authority,
she fermented dissent among your staff, right?

MR. VANORSBY: Object to form.

A. Yes.

BY MR. THOMAS:

Q. And do you think your race was a factor
in that?

MR. VANORSBY: Object to form.

A. Yes.

BY MR. THOMAS:

Q. And you were asked a question about
identifying similarly situated Caucasian employees
who she treated differently. Do you recall that?

MR. VANORSBY: Object to form.

A. Yes.

BY MR. THOMAS:

Q. And you indicated that there were no
other supervisors that were Caucasian, correct?

A. Correct.

MR. VANORSBY: Object to form.
BY MR. THOMAS:
Q. But there were other employees of the

OcC, correct?

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A. Yes.
Q. And there were Caucasian ones, correct?
A. Yes.
Q. And there were Caucasian employees within

the OCC that she treated differently than you and
the other African American employees; correct?

A. Yes.

Q. And there were Caucasian employees within

the OCC that Ruth Duda showed favoritism to,

correct?
A. Yes.
Q. And you are a nurse, right?
A Yes.
Q. And some of those employees were nurses?
A Yes.
Q. He showed you this Exhibit 13. If you

could pull it up. Maybe it isn't in there.

Well, it doesn't matter. It doesn't matter.
Don't pull it up. It doesn't matter. We are not
going to get bogged down in these documents.

He showed you some document where in February
of 2020 you didn't write down that Miss Duda
denied you the chance to speak. Do you remember
that?

MR. VANORSBY: Object to form.

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DASHAUN MCCRAY
1 A. Yes.
2 BY MR. THOMAS:
3 Q. I think it was Exhibit 13. However,

4 there was another exhibit where in July of 2020
> you clearly state that she did deny you your right

6 to speak.

a MR. VANORSBY: Object to form.

8 BY MR. THOMAS:

9 Q. Right?

10 A. Yes.

11 Q. Let's just set the record straight. Did

12 she deny you your right to speak?

13 A. She denied me the right to speak and then
14 Mr. Ament stated I want to hear her speak,

15 basically put his hand up to her face and then I
16 ~=spoke.

17 MR. VANORSBY: For the record, I was

18 objecting to form.

19 MR. THOMAS: I will agree that counselor
20 was trying to get his objection in.

21 BY MR. THOMAS:

22 Q. You were asked this question about this
23. E-mail where she stood over your shoulder. Do you
24 remember that, was it January 31st of 2020?

25 A. Yes.

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DASHAUN MCCRAY

Q. And counsel asked, well, is there any way
she could have reviewed it if she wasn't standing
over your shoulder. Do you remember that?

MR. VANORSBY: Object to form.

A. Yes.

BY MR. THOMAS:

Q. Who said she had to review it right then
and there?

MR. VANORSBY: Same objection.

A. Nobody. The E-mail came to myself and
her from Dr. Cummings.

BY MR. THOMAS:

Q. Could she have asked you to send her a
copy of it first?

MR. VANORSBY: Object to form.

A. Yes.

BY MR. THOMAS:

Q. Could she have asked you to CC her on it?

MR. VANORSBY: Same objection.

A. She was on the E-mail already, and I
informed her that she was copied on the E-mail.

BY MR. THOMAS:

Q. Could she have asked you from the other
side of the desk what the E-mail said?

A. Yes.

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DASHAUN MCCRAY

MR. VANORSBY: Same objection.
BY MR. THOMAS:
Q. She was standing over you trying to
intimidate you?
MR. VANORSBY: Object to form.
A. Yes.
BY MR. THOMAS:
Q. And, in fact, this is a known Ruth Duda
move?
MR. VANORSBY: Same objection.
A. Yes.
BY MR. THOMAS:
Q. She's done it countless times to other
employees?
MR. VANORSBY: Object to form.
Yes.
Q. She is a rather tall, menacing woman.
MR. THOMAS: Is it funny to you?
MR. VANORSBY: Your questions are, yes,
they are.
MR. THOMAS: I'm glad you're amused.
MR. VANORSBY: Okay. Go ahead finish.
MR. THOMAS: Because she's clearly told
you she has a physical --
MR. VANORSBY: Ask your questions.

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DASHAUN MCCRAY

MR. THOMAS: Stop interrupting me.

MR. VANORSBY: No. Ask your questions.
I'm not going to be a part of it.

MR. THOMAS: She has a physical response
to her and she's explained it and you think its
funny.

MR. VANORSBY: Go ahead and ask your
question.

MR. THOMAS: Impressive.

BY MR. THOMAS:
Q. She's menacing, isn't she?
A. Yes.
MR. VANORSBY: Object to form.
BY MR. THOMAS:
Q. And she was trying to intimidate you,
wasn't she?
MR. VANORSBY: Same objection.
A. Yes.
BY MR. THOMAS:
Q. And it worked, didn't it?
MR. VANORSBY: Same objection.
A. Yes.
BY MR. THOMAS:
Q. This whole Janelle Adams' situation, do

you remember that?

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DASHAUN MCCRAY

A. Yes.
Q. Again, Duda is trying to ferment
dissension among your staff?
MR. VANORSBY: Objection. Counsel is
testifying.
MR. THOMAS: Right? Objection is form,

believe is what you would say.

MR. VANORSBY: That's what I would say.

A. Yes.

MR. THOMAS: Can we go off the record,
please?

THE VIDEOGRAPHER: Standby. Time is
approximately 5:29 p.m., we are going off the
record.

(THEREUPON, at 5:29 p.m., a recess was
taken, after which, 5:32 p.m., the following

proceedings were held:)

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THE VIDEOGRAPHER: Time is approximately

5:32 p.m. We are back on the record.
MR. THOMAS: I think I am ready to go
back.
BY MR. THOMAS:

Q. I just want to make sure we are clear on

this. Is it fair to say Miss Duda harassed you

in one form or another continually?

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MR. VANORSBY:
A. Yes.

BY MR. THOMAS:

Q. On an ongoing
MR. VANORSBY:
A. Yes.

BY MR. THOMAS:
Q.
MR. VANORSBY:
A. Yes.
BY MR. THOMAS:
Q.
a history of depression
A. Yes.

BY MR. THOMAS:

Object to form.

basis?

Same objection.

On a nearly daily basis?

Same objection.

and PTSD.

do you know what I mean

exacerbate those

Object to form.

Q. And anxiety?

A. Yes.

Q. Did Miss Duda,
when I say the word exacerbate?

A. Yes.

Q. Did Miss Duda
conditions?

MR. VANORSBY:
A. Yes.

BY MR. THOMAS:

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And I understand that you previously had
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DASHAUN MCCRAY

Q. How so?

MR. VANORSBY: Same objection.

A. Workplace anxiety, inability to, you
know, be able to be outspoken in regards to things
in which I would see that would be more
appropriate for the service line. I currently
have a high anxiety, even in my current workplace
and ask for review by my current supervisor just
to make sure that I am within the scale of my
daily tasks and practices in the organization.

I have a doubt in feeling that people
understand or desire to work with me based on
actually I am, again, one of the only black people
in my current position. There is two other
African American nurses, and so I don't really
feel that other staff, you know, take value my
work. But I get reassurance from my current staff
that they value my work and I don't have to, you
know, feel that anxiety in which I had working
with Miss Duda as my supervisor.

BY MR. THOMAS:

Q. And --

A. Disassociation --

Q. Go ahead.

A. Disassociation disorder is what I've been

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1 diagnosed with by my psychotherapist in regards to
2 my ability to still be able to be productive in

3. the workforce and deal with the things in which

4 I've dealt with, and be able to work at the scale
5 and to be able to promote within the Department of
6 Veteran Affairs.

7 Q. And stand by the medical records,

8 regardless of whether or not you were always

9 talking about workplace issues, it seems like your
10 stress, depression and anxiety levels increased

11 dramatically once you started working for Miss

12 Duda, is that fair?

13 MR. VANORSBY: Object to form.

14 A. Yes. They increased from 4-5-18 when she
15 came stand over my desk and told me what I should
1¢é inform someone else of that was outside of my pay
17 grade, outside of my abilities.

18 BY MR. THOMAS:

19 Q. I want to, this is something I meant to
20 ask you earlier, that I neglected to. You said

21 something earlier that kind of took me aback. You
22 said you have a hard time dealing with people

23. outside of your race in terms of your workforce,
24 do you remember that?

25 A. Yes.

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DASHAUN MCCRAY
1 Q. Has that been ever since Miss Duda?
2 MR. VANORSBY: Object to form.
3 A. Yes.
4 BY MR. THOMAS:
5 Q. Did you ever have that problem before
6 Miss Duda?
7 MR. VANORSBY: Object to form.
8 A. I was the only black nurse at Blue

9 Cross/Blue Shield and case management and I always
10 had a good rapport with all the staff members I

11 =worked with.

12 MR. THOMAS: I have no further questions.
13 MR. VANORSBY: Okay. I've just got a few
14 clean ups and then I have a statement for the

15 record.

16 REDIRECT EXAMINATION
17 BY MR. VANORSBY:
18 Q. With Mr. Thomas you discussed something

19 about you were forced to transfer jobs by Miss

20 Duda and Dr. Cummings. Do you recall that?

21 A. Yes.

22 Q. Did you assert that as part of your EEO
230 at any point?

24 A. I did not.

25 Q. Okay. And do you understand that this

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DASHAUN MCCRAY

forced transfer constructive discharge has been
dismissed, right?

A. Once I was informed what a constructive
discharge is, yes.

Q. Okay. You also discussed a disciplinary
action that you received in 2017. And from what I
heard, there was some other nurse who was
questioning what you were doing, is that your
testimony?

A. Not questioning, she was questioning what
she should do.

Q. Okay. And who was that nurse?

A. Cynthia Finley.

Q. Okay. And so its your testimony today
that you were training Cynthia Finley or you were
assisting Cynthia Finley when you accessed Mr.
Bryant's records 26 times?

A. From the date of 20 -- May of 2017,
anything after that.

Q. So anything after May of 2017 you were
assisting Cynthia Finley?

A. Assisting the staff in regards to the
appointments that he has, yes.

Q. You said staff.

A. Cynthia Finley.

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Q. Okay. Has that been consistently the
reason that you provided for why you accessed Mr.
Bryant's records?

A. Yes.

Q. Okay. So it's your testimony today you
never informed anyone that you were training new
nurses and that's why you accessed Mr. Bryant's
records?

A. I was -- she asked me a question in
regards to how to work the schedule to those
appointments because there were multiple
appointments needed back-to-back.

Q. Okay. So my question was, is it your
testimony today that you didn't tell anyone else
that you were actually training new nurses and
that's why you accessed Mr. Bryant's records?

A. I wasn't training new nurses.

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Q. Okay. And you didn't report to your, to

Dr. Meyer that the reason why you accessed those
records is because Mr. Bryant asked you to; is
that correct?

A. To Dr. Meyer?

Q. That's right.

A. I have never even talked about this with

Dr. Meyer.

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DASHAUN MCCRAY

1 Q. Have you reported to anyone, ever, that
2 the reason why you accessed those records was

3. because Mr. Bryant asked you to?

4 A. In regards to not following procedure

> when he was asked me about a prescription, yes, I
6 have stated that that was the reason. That was my
7 appeal.

8 Q. You discussed with Mr. Thomas that the
9 Excel sheets that you provided to me.

10 MR. VANORSBY: And I will note for the
11 record I received an update, updated spreadsheet
12 yesterday.

13 BY MR. VANORSBY:

14 Q. I think you mentioned that your damages
15 are, the chart that you previously provided and
16 the one you recently provided?

17 A. Yes. That's the whole, from the time
18 that I moved to Aurora, Colorado to date.

19 Q. Okay. And so is it your testimony that
20 the updated one does not include damages that were
21 previously provided?

22 A. No.

23 Q. Okay. I will tell you it appears to me
24 that you just went in and updated the prior Excel

25 sheet that you provided.

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DASHAUN MCCRAY
1 A. I added the new tab.
2 Q. Okay. And so I think we are talking past

3 each other here, but you went in, you added a new
4 tab to update it and then you sent it out?

5 A. Yes.

6 Q. So it includes the same information that
7 I was previously provided, but there is some new

8 information in it?

9 A. The next tab.

10 Q. Okay. So you are not saying, I want to
11 make sure I word this correctly, but that the

12 damages that were previously disclosed are on top
13. of everything that is in the update, right? Some
14 of the information is --

15 A. None of the information crosses, the new
16 dates are from December of 2021, the previous

17 dates went from 6-2020, well, 6-2020 to 11-2021.
18 Q. Okay. I'm just it's late in the day, I
19 think we're talking past each other. I will let
20 the record stand for what it stands, okay? You

21 mentioned something about disassociation disorder

22 that you've been diagnosed with that.

23 A. Disassociation.
24 Q. Disassociation --
25 MR. THOMAS: Disassociation.

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DASHAUN MCCRAY
1 BY MR. VANORSBY:
2 Q. Okay -- disorder that you've been

3. diagnosed with that. That's not something we

4 talked about earlier. Who diagnosed you with

5 that?

6 A. Gratia Meyer.

7 Q. Okay. And when did that occur?

8 A. Within the past three months.

9 Q. Okay. And bottom line, we've got Dr.

10 Meyer's records and they will be in there

11 somewhere.

12 A. Uh-huh.

13 Q. Okay. And Mr. Thomas discussed with you
14 this idea about the furniture that's on your

15 damages chart. My understanding is after speaking
1¢6é with your attorney --

17 MR. THOMAS: Whoa. Whoa. Whoa.

18 MR. VANORSBY: Let me finish my question,

19° Danny.

20 MR. THOMAS: You're right. I apologize.
21 BY MR. VANORSBY:
22 Q. After speaking with your attorney just

23 now you are changing your testimony?
24 A. After his question, yes.

25 MR. THOMAS: Okay. I am sorry, Brian, I

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DASHAUN MCCRAY

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thought you were doing something else.

2 BY MR. VANORSBY:

3 Q. So there's also a discussion of taking

4 care of your parents. Have you provided any

5 documentation to that effect?

6 A. My parents just moved to Colorado with me
7 on, my mom came December of '21 and my dad came

8 February of '!22.

9 Q. Okay. And my question, have you provided

10 any documentation to that effect?

11 A. No.
12 Q. Okay. Why not?
13 A. I didn't know what kind of documentation

14 I would need to provide to that.

15 Q. Okay. You received discovery requests,
16 correct?

17 A. Discovery requests in regards to the

18 previous responses.

19 Q. Okay. Well, okay. I think I told

20 Phyllis to take the first Request for Production
21 documents, so we'll let that stand for what it is.
22 Mr. Thomas asked you a question, he said, you
23 are a nurse and some of the other employees were
24 nurses, do you remember that?

25 A. Yes.

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DASHAUN MCCRAY

. Well, you weren't a nurse, were you?
Yes.
That wasn't your title?

I was a nurse Manager.

0 FO PP O

: Okay. That's a little bit different than

being a nurse, right?

A Yes.

Q. Your job duties are different?

A Yes.

Q. The pay is different?

A My pay was different.

Q. The expectations are different?

A Yes.

Q. Your performance standards, they are
different?

A. Yes.

Q. Okay.

MR. VANORSBY: That's all I have. I will
make a statement for the record, but there were
several questions that were refused to answer.
We've got a pending data E-mail to the Judge. So
I am holding the deposition open pending what the
Judge has said, decisions going to be on that, and
we can reconvene by Zoom, which is fine. Unless

the plaintiff wants to answer those questions now

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DASHAUN MCCRAY

prior to us closing.

MR. THOMAS:

MR. VANORSBY:

that open.

THE VIDEOGRAPHER :

5:45 p.m.

the deposition.

THE REPORTER:

and sign?
MR. THOMAS:
Give her your address.
THE WITNESS:
South Quatar,
80016.

THE REPORTER:

your transcripts?

MR. THOMAS:

MR. VANORSBY :

(THEREUPON,
5:47 p.m.)

Going off the record.

Q-U-A-T-A-R, Way,

No. Let's go.

All right. We'll hold

This concludes
Do you want her to read
Let's read and sign.

Yes.

Physical address is 7575

Aurora, Colorado,

What format do you want

E-Tran.

I will take PDF.

the deposition concluded at

Appine Biggs.

5111 SW 21st Street
Topeka, KS 66604
785-273-3063
Www.appinobiggs.com

800 E. Ist Street
Suite 305

Wichita, KS 67202
316-201-1612

6420 W, 95th Street
Suite 101
Overland Park, KS 66212
913-383-1131

TECHNOLOGY SPECIALISTS IN TODAY'S LITIGATION

300

Time is approximately
3/24/2023 301

24

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DASHAUN MCCRAY

SIGNATURE

The deposition of DASHAUN MCCRAY was
taken in the matter, on the date, and at the time

and place set out on the title page hereof.

It was requested that the deposition be
taken by the reporter and that same be reduced to

typewritten form.

It was agreed by and between counsel and
the parties that the deponent will read and sign

the transcript of said deposition.

5111 SW 21st Street 6420 W. 95th Street 800 E. Ist Street

f in 0} Di) S Repartin Topeka, KS 66604 Suite 101 Suite 305
j Service, he 785-273-3063 Overland Park. KS 66212 Wichita, KS 67202
———

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TECHNOLOGY SPECIALISTS A TOOAY'S LITIBATION
3/24/2023 302

DASHAUN MCCRAY

AFFIDAVIT

STATE OF

COUNTY/CITY OF

Before me, this day, personally appeared,
DASHAUN MCCRAY, who, being duly sworn, states that
the foregoing transcript of his/her Deposition,
taken in the matter, on the date, and at the time
and place set out on the title page hereof,
constitutes a true and accurate transcript of said
deposition, along with the attached Errata Sheet,

if changes or corrections were made.

DASHAUN MCCRAY

SUBSCRIBED and SWORN to before me this
day of , 2023 in the

jurisdiction aforesaid.

My Commission Expires Notary Public

SLL1 SW 21st Street 6420 W. 95th Street 800 E. Ist Street

pine *®B S Reporting Topeka, KS 66604 Saiz. TOL Suite 305
Serce 785-273-3063 Overland Park. KS 66212 Wichita, KS 67202

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TECHTIOLOGY SPECIALISTS IN THORNS LITGAT LITIGATION
3/24/2023

24

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RE:

FILE NO.:

CASE:

DEPONENT :

DEPOSITION DATE:

To the Rep

DASHAUN MCCRAY

DEPOSITION ERRATA SHEET

APPINO & BIGGS REPORTING SERVICE,

68701

DASHAUN MCCRAY vs.
DENIS MCDONOUGH,

ET AL.
DASHAUN MCCRAY

3/24/2023

orter:

303

INC.

I have read the entire transcript of my Deposition

taken in the captioned matter or the same has been

read to me

. I request that the following changes

be entered upon the record for the reasons

indicated.

Sheet and

I have signed my name to the Errata

the appropriate Certificate and

authorize you to attache both to the original

transcript.

Appine

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800 E. Ist Street
Suite 305

Wichita, KS 67202

316-201-1612
3/24/2023

24

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DASHAUN MCCRAY
PAGE: LINE FROM TO REASON
SIGNATURE: DATE:
DASHAUN MCCRAY
S111 SW 21st Street 6420 W. 95th Street
f] p p Mm (} Bi qqs oat Topeka, KS 66604 - Suite 101
Sai 785-273-3063 Overland Park. KS 66212
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800 E. Ist Street
Suite 305

Wichita, KS 67202
316-201-1612

304
305
CERTIFICATE
STATE OF KANSAS
COUNTY OF SHAWNEE

I, Rachelle Smith, a Certified Court
Reporter, Commissioned as such by the
Supreme Court of the State of Kansas,
and authorized to take depositions and
administer oaths within said State
pursuant to K.S.A 60-228, certify that
the foregoing was reported by
stenographic means, which matter was
held on the date, and the time and place
set out on the title page hereof and
that the foregoing constitutes a true
and accurate transcript of the same.

I further certify that I am not
related to any of the parties, nor am I
an employee of or related to any of the
attorneys representing the parties, and
I have no financial interest in the

outcome of this matter.

Given under my hand and seal Nene.
[ve eta,
4th day of pril,, 2023. (al, or 4.3
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Bach Smid Rew

“iy rayauagone

Rachelle Smith, C.C.R No. 0864

S111 SW 21st Sureet 6420 W. 95th Street 800 E, 1st Street

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Sere 78278-3068 Overland Park, KS 66212 Wichita, KS 67202

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